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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Winc, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          Club W, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  1751 Berkeley Street, Studio 3
                                  Santa Monica, CA 90404
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                       Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.winc.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Winc, Inc.                                                                                    Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                       B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            3121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
     A debtor who is a “small               Chapter 9
     business debtor” must check            Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.                                                     debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against
                                           Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                               District                                     When                               Case number
                                                  District                                     When                               Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
                                           Yes.
    business partner or an
    affiliate of the debtor?


     List all cases. If more than 1,
     attach a separate list                       Debtor         See Schedule 1                                                  Relationship            Affiliate

                                                  District       Delaware                      When      11/30/22                Case number, if known

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Debtor   Winc, Inc.                                                                               Case number (if known)
         Name




11. Why is the case filed in     Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                  It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  Other
                                              Where is the property?
                                                                                 Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                  No
                                                  Yes.    Insurance agency
                                                          Contact name
                                                          Phone


         Statistical and administrative information

13. Debtor's estimation of       .        Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                     50-99                                           5001-10,000                                 50,001-100,000
     (On a consolidated basis)       100-199                                         10,001-25,000                               More than 100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
     (On a consolidated basis)       $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities            $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
     (On a consolidated basis)       $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




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Debtor   Winc, Inc.                                                                                Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        11/30/2022
                                                  MM / DD / YYYY


                             X            /s/ Brian Smith                                                 Brian Smith
                                 Signature of authorized representative of debtor                         Printed name

                                           Interim Chief Executive Officer and
                                 Title     President




18. Signature of attorney    X           /s/ Matthew B. Lunn                                               Date    11/30/2022
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Matthew B. Lunn
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 1000 North King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      302-571-6600                 Email address      mlunn@ycst.com

                                 4119 (DE)
                                 Bar number and State




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                                                       RIDER 1

                              Pending Bankruptcy Cases Filed by Affiliated Entities

                On the date hereof, each of the related entities listed below (collectively, the “Debtors”),

         including the debtor in this chapter 11 case, filed a petition in the United States Bankruptcy Court

         for the District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United States

         Code, 11 U.S.C. §§ 101–1532. Contemporaneously with the filing of their voluntary petitions, the

         Debtors filed a motion requesting that the Court jointly administer their chapter 11 cases for

         administrative purposes only.

                 Entity Name                             Federal Employer Identification Number (EIN)

                 Winc, Inc.                                     XX-XXXXXXX

                 BWSC, LLC                                      XX-XXXXXXX

                 Winc Lost Poet, LLC                            N/A




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

             In re:                                                       Chapter 11

             WINC, INC., et al.,1                                         Case No. 22-_____ (___)

                                       Debtors.                           (Joint Administration Requested)



             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy Under Chapter 11

              1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
                 1934, the SEC file number is 001-41055.

              2. The following financial data is the latest available information and refers to the debtor’s condition as
                 of the dates noted in the comments below.

                  a. Total assets                                                          $50,318,000

                  b. Total debts (including debts listed in 2.c., below)                   $36,751,000

                  c. Debt securities held by more than 500 holders:                        N/A

                  d. Number of shares of preferred stock                                   0

                  e. Number of shares of common stock                                      13,296,992

         Comments, if any:      Total assets and total debts are listed as of the quarterly period ended September 30,
         2022. Shares of outstanding common stock are listed as of November 10, 2022.

              3. Brief description of debtor’s business:       The above-captioned debtors and debtors in
                 possession (the “Debtors”) develop, produce, and sell alcoholic beverages through wholesale and
                 direct to consumer business channels in conjunction with winemakers, vineyards, distillers, and
                 manufacturers, both domestically and internationally. The Debtors’ products are available at
                 retailers and restaurants throughout the United States.




         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing
         address for purposes of these chapter 11 cases is 1751 Berkeley Street, Studio 3, Santa Monica, CA 90404.
29867789.8

                         Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy
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             4.   List the names of any person who directly or indirectly owns, controls, or holds, with power to
                  vote, 5% or more of the voting securities of debtor:
                          Affiliates of Bessemer Venture Partners VIII Institutional L.P. and Bessemer Venture
                           Partners VIII L.P.2
                          Affiliates of Shining Capital Holdings II L.P. and Shining Capital Management III
                           Limited3
                          Affiliates of CJF Palate Holdings LLC and Cool Japan Fund Inc.4
                          Geoffrey McFarlane
                          Brian Smith
                          Xiangwei Weng




         2
           As disclosed in the Schedule 14A Proxy Statement filed on April 14, 2022 (“Schedule 14A”), Bessemer Venture
         Partners VIII Institutional L.P. (“Bessemer Institutional”), 15 Angels II LLC (“15 Angels”) and GoBlue Ventures
         LLC (“GoBlue”), which are each wholly owned by Bessemer Institutional, and Wahoowa Ventures LLC (“Wahoo”),
         which is wholly owned by Bessemer Venture Partners VIII L.P. (“BVP VIII”) each directly own shares of Winc. Deer
         VIII & Co. L.P. (“Deer VIII LP”) is the sole general partner of each of Bessemer Institutional and BVP VIII. Deer
         VIII & Co. Ltd. (“Deer VIII Ltd.” and together with the aforementioned affiliates, “Bessemer Venture Partners”) is
         the general partner of Deer VIII LP. Accordingly, Deer VIII Ltd. may be deemed to beneficially own all shares held
         directly by Bessemer Institutional, 15 Angels, GoBlue and Wahoo. The address for Bessemer Venture Partners is
         1865 Palmer Avenue, Suite 104, Larchmont, NY 10538.
         3
           As disclosed in Schedule 14A, Dreamer Pathway Limited (BVI) (“Dreamer Pathway”), Shiningwine Limited (BVI)
         (“Shiningwine”), and Dream Catcher Investments (“Dreamcatcher” and collectively with Dreamer Pathway and
         Shiningwine, the “Shining Capital Affiliates”) each directly own shares of Winc. Shining Capital Holdings II L.P.
         and Shining Capital Management III Limited (together, “Shining Capital”), together, act as the investment managers
         for Shining Capital Affiliates. Xiangwei Weng is the founder and Chief Executive Officer of Shining Capital and
         may be deemed to have voting and investment control over the shares held by Shining Capital Affiliates. The business
         address of Shining Capital and Shining Capital Affiliates is Suite 8101, Level 81, International Commerce Centre, 1
         Austin Road West Kowloon, Hong Kong, Hong Kong.
         4
           As disclosed in Schedule 14A, Sake Ventures LLC and Rice Wine Ventures LLC (the “Venture Affiliates”) each
         directly own shares of Winc. CJF Palate Holdings LLC (“CJF”), which is wholly owned by Cool Japan Fund Inc.
         (“Cool Japan”) wholly owns each of the Venture Affiliates. CJF and Cool Japan may be deemed to have beneficial
         ownership of the shares owned by the Venture Affiliates. The address for CJF, Cool Japan, and Venture Affiliates is
         17F Roppongi Hills Mori Tower, 6-10-1 Roppongi, Minato-Ku, Tokyo, 106-6117, Japan.
29867789.8

                          Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy
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                              SECRETARY CERTIFICATE


             The undersigned, being the Secretary of Winc, Inc., a Delaware corporation (the
“Company”), hereby certifies as follows:

              1.     I am the duly qualified and elected Secretary of the Company and, as such,
                     am familiar with the facts herein certified and am duly authorized to certify
                     the same on behalf of the Company.

              2.     Attached hereto is a true and complete copy of the Resolutions of the Board
                     of Directors (the “Board”) of the Company, duly adopted at a properly
                     convened meeting of the Board on November 29, 2022.

              3.     Such resolutions have not been amended, altered, annulled, rescinded, or
                     revoked, and are in full force and effect as of the date hereof. There exist
                     no other subsequent resolutions of the Board relating to the matters set forth
                     in the resolution attached hereto.

              IN WITNESS WHEREOF, the undersigned has executed this certificate as of the
29th day of November, 2022.



                                                    /s/ Brian Smith
                                                    Name: Brian Smith
                                                    Title: Interim CEO, President, and
                                                            Secretary
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                             RESOLUTIONS
                                OF THE
                         BOARD OF DIRECTORS OF
                               WINC, INC.

                                November 29, 2022

        WHEREAS, the Board of Directors (the “Board”) of Winc, Inc., a
Delaware corporation (the “Company”), has considered the Company’s financial
and operational condition, the Company’s business, the assets of the Company, and
the current and long-term liabilities of the Company;

        WHEREAS, the Company is the sole member of BWSC, LLC, a California
limited liability company (“BWSC”) and the managing member of Winc Lost Poet,
LLC, a Delaware limited liability company (“WLP” and, together with BWSC, the
“Affiliates”);

        WHEREAS, management of the Company is vested in the Board pursuant
to Section 3.1 of the Amended and Restated Bylaws of the Company, effective as
of November 15, 2021, and section 141(a) of the General Corporation Law of the
State of Delaware;

        WHEREAS, on November 29, 2022, a meeting of the Board was held to
discuss the financial and operational condition of the Company and the Affiliates
(collectively, the “Companies”), and the Companies’ business on the date hereof,
including the historical performance of the Companies, the assets of the Companies,
the current and long-term liabilities of the Companies, the market for the
Companies’ assets, credit market conditions, and macroeconomic conditions
impacting the Companies; and

        WHEREAS, the Board has received, reviewed, and considered the
recommendations and presentations of the management of the Companies and the
Companies’ legal, financial, and other advisors as to the relative risks and benefits
of pursuing bankruptcy proceedings under the provisions of chapter 11 of Title 11
of the United States Code (the “Bankruptcy Code”);

        WHEREAS, a majority of the Board has determined that it is in the best
interests of the Companies, their creditors, and other interested parties that the
Companies each commence a case under chapter 11 of the Bankruptcy Code;




                                         1
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        NOW, THEREFORE, BE IT:

Commencement and Prosecution of Bankruptcy Cases

        RESOLVED, that, in the judgment of the majority of the Board, it is
desirable and in the best interests of each of the Companies, their creditors, and
other interested parties that a voluntary petition (each, a “Petition” and, collectively,
the “Petitions”) be filed with the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) by each of the Companies (collectively, the
“Bankruptcy Cases”) under the provisions of the Bankruptcy Code; and it is further

        RESOLVED, that the filing of the Petitions to commence the Bankruptcy
Cases be, and the same hereby is, approved and adopted in all respects, and that
each officer of the Company (each, an “Authorized Person”), including, without
limitation, Brian Smith, Interim Chief Executive Officer of the Company, be, and
hereby is, authorized and empowered on behalf of the Companies to execute,
acknowledge, deliver, verify, and cause to be filed the Petitions at such time as such
Authorized Person may determine; and it is further

        RESOLVED, that each Authorized Person be, and hereby is, authorized to
(a) execute and file all petitions, schedules of assets and liabilities, statements of
financial affairs, lists, and other papers to take any and all related actions that such
Authorized Person may deem necessary or proper in connection with the
Bankruptcy Cases; (b) execute, acknowledge, deliver, and verify any and all
documents necessary or proper in connection with the Petitions and to administer
the Bankruptcy Cases in such form or forms as such Authorized Person may deem
necessary or proper and in order to effectuate the foregoing resolutions; and
(c) engage any professionals, including attorneys, accountants, financial advisors,
investment bankers, actuaries, consultants, brokers or other experts as such
Authorized Person deems necessary or proper to accomplish the purposes of the
resolutions; and it is further

        RESOLVED, that each Authorized Person be, and hereby is, authorized,
directed, and empowered from time to time in the name and on behalf of the
Companies, to perform the obligations of the Companies under the Bankruptcy
Code, with all such actions to be performed in such manner, and all such
certificates, instruments, guaranties, notices, and documents to be executed and
delivered in such form, as the Authorized Person performing or executing the same
shall approve, and the performance or execution thereof by such Authorized Person
shall be conclusive evidence of the approval thereof by such Authorized Person and
by the Companies; and it is further

        RESOLVED, that each Authorized Person be, and hereby is, authorized,
directed, and empowered from time to time in the name and on behalf of the
Companies, to cause the Companies to enter into, execute, deliver, certify, file,



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record, and perform such agreements, instruments, motions, affidavits, applications
for approvals or rulings of governmental or regulatory authorities, certificates, or
other documents, to pay all expenses, including filing fees, and to take such other
actions, as in the judgment of such Authorized Person, shall be necessary, proper,
or desirable to prosecute to a successful completion the Bankruptcy Cases and to
effectuate the restructuring or liquidation of the Companies’ debt, other obligations,
organizational form, or structure and ownership of the Companies, all consistent
with the foregoing resolutions and to carry out and put into effect the purposes of
these resolutions, and the transactions contemplated by these resolutions, their
authority thereunto to be evidenced by the taking of such actions; and it is further

Financing

        RESOLVED, that in connection with the commencement of the
Bankruptcy Cases, each Authorized Person shall be, and hereby is, authorized,
directed, and empowered, in the name and on behalf of the Companies, as debtors
and debtors in possession, to negotiate, execute, and deliver agreements for the use
of cash collateral in connection with the Bankruptcy Cases, which agreement(s)
may require the Companies to acknowledge the debt and liens of existing loans,
grant liens, and pay interest to the Companies’ existing lender(s); and in connection
therewith, each Authorized Person is hereby authorized and directed to execute
appropriate agreements and related ancillary documents; and it is further

        RESOLVED, that in connection with the commencement of the
Bankruptcy Cases by the Companies, each Authorized Person shall be, and hereby
is, authorized, directed, and empowered, in the name and on behalf of the
Companies, as debtors and debtors in possession, to negotiate, execute, and obtain
postpetition financing, including under debtor-in-possession credit facilities; and to
enter into any guarantees and to pledge and grant liens on its assets as may be
contemplated by or required under the terms of such postpetition financing; and in
connection therewith, each Authorized Person is hereby authorized and directed to
execute appropriate loan agreements and related ancillary documents; and it is
further

Retention of Professionals

        RESOLVED, that the engagement of the law firm of Young Conaway
Stargatt & Taylor, LLP (“Young Conaway”) is hereby authorized and approved and
Young Conaway be, and hereby is, authorized, directed, and empowered to
represent the Companies as general restructuring and bankruptcy counsel to
represent and assist the Companies in carrying out their duties under the
Bankruptcy Code, and to take any and all actions to advance the Companies’ rights,
including the preparation of pleadings and filings in the Bankruptcy Cases; and in
connection therewith, each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies to execute
appropriate retention agreements, pay appropriate retainers prior to and



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immediately upon the filing of the Bankruptcy Cases, and to cause to be filed an
appropriate application for authority to retain the services of Young Conaway; and
it is further

        RESOLVED, that the engagement of RPA Advisors, LLC (“RPA”) as
financial advisor to the Companies is hereby authorized and approved and RPA be,
and hereby is, authorized, directed, and empowered to assist the Companies in
carrying out their duties under the Bankruptcy Code and to take any and all actions
to advance the Companies’ rights and obligations in connection with their
Bankruptcy Cases; and in connection therewith, each Authorized Person be, and
hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Companies, to execute appropriate retention agreements, pay appropriate retainers,
if required, prior to and immediately upon the filing of the Bankruptcy Cases, and
to cause to be filed an appropriate motion or application for authority to retain the
services of RPA; and it is further

        RESOLVED, that the engagement of Canaccord Genuity Group, Inc.
(“Canaccord”) is hereby authorized and approved and Canaccord be, and hereby is,
authorized, directed, and empowered to serve as investment banker to the
Companies in connection with the sale of the Companies’ assets and in carrying out
their duties under the Bankruptcy Code and to take any and all actions to advance
the Companies’ rights and obligations in connection with the Bankruptcy Cases;
and in connection therewith, the Authorized Person be, and hereby is, authorized,
directed, and empowered on behalf of and in the name of the Companies, to execute
appropriate retention agreements, pay appropriate retainers, if required, prior to and
immediately upon the filing of the Bankruptcy Cases, and to cause to be filed an
appropriate application for authority to retain the services of Canaccord; and it is
further

        RESOLVED, that the engagement of Epiq Corporate Restructuring, LLC
(“Epiq”) is hereby authorized and approved and Epiq be, and hereby is, authorized,
directed, and empowered to serve as the notice, claims, solicitation, and balloting
agent in connection with the Bankruptcy Cases; and in connection therewith, each
Authorized Person be, and hereby is, authorized, directed and empowered, on
behalf of and in the name of the Companies to execute appropriate retention
agreements, pay appropriate retainers, if required, prior to and immediately upon
the filing of the Bankruptcy Cases, and to cause to be filed an appropriate
application for authority to retain the services of Epiq; and it is further

         RESOLVED, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies to employ
any other individual or firm as professionals, consultants, financial advisors, or
investment bankers to the Companies as are deemed necessary to represent and
assist the Companies in carrying out their duties under the Bankruptcy Code, and
in connection therewith, each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies to execute



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appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Bankruptcy Cases, and to cause to be filed an
appropriate application for authority to retain the services of such individual or
firms; and it is further

Sale

        RESOLVED, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies, to
continue the marketing for sale of the Companies’ assets and pursue negotiations
with any interested parties regarding one or more sales of such assets pursuant to
section 363 of the Bankruptcy Code or otherwise; and it is further

         RESOLVED, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Companies, to
execute and deliver an asset purchase agreement by and among the Companies and
Project Crush Acquisition Corp LLC, either directly or through one or more U.S.
affiliates, with any additions, deletions, modifications, amendments, or other
changes thereto as the Authorized Person executing the same shall have determined
to be necessary or appropriate, such determination to be conclusively evidenced by
the execution thereof, and to execute any and all other documents and take any and
all other actions that such Authorized Person deem necessary, desirable, or
convenient to carry out the intent of these resolutions, in such Authorized Person’s
discretion; and it is further

General Resolutions

        RESOLVED, that the majority of the Board, on behalf of the Company, in
its capacity as the sole member of BWSC and the managing member of WLP,
consents to the amendment of the respective limited liability company agreements
of each of BWSC and WLP to include the applicable language set forth on Exhibit
A attached hereto; and it is further

         RESOLVED, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Company, as the sole
member of BWSC and the managing member of WLP, to take all actions, and
execute such further documents, as may be necessary or desirable, on behalf of the
Affiliates set forth in the foregoing resolutions, including without limitation,
written consents by the Company, approving the foregoing, and any actions,
including the execution of documents, taken prior to the date hereof by such persons
in accordance with the foregoing are hereby consented to, approved, and ratified;
and it is further

       RESOLVED, that the execution and delivery by the Companies of such
documents as may be required or as the Companies may determine to be necessary,
appropriate, or desirable to carry out the intent and purpose of the foregoing



                                         5
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resolutions or to obtain the relief sought thereby, including, without limitation, the
execution and delivery of any consents, resolutions, petitions, schedules, lists,
declarations, affidavits, and other papers or documents to be executed and delivered
in such form as such Authorized Person shall approve are hereby authorized, the
taking or execution thereof by such Authorized Person being conclusive evidence
of the approval thereof by such Authorized Person; and it is further

        RESOLVED, that all actions heretofore taken, and all agreements,
instruments, reports, and documents executed, delivered, or filed through the date
hereof, by any officer of the Companies in, for and on behalf of the Companies, in
connection with the matters described in or contemplated by the foregoing
resolutions, are hereby approved, adopted, ratified, and confirmed in all respects as
the acts and deeds of the Companies as of the date such action or actions were taken.




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              Case 22-11238-LSS         Doc 1     Filed 11/30/22     Page 15 of 432




                                         Exhibit A

WLP (to be added as Section 4.8):

“4.8 Events of Bankruptcy. Notwithstanding any provision of this Agreement to the
contrary, the Bankruptcy of a Member shall not cause such Member to cease to be a
member of the Company and upon the occurrence of such an event, the Company shall
continue without dissolution. For purposes of this Section 4.8, “Bankruptcy” shall mean
with respect to any Person, (A) if such Person (i) makes an assignment for the benefit of
creditors, (ii) files a voluntary petition in bankruptcy, (iii) is adjudged a bankrupt or
insolvent, or has entered against it an order for relief, in any bankruptcy or insolvency
proceedings, (iv) files a petition or answer seeking for itself any reorganization,
arrangement, composition, readjustment, liquidation or similar relief under any statute, law
or regulation, (v) files an answer or other pleading admitting or failing to contest the
material allegations of a petition filed against it in any proceeding of this nature, or (vi)
seeks, consents to or acquiesces in the appointment of a trustee, receiver or liquidator of
the Person or of all or any substantial part of its properties, or (B) if 120 days after the
commencement of any proceeding against the Person seeking reorganization, arrangement,
composition, readjustment, liquidation or similar relief under any statute, law or regulation,
if the proceeding has not been dismissed, or (C) if within 90 days after the appointment
without such Person’s consent or acquiescence of a trustee, receiver or liquidator of such
Person or of all or any substantial part of its properties, the appointment is not vacated or
stayed, or within 90 days after the expiration of any such stay, the appointment is not
vacated. The foregoing definition of “Bankruptcy” is intended to replace and shall
supersede and replace the definition of “Bankruptcy” set forth in Sections 18-101(1) and
18-304 of the Act for the purposes of this Section 4.8.

Notwithstanding any provision of this Agreement to the contrary, the Company may put
into effect and carry out any decrees and orders of a court or judge having jurisdiction over
a proceeding pursuant to the Federal Bankruptcy Code, 11 U.S.C. §§ 101 et seq., or any
successor statute, in which proceeding an order for relief has been entered with respect to
the Company, and may take any action provided or directed by such decrees and orders, in
each case without a vote or other consent or approval by the Company’s Managing Member
or Members.”

BWSC (to be added as Section 8.5):

“Section 8.5 Events of Bankruptcy. Notwithstanding any provision of this Agreement to
the contrary or Section 17706.02 of the Act, under no circumstances shall any event of
bankruptcy on the part of the Member cause the Member to be dissociated as a member of
the Company. In addition, notwithstanding any provision of this Agreement to the
contrary, the Company may put into effect and carry out any decrees and orders of a court
or judge having jurisdiction over a proceeding pursuant to the Federal Bankruptcy Code,
11 U.S.C. §§ 101 et seq., and any successor statute, in which proceeding an order for relief
has been entered with respect to the Company, and may take any action provided or
directed by such decrees and orders, in each case without a vote or other consent or
approval by the Member.”
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      Fill in this information to Identify the case:

      Debtor Name: Winc, Inc. f/k/a Club W, Inc.
                                                                                                                                               Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                    amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if      Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                              services, and         or disputed      setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                     Total claim, if        Deduction for      Unsecured claim
                                                                                                                     partially secured      value of
                                                                                                                                            collateral or
                                                                                                                                            setoff

  1       META PLATFORMS, INC                  CONTACT: MARK                  TRADE PAYABLE                                                                          $724,162.32
          FACEBOOK, INC                        ZUCKERBERG, CHAIRMAN
          ATTN: ACCOUNTS RECEIVABLE            AND CHIEF EXECUTIVE
          15161 COLLECTIONS CENTER DRIVE       OFFICER
          CHICAGO, IL 60693                    PHONE: 650-543-4800
                                               PAYMENT@FB.COM
  2       JF HILLEBRAND USA INC. (DBA          CONTACT: ALLISON        TRADE PAYABLE                                                                                 $699,425.77
          HILLEBRAND)                          GREINER, VICE PRESIDENT
          1600 ST GEORGES AVENUE SUITE         PHONE: 732-388-4523
          301                                  D.SURUJNAUTH@HILLEBRAN
          RAHWAY, NJ 07065                     D.COM
  3       FED-EX                               CONTACT: RAJESH         TRADE PAYABLE                                                                                 $568,748.22
          ERS PO BOX 371741                    SUBRAMANIAM, PRESIDENT,
          PITTSBURGH, PA 15250-7741            CHIEF EXECUTIVE OFFICER
                                               AND DIRECTOR
                                               PHONE: 901-818-7500


  4       LA CANTINA PIZZOLATO S.R.L.          PHONE: +39 0422 928166         TRADE PAYABLE                                                                          $459,005.55
          VIA IV NOVEMBRE 12                   LOGISTICA@LACANTINAPIZZ
          VILLORBA (TV) 31020                  OLATO.COM
          ITALY
  5       LANDSBERG                            PHONE: 805-434-9968   TRADE PAYABLE                                                                                   $425,895.33
          P.O. BOX 101144                      BANKDEPOSITS@ORORAGRO
          PASADENA, CA 91189-1144              UP.COM
  6       LANGETWINS FAMILY WINERY &           PHONE: 209-334-9780   TRADE PAYABLE                                                                                   $373,174.62
          VINEYARDS                            KSCHOPP@LANGETWINS.CO
          1525 E JAHANT ROAD                   M
          ACAMPO, CA 95220




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                           Page 1
                                 Case 22-11238-LSS                 Doc 1      Filed 11/30/22                Page 17 of 432
  Debtor: Winc, Inc. f/k/a Club W, Inc.                                                       Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if      Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                      services, and         or disputed      setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                             Total claim, if        Deduction for      Unsecured claim
                                                                                                             partially secured      value of
                                                                                                                                    collateral or
                                                                                                                                    setoff

  7     FAMILLE CHAUDIERE                  PHONE: +33(0)490619408 TRADE PAYABLE                                                                              $306,940.82
        1365 B ROUTE DE FLASSAN            LAURENCE@CHATEAUPESQU
        MORMOIRON 84570                    IE.COM
        FRANCE
  8     IMPACT TECH, INC.                  CONTACT: ALYSSA         TRADE PAYABLE                                                                             $194,731.33
        223 EAST DE LA GUERRA              HROMADADAY, PRESIDENT
        SANTA BARBARA, CA 93101            PHONE: 805-324-6021
                                           BREENA.BECKETT@IMPACT.C
                                           OM
  9     SP COMINO, LLC                     PHONE: 707-225-7555        TRADE PAYABLE                                                                          $180,075.00
        635 BROADWAY 2ND FLOOR             KELLY@SWGNAPA.COM
        SONOMA, CA 95476
  10    MICHLITS WERNER GMBH               CONTACT: WERNER            TRADE PAYABLE                                                                          $161,781.60
        HAUPTSTRASSE 86                    MICHLITS, MANAGING
        PAMHAGEN A-7152                    DIRECTOR
        AUSTRIA                            PHONE: +43 2174 2168
                                           OFFICE@MEINKLANG.AT
  11    TOTAL QUALITY LOGISTICS, LLC       CONTACT: KERRY BYRNE,      TRADE PAYABLE                                                                          $120,800.00
        PO BOX 799                         PRESIDENT
        MILFORD, OH 45150                  PHONE: 513-831-2600
                                           APAYMENTS@TQL.COM
  12    ALLEGIS GROUP HOLDINGS, INC.       CONTACT: THOMAS KELLY, TRADE PAYABLE                                                                              $109,116.23
        (AEROTEK, INC.)                    PRESIDENT
        7301 PARKWAY DRIVE                 PHONE: 9044893049
        HANOVER, MD 21076                  AEROTEK_REGIONAL_EFTS@
                                           AEROTEK.COM
  13    BREX INC.                      CONTACT: GAVIN                 TRADE PAYABLE                                                                          $104,639.83
        153 TOWNSEND STREET, 6TH FLOOR CLEAVELAND, PRESIDENT
        SAN FRANCISCO, CA 94107        PHONE: 650-250-6428
                                       SUPPORT@BREX.COM
  14    DOUGLAS R. CIRCLE                  PHONE: 714-630-0299        TRADE PAYABLE                                                                          $100,702.00
        (DBA RANCHO CANADA DE LOS          ACCOUNTING@CIRCLEVISIO
        PINOS)                             N.COM
        1006 SEGOVIA CIRCLE
        PLACENTIA, CA 92870
  15    TERRAVANT/SUMMERLAND               PHONE: 805-686-9400 TRADE PAYABLE                                                                                 $100,134.88
        ACF FINCO I LP FBO TERRAVANT       AP@SUMMERLANDWB.COM
        WINE COMPANY TERRAVANT WINE
        COMPANY
        P.O. BOX 845658
        LOS ANGELES, CA 90084-5658
  16    DOMO, INC                          CONTACT: JOHN F. MELLOR,   TRADE PAYABLE                                                                            $95,000.00
        772 EAST UTAH VALLEY DRIVE         CHIEF EXECUTIVE OFFICER,
        AMERICAN FORK, UT 84003            DIRECTOR
                                           PHONE: 800-899-1000
                                           FAX: 801-805-9501
                                           PR@DOMO.COM;
                                           INFO@DOMO.COM
  17    8020 CONSULTING LLC                CONTACT: DAVID LEWIS,   TRADE PAYABLE                                                                               $82,620.00
        6303 OWENS MOUTH AVE., 6TH         CHIEF EXECUTIVE OFFICER
        FLOOR                              PHONE: 855-367-8020
        WOODLAND HILLS, CA 91367           ACCOUNTING@8020CONSUL
                                           TING.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                     Page 2
                                  Case 22-11238-LSS              Doc 1       Filed 11/30/22                Page 18 of 432
  Debtor: Winc, Inc. f/k/a Club W, Inc.                                                      Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if      Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                     services, and         or disputed      setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                            Total claim, if        Deduction for      Unsecured claim
                                                                                                            partially secured      value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

  18    CONEXUS SEARCH LLC                 CONTACT: STEPHEN FINGAL, TRADE PAYABLE                                                                             $82,224.38
        5151 CALIFORNIA AVE, SUITE 100     OWNER
        IRVINE, CA 92617                   PHONE: 213-279-7535
                                           ACCOUNTING@CONEXUSREC
                                           RUITING.COM
  19    GOOGLE, INC                        PHONE: 202-346-1241       TRADE PAYABLE                                                                            $79,631.99
        DEPT. 33654                        FAX: 202-346-1101
        P.O. BOX 39000
        SAN FRANCISCO, CA 94139
  20    POWER DIGITAL MARKETING, INC.      PHONE: (619) 501-1211     TRADE PAYABLE                                                                            $67,250.00
        2251 SAN DIEGO AVENUE SUITE        AR@POWERDIGITAL.COM
        A250
        SAN DIEGO, CA 92110
  21    AWESOME OS, INC. (OFFSOURCING,     CONTACT: HELEN LEE    TRADE PAYABLE                                                                                $65,698.83
        INC)                               PHONE: 310-295-9416
        8605 SANTA MONICA BLVD 30540       BILLING@AWESOMEOS.COM
        LOS ANGELES, CA 90069
  22    ATTICUS PUBLISHING, LLC            CONTACT: DUNCAN PENN, TRADE PAYABLE                                                                                $65,498.97
        2004 FORD ST                       OWNER
        AUSTIN, TX 78704                   PHONE: (818) 618-0569
                                           DUNCANPENN@GMAIL.COM


  23    LAFFORT USA , INC                  CONTACT: SHAUN            TRADE PAYABLE                                                                            $65,488.86
        1460 CADER LN STE C                RICHARDSON
        PETALUMA, CA 94954                 PHONE: 7077754530
                                           FAX: 707-775-4537
                                           LAFFORTUSA@LAFFORT.CO
                                           M
  24    REPUBLIC NATIONAL DISTRIBUTING     CONTACT: DONNIE MILLER,   TRADE PAYABLE                                                                            $52,939.00
        COMPANY OF CA                      DIRECTOR
        (RNDC CA)                          PHONE: 714-665-1065
        14402 FRANKLIN AVE                 BRIAN.ROBERTS@RNDC-
        TUSTIN, CA 92780                   USA.COM
  25    MENDOCINO WINE CO                  CONTACT: JEFF MASON,  TRADE PAYABLE                                                                                $51,034.25
        501 PARDUCCI RD                    PRESIDENT
        UKIAH, CA 95482                    PHONE: 7074635383
                                           JANF@MENDOCINOWINECO.
                                           COM
  26    KAISER CONSULTING, LLC             CONTACT: SARAH KAISER,    TRADE PAYABLE                                                                            $46,616.25
        34 GRACE DRIVE                     OWNER
        POWELL, OH 43065                   PHONE: 614-300-1088
                                           BILLING@KAISERCONSULTIN
                                           G.COM
  27    LOS ANGELES PHILHARMONIC           PHONE: 213-972-7300       TRADE PAYABLE                                                                            $43,300.00
        ASSOC                              ICHAN@LAPHIL.ORG
        151 S GRAND AVE
        LOS ANGELES, CA 90012-3034
  28    DATASITE LLC                       CONTACT: RICK ATTERBUNY, TRADE PAYABLE                                                                             $40,613.44
        733 S. MARQUETTE AVE, SUITE 600    PRESIDENT & COO
        MINNEAPOLIS, MN 55402              PHONE: 6516324014
                                           ARREMITBACKUP@DATASITE
                                           .COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
                                 Case 22-11238-LSS               Doc 1       Filed 11/30/22                Page 19 of 432
  Debtor: Winc, Inc. f/k/a Club W, Inc.                                                      Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if      Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                     services, and         or disputed      setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                            Total claim, if        Deduction for      Unsecured claim
                                                                                                            partially secured      value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

  29    VIN-GLOBAL LLP                     PHONE: 845-500-7842   TRADE PAYABLE                                                                                $37,895.39
        4501 MANATEE AVE W SUITE 314       ACCOUNTING@WESHIPEXPR
        BRADENTON, FL 34209                ESS.COM
  30    TOPPAN MERRILL USA INC.            PHONE: 212-419-9519   TRADE PAYABLE                                                                                $36,026.00
        747 THIRD AVENUE, 7TH FLOOR        USARREMITTANCE@TOPPAN
        NEW YORK, NY 10017                 MERRILLLLC.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 4
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                    Chapter 11

             WINC, INC., et al.,1                                      Case No. 22-_____ (___)

                                     Debtors.                          (Joint Administration Requested)



                            CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                             AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                              TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                      Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

         Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state

         as follows:

                      1.      The mailing address of Debtor Winc, Inc. (“Winc”) and each of its subsidiaries is

                              1751 Berkley Street, Studio 3, Santa Monica, CA 90404. A list of Winc’s equity

                              interest holders and their addresses, is attached hereto as Exhibit A. As of the

                              Petition Date, Winc has only common stock outstanding.

                      2.      Debtor BWSC, LLC is wholly owned by Winc.

                      3.      Debtor Winc Lost Poet, LLC is 90% owned by Winc and 10% owned by Atticus

                              Publishing, LLC. The mailing address for Atticus Publishing, LLC is 4141

                              Glencoe Avenue, Unit 409, Marina Del Rey, CA 90292.




         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing address
         for purposes of these chapter 11 cases is 1751 Berkeley Street, Studio 3, Santa Monica, CA 90404.
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                                     EXHIBIT A

                      List of Winc, Inc.’s Equity Interest Holders




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                                              United States Bankruptcy Court
                                                           District of Delaware
In re: Winc, Inc. f/k/a Club W, Inc.                                                                 Case No.
                                                                    Debtor(s)
                                                                                                     Chapter      11


                                     LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) of the Federal Rules of
Bankruptcy Procedure for filing in this Chapter 11 Case.

Name and last known address or place of                                         Security Class           Number of             Kind of
business of holder                                                                                       Securities            Interest
15 ANGELS II LLC                                                                Common Shares                498,780       Common
1865 PALMER AVENUE SUITE 104
LARCHMONT, NY 10538

2526199 ONTARIO INC                                                             Common Shares                       88     Common
105 HOPECREST ROAD
MARKHAM, ON L6C 2V7
CANADA

303 SOLUTIONS LLC                                                               Common Shares                     252      Common
2316 MALAGA
PEAK SUMMERLIN, NV 89135

95TH RIFLES CAPITAL LLC                                                         Common Shares                       88     Common
215 EMILY LN
YORKTOWN, VA 23690

A HERBERT ALEXANDER                                                             Common Shares                     265      Common
ADDRESS AVAILABLE UPON REQUEST

AARON ALICE ANDERSON                                                            Common Shares                       71     Common
ADDRESS AVAILABLE UPON REQUEST

AARON ANTHONY HASBUN                                                            Common Shares                     143      Common
ADDRESS AVAILABLE UPON REQUEST

AARON AYOTTE                                                                    Common Shares                       71     Common
ADDRESS AVAILABLE UPON REQUEST

AARON CARSON                                                                    Common Shares                       90     Common
ADDRESS AVAILABLE UPON REQUEST

AARON DRABKIN                                                                   Common Shares                       88     Common
ADDRESS AVAILABLE UPON REQUEST

AARON FORMAN                                                                    Common Shares                   7,500      Common
ADDRESS AVAILABLE UPON REQUEST

AARON GROSSKOPF                                                                 Common Shares                     250      Common
ADDRESS AVAILABLE UPON REQUEST

AARON HEADLEY                                                                   Common Shares                     265      Common
ADDRESS AVAILABLE UPON REQUEST

AARON JOHN BRINKERHOFF                                                          Common Shares                     875      Common
ADDRESS AVAILABLE UPON REQUEST

Sheet 1 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of        Kind of
business of holder                                                                           Securities       Interest

AARON KAHN                                                              Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AARON KELLY                                                             Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

AARON KLEIN                                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AARON KRIVITZKY                                                         Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

AARON LEDET                                                             Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

AARON MADISON DUFFY                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AARON MICHAEL REINBOLD                                                  Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

AARON MITCHELL                                                          Common Shares                 134   Common
ADDRESS AVAILABLE UPON REQUEST

AARON MOULTON                                                           Common Shares                  44   Common
ADDRESS AVAILABLE UPON REQUEST

AARON ROSENBLATT                                                        Common Shares                 529   Common
ADDRESS AVAILABLE UPON REQUEST

AARON SAMPSON                                                           Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

AARON V SMITH                                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AARON VON GEISERT                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AARON WESSLEY SHONK                                                     Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

AARRON LIGHT                                                            Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ABBEY EHMAN                                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ABBIE SMITH                                                             Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

Sheet 2 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of        Kind of
business of holder                                                                           Securities       Interest

ABBY ROLL                                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ABDIELIZA ACEVEDO                                                       Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ABDULLAH ALBYATI                                                        Common Shares                 630   Common
ADDRESS AVAILABLE UPON REQUEST

ABDULLAH SIDIQI                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ABEL BECERRA                                                            Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ABEL ELLINGSON                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ABEL SILVA                                                              Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ABHILASH CHUTEI                                                         Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ABHISEK RATH                                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ABHISHEK LINGINENI                                                      Common Shares                  22   Common
ADDRESS AVAILABLE UPON REQUEST

ABHISHEK PRASAD                                                         Common Shares                  22   Common
ADDRESS AVAILABLE UPON REQUEST

ABIGAIL CECELIA FRAZIER                                                 Common Shares                 289   Common
ADDRESS AVAILABLE UPON REQUEST

ABIGAIL GONNELLA                                                        Common Shares                 268   Common
ADDRESS AVAILABLE UPON REQUEST

ABIGAIL GORDON                                                          Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ABIGAIL ROSE HAWK                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ABINWI NCHISE                                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST




Sheet 3 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of          Kind of
business of holder                                                                           Securities         Interest

ABN AMROCC (0695)                                                       Common Shares                 6,372   Common
ATTN: PROXY DEPT
175 W. JACKSON BLVD
STE 2050
CHICAGO, IL 60605

ABOSEDE OGEDEGBE                                                        Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ABRAM MONZON                                                            Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

ABUNDANT ETHOS LLC                                                      Common Shares                   88    Common
3201 POLOLEI PLACE
HONOLULU, HI 96822

ADALYNN CELINE NESJAN                                                   Common Shares                  108    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM ALABRASH                                                           Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM ALFANO                                                             Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM AYERS                                                              Common Shares                  214    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM BIER                                                               Common Shares                  125    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM CANADY                                                             Common Shares                  442    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM DAVID BIER                                                         Common Shares                  125    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM DAVIS                                                              Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM GREENBERG                                                          Common Shares                  187    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM HARRIS                                                             Common Shares                  100    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM HOWARD                                                             Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST


Sheet 4 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of          Kind of
business of holder                                                                           Securities         Interest

ADAM HOWELL                                                             Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM JOSEPH THOMAS                                                      Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM KATZENBERG                                                         Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM LINET                                                              Common Shares                 1,768   Common
ADDRESS AVAILABLE UPON REQUEST

ADAM MAIN                                                               Common Shares                  100    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM MICHAEL POWELL                                                     Common Shares                  624    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM PEIRS                                                              Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM PETH                                                               Common Shares                  176    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM PIWOWARCZYK                                                        Common Shares                  188    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM ROUMM                                                              Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ADAM SCHEICH                                                            Common Shares             11,250      Common
ADDRESS AVAILABLE UPON REQUEST

ADAM THODEY                                                             Common Shares                  231    Common
ADDRESS AVAILABLE UPON REQUEST

ADCHARAPORN POONSAP                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ADELE STEWART                                                           Common Shares                  100    Common
ADDRESS AVAILABLE UPON REQUEST

ADELINE FERRO LIVING TRUST                                              Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ADELLA DANIELS                                                          Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

ADOLF PENNO                                                             Common Shares                  106    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of        Kind of
business of holder                                                                           Securities       Interest

ADOLFO MARQUEZ                                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ADOLFO RODRIGUEZ JR                                                     Common Shares                 312   Common
ADDRESS AVAILABLE UPON REQUEST

ADOLFO VILLANUEVA                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIA GRAY                                                              Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIAN APREUSS                                                          Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIAN CHEUNG                                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIAN DIRUSSO                                                          Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIAN HILL                                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIANA HOLSBERG                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIANE COLDMAN                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIANNE VERGA                                                          Common Shares                  92   Common
ADDRESS AVAILABLE UPON REQUEST

ADRIENNE LO                                                             Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ADVANCED CAPITAL GROUP LLC                                              Common Shares                  88   Common
1180 W BALL 9576
ANAHEIM, CA 92812

AFFINITY NEGOTIATIONS LLC                                               Common Shares                 188   Common
2166 GRAND AVE 2ND FL
BRONX, NY 10453

AFIA KONTOH                                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AGATHA KING                                                             Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of        Kind of
business of holder                                                                           Securities       Interest

AGATHA STEVENS                                                          Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AGNES FOK                                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AGUNG SUDJONO                                                           Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

AGUSTIN MARTINEZ OSSO                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AHYEON LEE                                                              Common Shares                 360   Common
ADDRESS AVAILABLE UPON REQUEST

AIFALA AMA                                                              Common Shares                 359   Common
ADDRESS AVAILABLE UPON REQUEST

AIGERIM KIKIMOVA                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AILENETTE CRUZ                                                          Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

AIMEE GORDON                                                            Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

AJTJ LLC                                                                Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AJZ 55 INVESTMENTS LLC                                                  Common Shares                 441   Common
31 MEREDITH DR
SPARTA, NJ 07871

AKAASH RAMANUJAM                                                        Common Shares                 150   Common
ADDRESS AVAILABLE UPON REQUEST

AKASH BAID                                                              Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALAIN MIRZAEI                                                           Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALAINA MILLER                                                           Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALAN ABRAMS                                                             Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of        Kind of
business of holder                                                                           Securities       Interest

ALAN BUTTERWORTH                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALAN FLEISCHER PEICHER                                                  Common Shares                 504   Common
ADDRESS AVAILABLE UPON REQUEST

ALAN GREENWALD                                                          Common Shares                 175   Common
ADDRESS AVAILABLE UPON REQUEST

ALAN JAEGER                                                             Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALAN SHERWOOD                                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALAN THOMAS                                                             Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALAN W NASH                                                             Common Shares                 151   Common
ADDRESS AVAILABLE UPON REQUEST

ALANA JOY ALFECHE                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALANA MCKINNEY                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALANN BHONY                                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALANNA REBECCA                                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ALBERT DIXON                                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALBERT EUGENE CONRAD                                                    Common Shares                 500   Common
ADDRESS AVAILABLE UPON REQUEST

ALBERT INGRAM                                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALBERT M HERSHBERGER                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALBERT S OTT                                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALBERT VONURBAN                                                         Common Shares                 108   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                       Case No.
                                                            Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class       Number of          Kind of
business of holder                                                                           Securities         Interest

ALBERTO ALEJANDRO GUEVARA DIAZ                                          Common Shares                  159    Common
ADDRESS AVAILABLE UPON REQUEST

ALBERTO LIM                                                             Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ALEC HORTON                                                             Common Shares                  883    Common
ADDRESS AVAILABLE UPON REQUEST

ALECIA BEAVON                                                           Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ALEJANDRA CAROLINA PEREZ                                                Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ALEJANDRA MOSCOSO                                                       Common Shares                  108    Common
ADDRESS AVAILABLE UPON REQUEST

ALEJANDRO LACY                                                          Common Shares                   87    Common
ADDRESS AVAILABLE UPON REQUEST

ALEJANDRO SORIANO                                                       Common Shares                   87    Common
ADDRESS AVAILABLE UPON REQUEST

ALEKSANDER W KALYNOVYCH                                                 Common Shares                   97    Common
ADDRESS AVAILABLE UPON REQUEST

ALESHIA JOHNY                                                           Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ALESIA PINNEY                                                           Common Shares                 4,058   Common
ADDRESS AVAILABLE UPON REQUEST

ALESSANDRO LAMON                                                        Common Shares                  338    Common
ADDRESS AVAILABLE UPON REQUEST

ALESSANDRO PUCCIO                                                       Common Shares                  353    Common
ADDRESS AVAILABLE UPON REQUEST

ALEX BARONE                                                             Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ALEX BIBBEY                                                             Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

ALEX BOURNE                                                             Common Shares                  510    Common
ADDRESS AVAILABLE UPON REQUEST

ALEX CAMARA                                                             Common Shares                  504    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ALEX GOODWIN                                                        Common Shares             18,750    Common
ADDRESS AVAILABLE UPON REQUEST

ALEX GRANDE FERMIN JR                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX HARVEY KAUFMAN                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX JONES                                                          Common Shares                 163   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX KAUFMAN                                                        Common Shares                 101   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX KOBER                                                          Common Shares                  44   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX LIU                                                            Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX MONTERROSA                                                     Common Shares                 390   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX PURTELL                                                        Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALEX TURNBOW                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXA BERGER                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXA NICOLE RITACCO                                                Common Shares                  97   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXA SINGH                                                         Common Shares                  72   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER ADELSBERGER                                               Common Shares                 442   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER BINIAZ-HARRIS                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER BRUCE                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER CASSELL                                                   Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

Sheet 10 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

ALEXANDER COLLETTI                                                  Common Shares                  187    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER GONZALEZ                                                  Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER HOLMES                                                    Common Shares                  109    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER HOPKINS                                                   Common Shares                   90    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER JOA                                                       Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER JOHN MARK                                                 Common Shares                 1,262   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER JOSEPH HO                                                 Common Shares                  437    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER KEMP                                                      Common Shares                   17    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER LARCHEVEQUE                                               Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER LEONARD                                                   Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER MATTHEW SAIP                                              Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER MOLINA                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER PAZ                                                       Common Shares                  108    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER PENNEY                                                    Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER RAMLALL                                                   Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER ROTKER                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER SHAFIR                                                    Common Shares                  252    Common
ADDRESS AVAILABLE UPON REQUEST

Sheet 11 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ALEXANDER SOFRONAS                                                  Common Shares                 175   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDER TORRES                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA DRESSMAN                                                  Common Shares                 163   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA HSIE                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA JANSEN                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA KERN                                                      Common Shares                  72   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA LOUISE MARCHBANK                                          Common Shares                  72   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA MEJIA                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA PEREZ GONZALEZ                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA POPE                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA RUTHERFORD                                                Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRA VAN NESS                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRE RICHARD                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRE ZHANG                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXANDRIA ESTES                                                    Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXIS BARNES                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXIS BAUGHEY                                                      Common Shares                  97   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ALEXIS BOHLANDER                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALEXIS S DE MAN                                                     Common Shares                 630   Common
ADDRESS AVAILABLE UPON REQUEST

ALFRED E MCNAIR JR                                                  Common Shares                 360   Common
ADDRESS AVAILABLE UPON REQUEST

ALFRED H PLUMMER III                                                Common Shares                  96   Common
ADDRESS AVAILABLE UPON REQUEST

ALFRED PATRON                                                       Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

ALFRED RODRIGUES                                                    Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

ALI KHAN                                                            Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ALI OCHOA                                                           Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALICE J O'CONNOR                                                    Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

ALICE L HOOD                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALICE P LANGLEY                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALICE U HAHN                                                        Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALICE VIRGINIA KOEHLER                                              Common Shares                  81   Common
ADDRESS AVAILABLE UPON REQUEST

ALICIA JONES                                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ALICIA YOPCHICK                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALISE ELLIOTT                                                       Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ALISHA RUNCKEL                                                      Common Shares                 720   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ALISON BETH DOERFFEL MCNICHOLAS                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALISON C JOHNSON                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALISON QUINN                                                        Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

ALISON ROSE TAKAHASHI                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALIXANDRIA MCDEAVITT                                                Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALIYA ALI                                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALKESH PATEL                                                        Common Shares                 442   Common
ADDRESS AVAILABLE UPON REQUEST

ALL AMERICAN HOME SOLUTIONS LLC                                     Common Shares                 292   Common
8108 LIMEHOUSE LN
LOUISVILLE, KY 40220

ALLA ZBIRUN                                                         Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

ALLAN CARROLL DINGMAN                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALLAN ROY RICHARDS JR                                               Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

ALLEN CALDWELL                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALLEN FLEMING                                                       Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

ALLEN HAMERS                                                        Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALLEN M KLEIN                                                       Common Shares                 275   Common
ADDRESS AVAILABLE UPON REQUEST

ALLEN SCOTT HERRON                                                  Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ALLISON ANNE KIMSEY                                                 Common Shares                 441   Common
ADDRESS AVAILABLE UPON REQUEST

ALLISON BLAKE SEIGLER                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ALLISON C SOTELO                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALLISON CHENEY                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ALLISON MAE STALBERGER                                              Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

ALLYSSA SAMPSON                                                     Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALOK SINGH                                                          Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALTO IRA EMPIRE TRUST CUSTODIAN FBO JENNIE HSU-LUMETTA IRA Common Shares                           88   Common
1906 GLEN ECHO ROAD 159301
NASHVILLE, TN 37215

ALTOIRA - JERRY W KING                                              Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

ALTOIRA EMPIRE TRUST CUSTODIAN FBO ANA GUZMAN IRA                   Common Shares                 133   Common
1906 GLEN ECHO ROAD 159301
NASHVILLE, TN 27215

ALTOIRA EMPIRE TRUST CUSTODIAN FBO ANDREW EHRET                     Common Shares                 378   Common
500 11TH AVENUE N 790
NASHVILLE, TN 37204

ALTOIRA EMPIRE TRUST CUSTODIAN FBO CARLOS RIVERA IRA                Common Shares                  88   Common
1906 GLEN ECHO ROAD 159301
NASHVILLE, TN 37215

ALTOIRA EMPIRE TRUST CUSTODIAN FBO CHARLES J MERRILL IRA            Common Shares                 126   Common
1906 GLEN ECHO ROAD 159301
NASHVILLE, TN 27215

ALTOIRA EMPIRE TRUST CUSTODIAN FBO CHRISTOPHER LUDWIG               Common Shares                  88   Common
ROTH IRA
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

ALTOIRA EMPIRE TRUST CUSTODIAN FBO DAVID DEVITA IRA                 Common Shares                  850    Common
1906 GLEN ECHO ROAD 159301
NASHVILLE, TN 27215

ALTOIRA EMPIRE TRUST CUSTODIAN FBO DOMINIC HARDIMAN                 Common Shares                  139    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO DONALD JACK BERGMAN              Common Shares                   92    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO DUKE ROMKEY ROTH IRA             Common Shares                   88    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO ESTHER BEAUTY KIM IRA            Common Shares                   88    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO GERMAN GUERRERO                  Common Shares                  216    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO HIREN DESAI ROTH IRA             Common Shares                   88    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO HONGSHI XU IRA                   Common Shares                  125    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO JOSEPH MARRA IRA                 Common Shares                 1,246   Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO KUNAL BAVISHI                    Common Shares                  136    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203
Sheet 16 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

ALTOIRA EMPIRE TRUST CUSTODIAN FBO KYRA TIMIAN IRA                  Common Shares                  133    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO MARK DAVID SHERIDAN              Common Shares                  441    Common
IRA
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO MARTY KAYE IRA                   Common Shares                  112    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO MATTHEW BOUTHILETTE              Common Shares                 1,326   Common
IRA
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO MATTHEW YAUCH IRA                Common Shares                 2,120   Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO PETRA DANIELA GOLLONG Common Shares                              71    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO REBECCA STORER                   Common Shares                  137    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO ROBERT CLAGGETT                  Common Shares                   71    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO ROBERT WAGNON                    Common Shares                   71    Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ALTOIRA EMPIRE TRUST CUSTODIAN FBO RYAN A MOORE                     Common Shares                 360   Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO SHRIRAM MOGALLAPALLI             Common Shares                 360   Common
IRA
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO STEVEN EGBERT IRA                Common Shares                  88   Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO SUE SMECKERT                     Common Shares                 437   Common
YAMAMOTO IRA
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO SUZANN WESTERFIELD               Common Shares                 100   Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO SUZANNE JARDINE IRA              Common Shares                  88   Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO TODD BECKMANN IRA                Common Shares                 265   Common
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTOIRA EMPIRE TRUST CUSTODIAN FBO VINCENT CURTIS WALTERS Common Shares                            85   Common
IRA
ALTO SOLUTIONS, INC.
500 11TH AVE N SUITE 790
NASHVILLE, TN 37203

ALTON W POWELL III                                                  Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

ALTONIO CRUSE BULLOCK                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ALVARO F PATARROYO                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ALYSSA GILMETTE                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ALYSSA VERTUCA                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ALYSSA WEINSTEIN-SEARS                                              Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMA BANAHENE                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA ARNOLD                                                       Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA CHRISTINE FRIEBERG                                           Common Shares                 222   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA DOMALECZNY                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA FLETCHER                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA KEHR                                                         Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA KLINGER                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA LAUGHLIN                                                     Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA LOCH                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA LYN ROBERTS                                                  Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA NGUYEN                                                       Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA PERSAUD                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMANDA SOWDEN                                                       Common Shares                 221   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

AMANDA ZABLOCKY                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMANEE HEARNS                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AMAR BHAKTA                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMAR J KUMAR                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMAURI HIDALGO                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AMBER ABRAMS                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AMBER HERBERT                                                       Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

AMBER ROLLE                                                         Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

AMBER YUKIKO SAKAI                                                  Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

AMELIA ELIZABETH SMITH                                              Common Shares                 150   Common
ADDRESS AVAILABLE UPON REQUEST

AMERIPRISE (0756)                                                   Common Shares             67,404    Common
ATTN: GREG WRAALSTAD OR PROXY MGR
901 3RD AVE SOUTH
MINNEAPOLIS, MN 55474

AMI AMIN                                                            Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

AMIE BONNER                                                         Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

AMIR FARHANG ASSADI                                                 Common Shares                 144   Common
ADDRESS AVAILABLE UPON REQUEST

AMIT JAGETIA                                                        Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AMIT JAI PRAKASH BANSAL                                             Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

AMIT LIFT                                                           Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

AMIT PARIKH                                                         Common Shares                  126    Common
ADDRESS AVAILABLE UPON REQUEST

AMIT SHIVAJI BARTAKE                                                Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

AMIT SHUKLA                                                         Common Shares                  220    Common
ADDRESS AVAILABLE UPON REQUEST

AMPLIFY LA CAPITAL II LLC                                           Common Shares                 3,697   Common
1600 MAIN ST
VENICE, CA 90401

AMPLIFY LA CAPITAL LLC                                              Common Shares            106,249      Common
1600 MAIN ST
VENICE, CA 90401

AMPLIFY LA OPPORTUNITY FUND L P                                     Common Shares             16,698      Common
1600 MAIN ST
VENICE, CA 90401

AMRITA KHARE                                                        Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

AMTT INVESTMENTS PTY LTD ATF THOMAS FAMILY TRUST                    Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

AMY BRAUN                                                           Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

AMY DENISON                                                         Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

AMY FEHIR                                                           Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

AMY GUTHRIE                                                         Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

AMY J BALLOR                                                        Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

AMY KOZLOWSKI                                                       Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

AMY L DAVIS                                                         Common Shares                  144    Common
ADDRESS AVAILABLE UPON REQUEST
Sheet 21 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

AMY M PESA                                                          Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

AMY MILLER-BOWMAN                                                   Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AMY MINTER                                                          Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

AMY N AKIN                                                          Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

AMY RUZICKA                                                         Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

AMY SAMPLE                                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

AMY SILBEY                                                          Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AMY SKONIECZNY                                                      Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

AMY WHITED                                                          Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANA FERRARA                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANA GUZMAN                                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANA PAULA TENORIO VIVANCO                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANALIESE JISELLE BARNES-CLASSEN                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANAMARIA RIVERA                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANASTASIA BUBENSHCHIKOVA                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANATOLI ALEXANDER NARESHNI                                          Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANAVEL CUEVAS                                                       Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANDERS RORDAME HILL                                                 Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRAE BANKS                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRAS GABOR ZANYI                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRE HALE                                                          Common Shares                  89   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRE HALE                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA BRUCKER                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA DIVINA DELA ROSA                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA JEAN COLICH                                                  Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA KORENEK                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA L ALEXANDER                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA LAUREN ISAACS                                                Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA MATTIS                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA OLSON                                                        Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA PERRIGO-LANGEN                                               Common Shares                  78   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA ROMEO                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA SABRINA HALL                                                 Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA SHEAHAN                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

Sheet 23 of 410 in List of Equity Security Holders
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANDREA SHEARIN                                                      Common Shares                 216   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA SHIELDS                                                      Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA STIPE                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA VIVIANO-ENYEDY                                               Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREA WINTER                                                       Common Shares                 175   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREAS KEELE                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREAS STRACKE                                                     Common Shares                  73   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREAS STRACKE                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRES DANGOND                                                      Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRES FELIPE SALAZAR                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRES ORNELAS                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW AKIRA JOHN KAMEI                                             Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW ARIZMENDI II                                                 Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW DAVID KLIMA                                                  Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW DUPONT                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW FABRY                                                        Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW GIACOMAZZA                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANDREW HAGEWOOD                                                     Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW J JACKSON                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW JAMES COUPE                                                  Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW JAY GRZESKOWIAK                                              Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW JENKINS                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW JOSEPH CRAMER                                                Common Shares                 220   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW KIM                                                          Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW L MARKS                                                      Common Shares                  81   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW LARSON CLARKE                                                Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW LAWSON                                                       Common Shares                 179   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW LEE RUTHERFORD                                               Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW LEE                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW LIU                                                          Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW MARK ROSENWACH                                               Common Shares                 757   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW MCCORMICK                                                    Common Shares                 720   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW MENA                                                         Common Shares                 360   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW MICHAEL FISHER                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANDREW MUNOZ                                                        Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW NEWCOMBE                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW PAUL HARACOURT                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW PETER MEDVEDEV                                               Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW POWELL                                                       Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW REGALADO                                                     Common Shares                 106   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW REILLY                                                       Common Shares                 375   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW RIDGE                                                        Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW ROSEN                                                        Common Shares                 133   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW SAULINO                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW SCHNEIDER                                                    Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW SETSER                                                       Common Shares                  77   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW SNELLA                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW THAN                                                         Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW THEODORE BAY                                                 Common Shares                 188   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW TODD FUNK                                                    Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW VANDERSCHAAF                                                 Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANDREW VRIEZE                                                       Common Shares                 106   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREW WERNER                                                       Common Shares                 188   Common
ADDRESS AVAILABLE UPON REQUEST

ANDREY ZAHARIEV                                                     Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANDRIANA BOULDIN                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANDY DEMESIER                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANESSA DESARNO                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANG MCMANAMON                                                       Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANGEL SINGH                                                         Common Shares                  81   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA CONCEPCION                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA DEMARCO                                                      Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA FORERO                                                       Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA HOWARD                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA JO SILVERMAN                                                 Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA KILLOREN                                                     Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA MIN                                                          Common Shares                 144   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA SCHELLENBERG                                                 Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELA STOUT                                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANGELA TRIPLETT PIERCE                                              Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELLO MAGGIO                                                      Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELO LAURY IVORY                                                  Common Shares                 576   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELO RELLA                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANGELY TAVARES                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANGUS ANDREW CHARLES EVENDEN                                        Common Shares                 845   Common
ADDRESS AVAILABLE UPON REQUEST

ANIL CHINTAPARTHI                                                   Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANIL KUMAR LALA                                                     Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANIL NAIR                                                           Common Shares                 375   Common
ADDRESS AVAILABLE UPON REQUEST

ANILKUMAR N PAI                                                     Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANISA PATEL                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANISH JACOB                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANITA L CHANTARASAKA                                                Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANJALI IYER                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANJALI SIMH                                                         Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANJANA RAMES                                                        Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

ANJORIE JHAVERI                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANKIT SRIVASTAVA                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANKUR GARG                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANKUR SAHNI                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANN D MASSARO                                                       Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANN L JOHNSON                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANN LOUDERMILK                                                      Common Shares                  72   Common
ADDRESS AVAILABLE UPON REQUEST

ANN NAPELA T GASPANG                                                Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA BEVERLEY                                                       Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA DIAZ                                                           Common Shares                 860   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA ELIZABETH STRAHAN                                              Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA HINCK                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA KARIN LEVIN                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA LEE GIGLIOTTI                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA MCNAB                                                          Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA O'SULLIVAN                                                     Common Shares                 220   Common
ADDRESS AVAILABLE UPON REQUEST

ANNA RUNNER                                                         Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANNAMARIE HILL                                                      Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANNE CRAMER                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANNE GRAY                                                           Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

ANNE HEIKE                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANNE MARIE KEARNS                                                   Common Shares                 159   Common
ADDRESS AVAILABLE UPON REQUEST

ANNE MESSING                                                        Common Shares                 312   Common
ADDRESS AVAILABLE UPON REQUEST

ANNE NICOLE GREEN                                                   Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANNE ROCKEY                                                         Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANNEMARIE DREISTADT                                                 Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANNETTE K APPELBAUM                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANNETTE PETRUCELLI                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANNIE HEISS                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANNIE ROUSSEAU                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANNIKA MISCHE                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANSON ABRAHAM                                                       Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANTEBI CROWE PROPERTY LLC                                           Common Shares                 750   Common
3350 MONTREAL STATION
TUCKER, GA 30084

ANTHONY ARELLANO-KRUSE                                              Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANTHONY BARRETT KOCH                                                Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY BELLO SPARKS                                                Common Shares                 226   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY BOLOGNESE                                                   Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY BRISSON                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY BROWN                                                       Common Shares                 442   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY CHENG                                                       Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY CHRISTOPHER MANILLA                                         Common Shares                 515   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY DAIUTO                                                      Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY ELTON BECKETT                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY FARELLO                                                     Common Shares                 365   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY GIORDANO                                                    Common Shares                 164   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY HILL                                                        Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY HOEFER                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY J BONO                                                      Common Shares                 163   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY JETER                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY LACCONA                                                     Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY LUPO JR                                                     Common Shares                 500   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANTHONY MOFFETT                                                     Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY NEAL SUNDQUIST                                              Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY NIYAMUDDIN                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY PORTO                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY SILVA                                                       Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY VELEZ                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY VERKRUYSE                                                   Common Shares                 500   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY VINES                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

ANTHONY WHERRY                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ANTOINE GEORGES                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANTOINETTE MAYS                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANTON UNIIAT                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANTONETTE BOYNES                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANTONIO CASELLAS-BOND                                               Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

ANTONIO DE NOVA DAGNINO CARRILHO DE VILHENA                         Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

ANTONIO GRAY                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANTONIO LUIS REGO CANHA CARRILHO DE VILHENA                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ANTONIO MANUEL CHARONDO                                             Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

ANTONIO YACOVELLI                                                   Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

ANTONIOS SKORDAS                                                    Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANUJ BAVEJA                                                         Common Shares                  44   Common
ADDRESS AVAILABLE UPON REQUEST

ANUJ OSWAL                                                          Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ANUJ PATEL                                                          Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

ANURAG JAIN                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ANWAR H PATWARY                                                     Common Shares                 144   Common
ADDRESS AVAILABLE UPON REQUEST

ANYA FEINBERG                                                       Common Shares                 110   Common
ADDRESS AVAILABLE UPON REQUEST

ANZHELA STOROZHENKO                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

APEX CUSTODIAN FBO DAVID J DECKER TRAD IRA                          Common Shares                 108   Common
ADDRESS AVAILABLE UPON REQUEST

APEX/ETRADE (0158/0385)                                             Common Shares            295,362    Common
C/O BRDRIDGE SECS PROCESSING
ATT: YASMINE CASSEUS, 2 GATEWAY CTR
283-299 MARKET ST - 16TH FL
NEWARK, NJ 07102

APRIL LONGHITANO                                                    Common Shares                 108   Common
ADDRESS AVAILABLE UPON REQUEST

APURV KULKARNI                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

APW FINANCIAL LLC                                                   Common Shares                  88   Common
2208 CONCORDIA WAY SE
MABLETON, GA 30126


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

ARASH AGHEL                                                         Common Shares                  360    Common
ADDRESS AVAILABLE UPON REQUEST

ARCHIE LIBORO                                                       Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ARCHIE WINTHROP JENNINGS                                            Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ARCHIT SAXENA                                                       Common Shares                  107    Common
ADDRESS AVAILABLE UPON REQUEST

ARELY CURE                                                          Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ARGENTIN FILS-AIME                                                  Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ARI RADETSKY                                                        Common Shares             14,646      Common
ADDRESS AVAILABLE UPON REQUEST

ARIAAN MODDER                                                       Common Shares                  176    Common
ADDRESS AVAILABLE UPON REQUEST

ARIADNA EVANS                                                       Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

ARIANA CHRISTINA ALLEN                                              Common Shares                 1,015   Common
ADDRESS AVAILABLE UPON REQUEST

ARIANA KATERYNA WOLYNEC-WERNER DIMEO                                Common Shares                  721    Common
ADDRESS AVAILABLE UPON REQUEST

ARIANA PAHLAVAN                                                     Common Shares                  125    Common
ADDRESS AVAILABLE UPON REQUEST

ARIANNA DINES                                                       Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

ARICCA DESIRE                                                       Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

ARIE WELLE                                                          Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

ARIEL WEBB                                                          Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ARJUN MURALI SRINIVASAN                                             Common Shares                 5,273   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

ARLENE STWEART                                                      Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ARLIN E GAFFNER                                                     Common Shares                  504    Common
ADDRESS AVAILABLE UPON REQUEST

ARMIN ALEXANDER SCHMIDT                                             Common Shares                  126    Common
ADDRESS AVAILABLE UPON REQUEST

ARMSTRONG RANCH ENTERPRISES LLC                                     Common Shares                  188    Common
32 TIMBER RIDGE TRL
LORENA, TX 76655

ARNO JOE TOUTOUNJIAN                                                Common Shares                  151    Common
ADDRESS AVAILABLE UPON REQUEST

ARNOLD DIAZ JUNIOR                                                  Common Shares                  213    Common
ADDRESS AVAILABLE UPON REQUEST

ARNOLD SENGOOBA                                                     Common Shares                  264    Common
ADDRESS AVAILABLE UPON REQUEST

ARNOLD WEBRE JR                                                     Common Shares                 1,326   Common
ADDRESS AVAILABLE UPON REQUEST

ARON LONG                                                           Common Shares                  264    Common
ADDRESS AVAILABLE UPON REQUEST

AROON RUSTEMI                                                       Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

ARSHAK TOROSSIAN                                                    Common Shares                  265    Common
ADDRESS AVAILABLE UPON REQUEST

ARTHUR FAGEN                                                        Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ARTHUR L MARTIN                                                     Common Shares                  108    Common
ADDRESS AVAILABLE UPON REQUEST

ARTHUR MALKANI                                                      Common Shares                  442    Common
ADDRESS AVAILABLE UPON REQUEST

ARTHUR SHEN                                                         Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

ARTIS COLLIER                                                       Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ARTURO FUENTES                                                      Common Shares                  85   Common
ADDRESS AVAILABLE UPON REQUEST

ARUN ANBUMANI                                                       Common Shares                  35   Common
ADDRESS AVAILABLE UPON REQUEST

ARUN KARUPPAIYA ADAIKALAM                                           Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ARUN SHRRIVATS RAMASUBRAMANIAN                                      Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

ARVELLA BATTICK                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ARVID E DAHLSTROM                                                   Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ARVIND CHERUKU                                                      Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ARYCK RUSSELL                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ARZ                                                                 Common Shares                 144   Common
ADDRESS AVAILABLE UPON REQUEST

ASEEM BALHARA                                                       Common Shares                 884   Common
ADDRESS AVAILABLE UPON REQUEST

ASHISH ANAND                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHISH KUMAR VERMA                                                  Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY BORRELLI                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY HAMILTON                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY HESS                                                         Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY HILTON                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY JAMES ROBINSON                                               Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ASHLEY KLINE                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY MCCALL                                                       Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY MITCHELL                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY NEGLIA                                                       Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY NICOLE LOMELIN                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY NICOLE ST JULES                                              Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY REESE                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY RENEE SOUTH                                                  Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY RICHARDSON                                                   Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ASHLEY TYLER                                                        Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ASHOK SANGHAVI                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHU CHOHAN                                                         Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

ASHUWR PERSON                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHWINIKUMAR JOSHI                                                  Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

ASHWINIKUMAR SOEKHOE                                                Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

ASHWINKUMAR L PATEL                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

ASUNCION BORATGIS                                                   Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

ATIKA MUHAMMAD                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

AUBREY WOOD                                                         Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

AUDRA LEIGH SNYDER                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AUDREY L KIDD                                                       Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

AUGDON ROBERTS                                                      Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

AUGUSTA SOERYADJAYA                                                 Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

AURIANE KOSTER                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

AURORE SIANO LORMEUS                                                Common Shares                  78   Common
ADDRESS AVAILABLE UPON REQUEST

AUSTIN HUGH ANDERSON                                                Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

AUSTIN ROBERT HERRINGTON                                            Common Shares                 209   Common
ADDRESS AVAILABLE UPON REQUEST

AVERY HELWIG                                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

AXOS/COR CLEARING (0052)                                            Common Shares            304,501    Common
ATTN: CORPORATE ACTIONS DEPT
1200 LANDMARK CTR, STE. 800
OMAHA, NE 68102-1916

AYANNA CATO-HAWKINS                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

AZIZA CALLAHAN                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

AZUSA SHIMADA                                                       Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BA MINH HA                                                          Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BAILEY WILFONG                                                      Common Shares                 221   Common
ADDRESS AVAILABLE UPON REQUEST

BAIPING GUO                                                         Common Shares                 314   Common
ADDRESS AVAILABLE UPON REQUEST

BALA VENKATAPATHY                                                   Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BALLASTINE INTERNATIONAL CORPORATION                                Common Shares             24,038    Common
195 G ARANETA AVENUE 3RD FLOOR ILO BUILDING
QUEZON CITY 1113
PHILIPPINES

BAMBOO HOLDINGS LLC                                                 Common Shares                 227   Common
ADDRESS AVAILABLE UPON REQUEST

BAN YOON                                                            Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BANK OF NEW YORK MELLON (0901)                                      Common Shares             11,927    Common
ATTN: EVENT CREATION
SIMO
ROOM 151-1700
PITTSBURGH, PA 15258

BARBARA A MACIEL                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BARBARA ADAMS SUMMERS                                               Common Shares                 188   Common
ADDRESS AVAILABLE UPON REQUEST

BARBARA ANN LEONARD                                                 Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BARBARA J TENNISON                                                  Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BARBARA KLEIBER                                                     Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BARCLAYS CAPITAL (8455)                                             Common Shares                  97   Common
ATTN: CORPORATE ACTIONS/REORG
745 7TH AV, 3RD FL
NEW YORK, NY 10019

BARIONEL BARON GUITEAU                                              Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BARRETT JAMES                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BARRY E SAMPSON                                                     Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BARRY FALTER                                                        Common Shares                  26   Common
ADDRESS AVAILABLE UPON REQUEST

BARRY HOELSCHER                                                     Common Shares                 442   Common
ADDRESS AVAILABLE UPON REQUEST

BARRY MAYLOR                                                        Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BARRY RITCHEY                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BARRY RONALD SMITH                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BART TEEUWEN                                                        Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BARTON KAYSER                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BEATE ELY-CROFT                                                     Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

BEATRIZ GODOY                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BELA PATEL                                                          Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BELINDA ELKAIM                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BELLA AVANESSIAN                                                    Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

BEN DETTMANN                                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BEN HAGOOLI                                                         Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

BEN HOBBS                                                           Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

BEN SUISKIND                                                        Common Shares                  884    Common
ADDRESS AVAILABLE UPON REQUEST

BEN VAN DER BUNT AND LAURA FOX LIVING TRUST                         Common Shares                 7,365   Common
ADDRESS AVAILABLE UPON REQUEST

BENESH CHUDASAMA                                                    Common Shares                  378    Common
ADDRESS AVAILABLE UPON REQUEST

BENITHA GARCIA MINTZ                                                Common Shares                  137    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN A SMITH                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN ADAM DOWNS                                                 Common Shares                  125    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN ARTHUR GREINKE                                             Common Shares                  176    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN BRYANT                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN DAVID FRANKLIN                                             Common Shares                   72    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN DE LEON                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN FADEN                                                      Common Shares                  187    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN FORESTIER                                                  Common Shares                  364    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN HOOPER                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN ILER                                                       Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN J YODER                                                    Common Shares                  181    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN LEE SCHEICH                                                Common Shares                  534    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN MARION KOONTZ                                              Common Shares                  126    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BENJAMIN MCNEILL                                                    Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN MICHAEL EGAN                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN MUDRY                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN PAUL                                                       Common Shares                 360   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN PIGGOTT                                                    Common Shares             10,818    Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN POTTS                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN PROZINSKI                                                  Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN ROSELLE                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN SCOTT DARLINGTON                                           Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN WHITLA                                                     Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN WING-KAY LEE                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN ZAROUK                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN ZASTOVNIK                                                  Common Shares                 351   Common
ADDRESS AVAILABLE UPON REQUEST

BENJAMIN ZEOLLA                                                     Common Shares                 450   Common
ADDRESS AVAILABLE UPON REQUEST

BENJIMAN READ                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BENNETT B DARNELL                                                   Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

BENNETT I MACHANIC                                                  Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BENNETT POULIN                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BENYAH SHAPARENKO                                                   Common Shares                 180   Common
ADDRESS AVAILABLE UPON REQUEST

BERNADETTE CHEN                                                     Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BERNADETTE DRUMM                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BERNALILLO GP INC                                                   Common Shares                 450   Common
ADDRESS AVAILABLE UPON REQUEST

BERNARD ESTIN                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BERNARD PUDIMOTT                                                    Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BERNARDO M DEL HIERRO                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BESSEMER VENTURE PARTNERS VIII INSTITUTIONAL L P                    Common Shares            442,032    Common
535 MIDDLEFIELD ROAD SUITE 245
MENLO PARK, CA 94025

BESSEMER VENTURE PARTNERS VIII INSTITUTIONAL L P                    Common Shares             19,450    Common
535 MIDDLEFIELD ROAD SUITE 245
MENLO PARK, CA 94025

BETH A HOFFMAN ROTH IRA                                             Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BETH A TRACY                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BETHANY ANN O'DELL                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BETHANY SMITH                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BETTY CELSKI                                                        Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

BETTY HILL                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BETTY J AYERS                                                       Common Shares                 133   Common
ADDRESS AVAILABLE UPON REQUEST

BETTY JO WHITSON                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BEULAH LAND INVESTMENT GROUP LLC                                    Common Shares                  71   Common
44428 SOUTH BAPTIST RD
HAMMOND, LA 70401

BFIT CORP EPSP 401K                                                 Common Shares                 144   Common
673 NILE RIVER DRIVE
OXNARD, CA 93036

BHARAT M PATEL                                                      Common Shares                 180   Common
ADDRESS AVAILABLE UPON REQUEST

BHOLA BHATTARAI                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BHUSHAN SHIVAJI SALUNKE                                             Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

BIANCA KIM                                                          Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BIENVENIDO CONCEPCION                                               Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

BILL OKOSUN                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BILLY BRUCE ARRINGTON                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BILLY CHRZAN                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BILLY CORDON                                                        Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BILLY O'CONNELL                                                     Common Shares                 260   Common
ADDRESS AVAILABLE UPON REQUEST

BINA C SOURI                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BINH TRIEU                                                          Common Shares                 442   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BINMEDE PTY LTD AS TRUSTEE FOR SALLIS FAMILY TRUST                  Common Shares                 757   Common
ADDRESS AVAILABLE UPON REQUEST

BINMEDE PTY LTD AS TRUSTEE FOR SALLIS FAMILY TRUST                  Common Shares                 567   Common
ADDRESS AVAILABLE UPON REQUEST

BIRGIT KROME                                                        Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BIRUN BALAMI                                                        Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

BISHWAJEET PAUL                                                     Common Shares                 757   Common
ADDRESS AVAILABLE UPON REQUEST

BK OF AMERICA/GWIM TST OPER (0955)                                  Common Shares                 390   Common
ATTN: CORPORATE ACTIONS MANAGER
901 MAIN ST
12TH FL
DALLAS, TX 75202

BK OF AMERICA/LASALLE BK NA (2251)                                  Common Shares                 437   Common
ATTN: VINCENZO RUOCCO / PROXY DEPT
222 BRDWAY
11TH FL
NEW YORK, NY 10038

BLAIR ELIZABETH MORTON                                              Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BLAISE AGUIRRE                                                      Common Shares                 504   Common
ADDRESS AVAILABLE UPON REQUEST

BLAKE J EASTAMN                                                     Common Shares                 179   Common
ADDRESS AVAILABLE UPON REQUEST

BLANCA ESTELA RAMIREZ SANCHEZ                                       Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

BLESSING STRATEGIES LLC                                             Common Shares                  88   Common
105 RICHARDS AVE 2406
NORWALK, CT 06854

BLOOMX VENTURES LLC                                                 Common Shares                 360   Common
12221 TOWNE LAKE DRIVE A120
FORT MYERS, FL 33913

BLOSSOM TOUSSAINT                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                    Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                 (Continuation Sheet)




Name and last known address or place of                              Security Class       Number of          Kind of
business of holder                                                                        Securities         Interest

BLUE MORPHO PSP                                                      Common Shares                   88    Common
789 W MEADOW PKWY ALL MAIL TO: PO BOX 265
MORAVIAN FALLS, NC 28654

BMD FINANCIAL PARTNERS INC                                           Common Shares                  252    Common
5751 N MULLIGAN AVE
CHICAGO, IL 60646

BMO NESBITT BURNS INC. /CDS (5043)                                   Common Shares                   15    Common
ATTN: PHUTHORN PENIKETT
250 YONGE ST., 14TH FL
TORONTO, ON M5B 2M8
CANADA

BNP/CUST (2147/ 2787)                                                Common Shares                 1,151   Common
ATTN: PROXY DEPT
525 WASHINGTON BLVD
9TH FL
JERSEY CITY, NJ 07310

BOBBIE ROBINSON                                                      Common Shares                  757    Common
ADDRESS AVAILABLE UPON REQUEST

BOBBY KUDLEK                                                         Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BOBBY THOMAS                                                         Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BOFA SECS, INC. (0161, 5198, 5143, 0671, 8862)                       Common Shares             78,039      Common
ATTN: EARL WEEKS OR PROXY DEPT
C/O MERRILL LYNCH CORPORATE ACTIONS
4804 DEER LAKE DR. E.
JACKSONVILLE, FL 32246

BONNIE YEE                                                           Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

BORIS BELOBRAD                                                       Common Shares                  125    Common
ADDRESS AVAILABLE UPON REQUEST

BORIS BORRAYO                                                        Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

BORUI XU                                                             Common Shares                  265    Common
ADDRESS AVAILABLE UPON REQUEST

BOYD BRADLEY                                                         Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRAD BOWMAN                                                         Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRAD URBA                                                           Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRADEN WELDY                                                        Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY ALAN PHILLIPS                                               Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY BALBER                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY DELANEY                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY H ABRAMSON                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY HUGH PARKER                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY JAMES BONDY                                                 Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY JAY SOUCEK                                                  Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY K HUNT                                                      Common Shares                 188   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY L'HUILLIER                                                  Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY MATTHEWS                                                    Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY NELSON                                                      Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY ROBINSON                                                    Common Shares                 180   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY RUSSELL COTHRAN                                             Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRADLEY SCOTT WILCOSH                                               Common Shares                 315   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

BRADLEY TYLER WARREN                                                Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDEE YOUNGER                                                     Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDI LILES STEVENS                                                Common Shares                  150    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDI R CLARKE REVOCABLE TRUST                                     Common Shares                  176    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON ALEXANDER MARTINS                                           Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON ASHTON STEIN                                                Common Shares                  264    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON C OTTE                                                      Common Shares                  176    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON COLE                                                        Common Shares                   97    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON GERHARDT                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON HEXSEL                                                      Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON HOOD                                                        Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON JOSEPH DELALLO                                              Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON MONTANA                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON OSBON                                                       Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON OSBORNE                                                     Common Shares                 5,871   Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON PELZEL                                                      Common Shares                  100    Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON ROSE                                                        Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRANDON WANNER                                                      Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON WILLIAMS                                                    Common Shares                  92   Common
ADDRESS AVAILABLE UPON REQUEST

BRANDON WOOD                                                        Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

BRANDY COOPER                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BREAYANA SUMLIN                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDA DAVIS                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDA HENDERSON                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDA SHRIVER                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDA TUCK                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDAN FOGARTY                                                     Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDAN LESLIE DOSS                                                 Common Shares                 262   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDAN MULHERN                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDAN ROONEY                                                      Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDAN SHELLY                                                      Common Shares                 188   Common
ADDRESS AVAILABLE UPON REQUEST

BRENDEN D KENNEDY                                                   Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

BRENT BUNGER                                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRENT E WALKER                                                      Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRENT GOODE                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRENT HAMBLETON                                                     Common Shares                 151   Common
ADDRESS AVAILABLE UPON REQUEST

BRENT PALMAN                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRENT SMART                                                         Common Shares                 131   Common
ADDRESS AVAILABLE UPON REQUEST

BRENT T HEAVICAN                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRENT VANTIL                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRENTON ESKA                                                        Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRET PRASCAK                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT CASBEER                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT HYSON                                                         Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT JONES                                                         Common Shares                 365   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT LIND                                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT MCKNIGHT RUSSELL                                              Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT NOLAN                                                         Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT RADOCAJ                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT RICKERT                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRETT TEETER                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRIAN AGGEN                                                         Common Shares                 442   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN AIELLO                                                        Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN AND HOPE ANN BAILEY REVOCABLE TRUST                           Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN BOSTIC                                                        Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN C TANGE                                                       Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN CAROL                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN CHARLES MILOSKI                                               Common Shares                 188   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN COOK                                                          Common Shares                 177   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN D BOONE                                                       Common Shares                 179   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN D FELIX                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN DE SANTIAGO                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN DILLON                                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN DOUVILLE                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN DRISCOLL                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN EDWARD KARNS                                                  Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN EUGENE PRIBIL                                                 Common Shares                 181   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN FRANKLIN                                                      Common Shares                 884   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRIAN GERSON                                                        Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN HILLS                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN JUNE GREEN                                                    Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN K DAUPHIN                                                     Common Shares                 365   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN K DEVANEY                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN KEAN                                                          Common Shares                 134   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN KEARNEY                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN KIRBY                                                         Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN LADAH                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN LEE                                                           Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN MCLAUGHLIN                                                    Common Shares                 884   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN MICHAEL CLARK                                                 Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN MIKITA                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN MORAN                                                         Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN MOUA                                                          Common Shares                 365   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN MUSIL                                                         Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN NORTH                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRIAN PAUL SEAGO                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN PETER FARGNOLI                                                Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN PETER ROCK                                                    Common Shares                 151   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN QUARESMA                                                      Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN SCOTT                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN SMITH                                                         Common Shares            740,095    Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN THOMAS SCOTT                                                  Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN VALENTIN                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRIAN WADSWORTH                                                     Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRIANA RIEMER                                                       Common Shares                 466   Common
ADDRESS AVAILABLE UPON REQUEST

BRIANE LOWERR                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIANNA ALLEN                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BRIANNA MANZELLI                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRIARLEY DAVIDSON                                                   Common Shares                 200   Common
ADDRESS AVAILABLE UPON REQUEST

BRIDGET PANSINI                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRIGID O'CONNOR                                                     Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRIGID O'CONNOR                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

BRION SNYDER                                                        Common Shares                  267    Common
ADDRESS AVAILABLE UPON REQUEST

BRITTANY ALANE BRUNSON                                              Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

BRITTANY LEE                                                        Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRITTANY PRIDE                                                      Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRITTANY R HARLAN                                                   Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRITTANY SHAULIS                                                    Common Shares                  361    Common
ADDRESS AVAILABLE UPON REQUEST

BRITTNEY COLEMAN                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRITTNEY JONES                                                      Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BROCK D JOHNSTON INVESTMENTS LLC                                    Common Shares                  187    Common
2607 N VAL VISTA RD
APACHE JUNCTION, AZ 85119

BROCK HIGHAM                                                        Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

BROCK P WALKER                                                      Common Shares                  720    Common
ADDRESS AVAILABLE UPON REQUEST

BROOKS BURTON                                                       Common Shares                  884    Common
ADDRESS AVAILABLE UPON REQUEST

BROWN BROS HARRIMAN & CO (0010)                                     Common Shares                 3,034   Common
ATTN: CORPORATE ACTIONS / VAULT
140 BRDWAY
NEW YORK, NY 10005

BRUCE A RAMSEY LIVING TRUST                                         Common Shares                  375    Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE A RAMSEY                                                      Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE AND ANN-MARIE PARKER LIVING TRUST                             Common Shares                  187    Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRUCE D WERTZ                                                       Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE DAVIS                                                         Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE DROSTE                                                        Common Shares                 504   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE G SHOPE                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE GREGORY TIEMANN                                               Common Shares                 441   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE HAUER                                                         Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE J RYON                                                        Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE LANTELME                                                      Common Shares                 376   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE NUNZIO TARTAGLIA                                              Common Shares                 182   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE REINHART                                                      Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE SANDERS                                                       Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE WADSWORTH                                                     Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BRUCE WERTZ                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BRUNO DECARIA                                                       Common Shares                 258   Common
ADDRESS AVAILABLE UPON REQUEST

BRUNO ROCHA                                                         Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

BRUNO ROSA                                                          Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BRUNO STRAPKO                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRYAN BOTTI                                                         Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN COX                                                           Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN D MILES                                                       Common Shares                 757   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN DUKE                                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN FILL                                                          Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN HAYES                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN JOSEPH GRUNSKY                                                Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN LIBERATOR                                                     Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN LOUGHNEY                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN MARSH                                                         Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN MICHAEL FERRIS                                                Common Shares                 142   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN TOPSCHER                                                      Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN TROST                                                         Common Shares                 273   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN WALTER NELSON                                                 Common Shares                 312   Common
ADDRESS AVAILABLE UPON REQUEST

BRYAN WILLIAMSON                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BRYANA JOHNSON                                                      Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

BRYANT WILLIAMS                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

BRYON WADE BROCKEL                                                  Common Shares                 108   Common
ADDRESS AVAILABLE UPON REQUEST

BUNKIE INC                                                          Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

BURAK KEBAPCI                                                       Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

BURWELL BELL                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

BYRDNEST LLC                                                        Common Shares                 625   Common
ADDRESS AVAILABLE UPON REQUEST

BYRON F KATZUR TSANG                                                Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

C&H EQUITY MANAGEMENT LLC                                           Common Shares                  88   Common
3225 MCLEOD DR SUITE 101
LAS VEGAS, NV 89121

C2 CLUB W HOLDINGS LLC                                              Common Shares            216,675    Common
3110 MAIN ST
PH SANTA MONICA, CA 90405

C2 CLUB W SPV LLC                                                   Common Shares             38,168    Common
3110 MAIN ST
PH SANTA MONICA, CA 90405

CAD DESIGN SOLO 401K TRUST                                          Common Shares                 151   Common
7177 SOUTH LEEWYNN DRIVE
SARASOTA, FL 34240

CAESAR JONDEE                                                       Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CAESAR MARMOLEJO                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CALEX RENOVATIONS                                                   Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

CALLAN EDQUIST                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CALVIN RICHARD LANGRIDGE                                            Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

CAMAPLAN SDIRA OF THOMAS J COGHLAN                                  Common Shares                   87    Common
ADDRESS AVAILABLE UPON REQUEST

CAMDEN DEVERICKS                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CAMERON MACBAIN                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CAMERON MARK JOHNSON                                                Common Shares                  144    Common
ADDRESS AVAILABLE UPON REQUEST

CAMERON STUART CAROTHERS                                            Common Shares                   17    Common
ADDRESS AVAILABLE UPON REQUEST

CAMEUS GUILLAUME                                                    Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CAMILO ABELA                                                        Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

CAMILO J LOZANO                                                     Common Shares                   17    Common
ADDRESS AVAILABLE UPON REQUEST

CANDACE WIDDOES                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CANDICE LAPIN                                                       Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CANDICE WHALEN                                                      Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

CAPITAL INVESTMENTS & TECHNOLOGY                                    Common Shares                   88    Common
1315 CANON PERDIDO ST
CHULA VISTA, CA 91913

CAPITAL WIN CORPORATION                                             Common Shares                 1,262   Common
ADDRESS AVAILABLE UPON REQUEST

CARA STULL                                                          Common Shares                  238    Common
ADDRESS AVAILABLE UPON REQUEST

CARI PETLOVANY                                                      Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

CARISSA LONGSON                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

CARISSA SPITZER                                                     Common Shares                  100    Common
ADDRESS AVAILABLE UPON REQUEST

CARL ALEXANDER MINDEN                                               Common Shares                   44    Common
ADDRESS AVAILABLE UPON REQUEST

CARL BROOKS                                                         Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CARL CHIDESTER II                                                   Common Shares                  108    Common
ADDRESS AVAILABLE UPON REQUEST

CARL MILLER                                                         Common Shares                  937    Common
ADDRESS AVAILABLE UPON REQUEST

CARL RALPH JENSEN                                                   Common Shares                  126    Common
ADDRESS AVAILABLE UPON REQUEST

CARL SPANOGHE                                                       Common Shares                  360    Common
ADDRESS AVAILABLE UPON REQUEST

CARLA PRUGUE                                                        Common Shares                  252    Common
ADDRESS AVAILABLE UPON REQUEST

CARLO JOHNSON                                                       Common Shares                  265    Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS ALBERTO VILLARREAL MENDEZ                                    Common Shares                 1,194   Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS ARISTOTELES SALAS-PORRAS                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS CERVANTES                                                    Common Shares                  151    Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS CORTES                                                       Common Shares                  884    Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS ESTRADA                                                      Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS JAVIER GONZALEZ                                              Common Shares                   97    Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS JOHNSON                                                      Common Shares                  265    Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS LUCERO                                                       Common Shares                  132    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CARLOS MUNOZ                                                        Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS NORBERTO LOPEZ                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS SALVADOR                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS SAVA                                                         Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS SIQUEIRA                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS TORRES                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARLOS XAVIER VILLARREAL                                            Common Shares                  81   Common
ADDRESS AVAILABLE UPON REQUEST

CARMELLA BEARSE                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CARMELLA Z FOSTER                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARMEN DANIELS                                                      Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CARMEN L JOHNSON                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARMEN OLVERA                                                       Common Shares                  79   Common
ADDRESS AVAILABLE UPON REQUEST

CARMON ENTERPRISES LLC                                              Common Shares                 100   Common
3406 WINONA AVE
BURBANK, CA 91504

CAROL A ALLEN                                                       Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

CAROL ANEKSTEIN COOPER                                              Common Shares                 151   Common
ADDRESS AVAILABLE UPON REQUEST

CAROL ANNE WOLOWIC                                                  Common Shares                 180   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of          Kind of
business of holder                                                                       Securities         Interest

CAROL BERRINGER                                                     Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

CAROL BRAULT                                                        Common Shares             89,831      Common
ADDRESS AVAILABLE UPON REQUEST

CAROL MARIE PURDY                                                   Common Shares                   75    Common
ADDRESS AVAILABLE UPON REQUEST

CAROL MUNGAS                                                        Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CAROL SMITH                                                         Common Shares                  360    Common
ADDRESS AVAILABLE UPON REQUEST

CAROL SMOKE                                                         Common Shares                   26    Common
ADDRESS AVAILABLE UPON REQUEST

CAROL SUZANNE ISHAK                                                 Common Shares                  125    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLE ANNE PETIET                                                  Common Shares                  126    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLE R JOHNSON                                                    Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE BATRONY MARTIN                                             Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE CZIRR                                                      Common Shares                 4,500   Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE FLASPOHLER                                                 Common Shares                  108    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE KEELEY                                                     Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE MAHER                                                      Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE MATE                                                       Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE ROBERTSON                                                  Common Shares                   88    Common
ADDRESS AVAILABLE UPON REQUEST

CAROLINE WNUK                                                       Common Shares                   71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CAROLYN ANN BACCARO                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CAROLYN DAWSON                                                      Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CAROLYN ENSLER                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CAROLYN H AVERY                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CAROLYN I KERR                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CAROLYN S COTTEN                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARRI DANSBY                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARRIE JONES NEBEKER                                                Common Shares                 179   Common
ADDRESS AVAILABLE UPON REQUEST

CARRIE L KAIRALLA                                                   Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

CARRIE LYNN BADGER                                                  Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CARTER PRICE                                                        Common Shares                 442   Common
ADDRESS AVAILABLE UPON REQUEST

CARTER ROMAN                                                        Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

CARY LIU                                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CARY WIENER                                                         Common Shares                  89   Common
ADDRESS AVAILABLE UPON REQUEST

CARYL J GUTH REVOCABLE TRUST                                        Common Shares                 365   Common
ADDRESS AVAILABLE UPON REQUEST

CARYN ROGERS                                                        Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CASEY CORBETT                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CASEY DRENGLER                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CASEY ELLIOTT                                                       Common Shares                 142   Common
ADDRESS AVAILABLE UPON REQUEST

CASEY WINCHESTER RHEA                                               Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

CASSANDRA NORRIE MCGOWON                                            Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

CASSIE CAROLAN                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CATHARINA J BROADFOOT                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE BLOXSOM                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE DAVIS                                                     Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE F DUFF                                                    Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE LOUISE TOMEZSKO                                           Common Shares                 884   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE M RHOADES                                                 Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE O HARA                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE ROMMELFANGER                                              Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CATHERINE TRAN FELLOWS                                              Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CATHLEEN M BROWN                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CATHY NEILL                                                         Common Shares                  90   Common
ADDRESS AVAILABLE UPON REQUEST

CATLYNN CABRAL                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CATRESE HILL KILGORE                                                Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CAYTLYN COLE CHILELLI                                               Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CD HOLDING AS                                                       Common Shares                 216   Common
ADDRESS AVAILABLE UPON REQUEST

CECILIA OSORIO RANGEL                                               Common Shares                 215   Common
ADDRESS AVAILABLE UPON REQUEST

CECILIA WILLIAMS                                                    Common Shares                 390   Common
ADDRESS AVAILABLE UPON REQUEST

CELESTE ANNABELLE HOLLAND                                           Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CELIA NIGHTINGALE                                                   Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CELIA QUILLIAN                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CELINE RUTH BOSSART                                                 Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CENTRAL VALLEY ADMINISTRATORS INC                                   Common Shares             96,616    Common
3115 OCEAN FRONT WALK SUITE 301
MARINA DEL REY, CA 90292

CEPHAS SUND                                                         Common Shares                 315   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD ANDREW EBERLY                                                  Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD CURTIN                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD D STEINHAUER                                                   Common Shares                 262   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD EIRING                                                         Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD HARP                                                           Common Shares                 884   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHAD MAYER                                                          Common Shares                 504   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD NOBLE-TABIOLO                                                  Common Shares                 906   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD ROBERT BLASS                                                   Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD THYZEL                                                         Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

CHAD WALKER                                                         Common Shares                 221   Common
ADDRESS AVAILABLE UPON REQUEST

CHADWICK KUHN                                                       Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHAITANYA NARAYAN                                                   Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

CHAITANYA SAGIRAJU                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHANDANDEEP SODHI                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHANDLER BURTON                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHANDRA SEKHARA RAJAGIRI                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHANDRAN BAKER                                                      Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

CHANDRASEKAR JAGADEESWARAIAH                                        Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHANDRASHEKAR PATHAPATI                                             Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHANIN COLES                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHANTAL JACOB                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHANTE LAWRENCE                                                     Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHARISSA LAWRENCE                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLA FRANCINE GRUBER                                              Common Shares                  72   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES A WILSON                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES ANTHONY LELM                                                Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES AYODELE SMITH                                               Common Shares                 221   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES BARTON LOVEKIN                                              Common Shares                 221   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES BRYAN SADLEIR                                               Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES CZUPRYNSKI                                                  Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES D HERNANDEZ                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES DAUGHERTY                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES ECK                                                         Common Shares                 264   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES FREEMAN                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES FREEMAN                                                     Common Shares                 436   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES HECTOR WRENCH                                               Common Shares                 250   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES HOLLSTEIN                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES J MERRILL                                                   Common Shares                 251   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES J OLSEN IV                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHARLES L WALDING                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES LOUIS ORWIG                                                 Common Shares                 159   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES LUCQUES                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES MOUNT                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES ORWIG                                                       Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES PHELPS                                                      Common Shares                 137   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES REED                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES S FREEHILL                                                  Common Shares                 180   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES S RAPER                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES SCHWAB & CO., INC. (0164)                                   Common Shares            284,500    Common
ATTN: CHRISTINA YOUNG OR PROXY MGR
2423 EAST LINCOLN DR
PHOENIX, AZ 85016-1215

CHARLES SHERRIT                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES SHIBER                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES SMITH                                                       Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES SMITH                                                       Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES STEWART                                                     Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLES TAO                                                         Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHARLES WILLIAM BRIFFITT                                            Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLOTTE ELOISE STANCIOFF                                          Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLOTTE OUALLINE                                                  Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CHARLTON CEVIN MILLER                                               Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

CHARMAINE CAMPBELL                                                  Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

CHASE CHARLES HAY                                                   Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

CHASE HAMILTON PARKER                                               Common Shares                  90   Common
ADDRESS AVAILABLE UPON REQUEST

CHASELLE MIRANDA                                                    Common Shares                  97   Common
ADDRESS AVAILABLE UPON REQUEST

CHATRI JHUNJHNUWALA                                                 Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHAZ GRADY                                                          Common Shares                 141   Common
ADDRESS AVAILABLE UPON REQUEST

CHELSEA ALICIA BARRON                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHELSEA HITCH                                                       Common Shares                  72   Common
ADDRESS AVAILABLE UPON REQUEST

CHELSEA JENKINS                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHELSEA NASH                                                        Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHELSEA WEATHERBY                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHELSIE PETRAS                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHENGPI WU                                                          Common Shares                  44   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHENGWEI YEN                                                        Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHERILYN E DAVIDSONCIBELLI                                          Common Shares                  94   Common
ADDRESS AVAILABLE UPON REQUEST

CHERIN WATANABE                                                     Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

CHERYL LYNN ANGERER                                                 Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

CHERYL MILLER                                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHERYL WU-BRESHEARS                                                 Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHESTER K LAPP                                                      Common Shares                  81   Common
ADDRESS AVAILABLE UPON REQUEST

CHESTER PEREZ                                                       Common Shares                 179   Common
ADDRESS AVAILABLE UPON REQUEST

CHETAN PATEL                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHETARRA JENKINS                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHETHAN REDDY                                                       Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

CHI CHOI                                                            Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

CHI HUI HO                                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHI LUNG CHOI                                                       Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHIRAG DHAR                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHIRAG MITHANI                                                      Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

CHOI CHI LUNG                                                       Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHONG YUNG KENT                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS BUTTERBAUGH                                                   Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS D BUSICK                                                      Common Shares                 142   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS HUXLEY                                                        Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS KEPHART                                                       Common Shares                  44   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS KOSTOPOULOS                                                   Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS NOSSER                                                        Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS REILLY                                                        Common Shares                 219   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS THOMPSON                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRIS W HILLER                                                      Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTEEN SAVINOVICH                                                Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN ARDON                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN BOGUE                                                     Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN FRANCIS MUDD                                              Common Shares                 144   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN JAMES HIESTAND                                            Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN MALDONADO                                                 Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN MILES                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHRISTIAN ROUSE                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN T AMUNDSEN                                                Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIAN WICK                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTIANA WALL                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA COOKSEY                                                   Common Shares                 360   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA FRANCOIS                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA JO CHASE                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA LAVIN                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA LEANN MARTIN                                              Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA M PIRON                                                   Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA RINGWALT                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA SHARP                                                     Common Shares                 188   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINA WOOG                                                      Common Shares                 269   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE C MOJAZZA                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE COOPER                                                    Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE DOIG                                                      Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE ECKHEART                                                  Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHRISTINE HOWLETT                                                   Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE L MITCHELL                                                Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE LONGE                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE LYNN CARLSON                                              Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE LYNN DESSANTI                                             Common Shares                  17   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE M PADDOCK                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE PRICE                                                     Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE ROTHE AULT                                                Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE SPINKS                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE STRUB                                                     Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE TAYABA                                                    Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE Y CHEUNG                                                  Common Shares                 151   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTINE YEAGER                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTL BONAPARTE                                                   Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER A PULITO                                                Common Shares                 159   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER ALEXANDER NEIKIRK                                       Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER ALLEN                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHRISTOPHER BARNETT                                                 Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER BASSETT-BOUCHARD                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER BLAU                                                    Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER BUTTS                                                   Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER CASAZZA                                                 Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER DAVID SHORT                                             Common Shares                 157   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER DECKER                                                  Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER DOUGHERTY                                               Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER DOVER                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER DOWSETT                                                 Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER E MAHONEY                                               Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER EDWARD MONTELEONE                                       Common Shares                 187   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER GEDRICH                                                 Common Shares                 144   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER GOFF                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER GREENWOOD                                               Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER HADLAND                                                 Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER HARCOURT                                                Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHRISTOPHER HEY                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER HUGHES                                                  Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER J SPELTZ                                                Common Shares                 368   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER J SPITALETTO                                            Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER JACKMAN                                                 Common Shares                 124   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER JAMES DOWSETT                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER JOHN GREGORY                                            Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER L LE                                                    Common Shares                 144   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER LEE                                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER LIRA                                                    Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER LOPOPOLO                                                Common Shares                 171   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER LORENZO BRYANT                                          Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER MARABOLI                                                Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER MICHAEL DEVINE                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER MICHAEL GRIFFIN                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER MOYER                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER MUTH                                                    Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CHRISTOPHER PALMISANO                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER RIVERA                                                  Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER ROBERT FLEMER                                           Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER ROBERT JAMES MOINET                                     Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER SCOTT ANDERSON                                          Common Shares                 334   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER STOVER                                                  Common Shares                 884   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER THON                                                    Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER TODD SMITH                                              Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER TOLFORD                                                 Common Shares                 884   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER YENTER                                                  Common Shares                 252   Common
ADDRESS AVAILABLE UPON REQUEST

CHRISTOPHER YOUNG                                                   Common Shares                 251   Common
ADDRESS AVAILABLE UPON REQUEST

CHRYSTAL ANDERSON                                                   Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CHUAN KHO                                                           Common Shares                 378   Common
ADDRESS AVAILABLE UPON REQUEST

CHUCK WYTIAZ                                                        Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

CHUNHEE YUN                                                         Common Shares                 150   Common
ADDRESS AVAILABLE UPON REQUEST

CHUNLAN SHEN                                                        Common Shares                 266   Common
ADDRESS AVAILABLE UPON REQUEST

CHUTEI & ACCAMMA VARKEY                                             Common Shares                 221   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CIERRA LUCILLE JACKSON                                              Common Shares                 100   Common
ADDRESS AVAILABLE UPON REQUEST

CINDY NOSSER                                                        Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST

CINDY SMITH                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CINDY TAN                                                           Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CITADEL SECS LLC (8430)                                             Common Shares                   2   Common
ATTN: KEVIN NEWSTEAD OR PROXY MGR
131 SOUTH DEARBORN ST
35TH FL
CHICAGO, IL 60603

CITIBANK, N.A. (0908)                                               Common Shares             21,556    Common
ATTN: SHERIDA SINANAN OR PROXY DEPT
3801 CITIBANK CTR
B/3RD FL/ZONE 12
TAMPA, FL 33610

CLARICE PEI HSIA HONG                                               Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CLARISSA BUTLER                                                     Common Shares                 180   Common
ADDRESS AVAILABLE UPON REQUEST

CLARISSA PATTERSON                                                  Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CLARK KENT PARKER                                                   Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

CLARK ROBERT GRIFFITH                                               Common Shares                 151   Common
ADDRESS AVAILABLE UPON REQUEST

CLARK WRIGHT                                                        Common Shares                 265   Common
ADDRESS AVAILABLE UPON REQUEST

CLASSIC INVESTMENT TRUST                                            Common Shares                  88   Common
4819 N DEFIANCE ST
TACOMA, WA 98407

CLAUDIA COBB DAVIS                                                  Common Shares                 126   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CLAYTON ANDREWS                                                     Common Shares                 203   Common
ADDRESS AVAILABLE UPON REQUEST

CLAYTON LEE HATFIELD                                                Common Shares                 137   Common
ADDRESS AVAILABLE UPON REQUEST

CLAYTON NORRIS                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CLENTON C WILSON                                                    Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CLIFF CAMPBELL                                                      Common Shares                  72   Common
ADDRESS AVAILABLE UPON REQUEST

CLIFFORD ALEXANDER ABBOTT                                           Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CLIFFORD MOSSON                                                     Common Shares                  93   Common
ADDRESS AVAILABLE UPON REQUEST

CLIFTON ANTHONY LEWIS                                               Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

CLINT BETROS                                                        Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

CLINT COWEN                                                         Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CLINTON FITZGERALD SIKES                                            Common Shares                 175   Common
ADDRESS AVAILABLE UPON REQUEST

CLINTON LENARD REDO                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CL-LJ INVESTMENTS LLC                                               Common Shares                 309   Common
14725 NORTH PEONE PINES DR
MEAD, WA 99021

CLYDE ANTHONY EDWARDS JR                                            Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CLYDE E ANDREW                                                      Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

COBY AKEO                                                           Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                   Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class       Number of        Kind of
business of holder                                                                       Securities       Interest

CODY RYBA                                                           Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

COLAN MCGEEHAN                                                      Common Shares                  81   Common
ADDRESS AVAILABLE UPON REQUEST

COLE KELLY WILSON                                                   Common Shares                 309   Common
ADDRESS AVAILABLE UPON REQUEST

COLE THORNTON                                                       Common Shares                 106   Common
ADDRESS AVAILABLE UPON REQUEST

COLETTE MARIE CROOMS                                                Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

COLETTE Y LEKACHMAN                                                 Common Shares                 176   Common
ADDRESS AVAILABLE UPON REQUEST

COLIN BOHN                                                          Common Shares                 132   Common
ADDRESS AVAILABLE UPON REQUEST

COLIN RILEY MCCOMBS                                                 Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

COLIN STUART LASSITER                                               Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

COLLEEN ALICE DORR                                                  Common Shares                 125   Common
ADDRESS AVAILABLE UPON REQUEST

COLLETTE SANDRA DOUGLAS                                             Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

COLLIN WOOSTER                                                      Common Shares                  75   Common
ADDRESS AVAILABLE UPON REQUEST

CONCEPCION SINGSON                                                  Common Shares                  71   Common
ADDRESS AVAILABLE UPON REQUEST

CONNIE CHEN                                                         Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

CONNIE KEDERAL GRAHAM                                               Common Shares                 502   Common
ADDRESS AVAILABLE UPON REQUEST

CONNIE L REED                                                       Common Shares                  87   Common
ADDRESS AVAILABLE UPON REQUEST

CONNOR AKIRA FALLE                                                  Common Shares                  88   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

CONNOR DAVIS YOCKUS                                                 Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

CONNOR MOONEY                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

CONNOR ONEILL                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

CONNOR SKELLY                                                       Common Shares               412   Common
ADDRESS AVAILABLE UPON REQUEST

CONRAD CHEEKS                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

CONRAD FLOWERS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

CONRAD TARTE                                                        Common Shares               407   Common
ADDRESS AVAILABLE UPON REQUEST

CONSTANCE A MORGAN                                                  Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

CONSTANCE OBRYANT                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

CONSTANTINOS KRASHIAS                                               Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

CONSTRUCTION MANAGEMENT & INSPECTION SERVICES INC                   Common Shares               126   Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

CORBIN LYNN MILLER                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

COREY D FISHER                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

COREY NOELLE MOIST                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

COREY SOLMAN                                                        Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

COREY STEVEN BREGMAN                                                Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

COREY STEVEN BREGMAN                                                Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

CORISSA MILLER                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

CORNELIS JACOBUS MARIA SCHILDER                                     Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

CORRIN ONGSTAD                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

CORWIN J KELTNER                                                    Common Shares               502   Common
ADDRESS AVAILABLE UPON REQUEST

CORY ALAN WALKER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

CORY ARTHUR OWENS                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

CORY HUGHES                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

CORY J ANDERSON                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

CORY LIEBMANN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

CORY VAN LOOZEN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

COUNTRY HAVEN INVESTMENTS LLC                                       Common Shares               179   Common
2206 COUNTRY HAVEN DR
EUGENE, OR 97408

COURTENAY HALL                                                      Common Shares               756   Common
ADDRESS AVAILABLE UPON REQUEST

COURTNEY MITCHELL                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

COURTNEY P CHAPLIN                                                  Common Shares               203   Common
ADDRESS AVAILABLE UPON REQUEST

COURTNEY SIMONETTI                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

COURTNEY STEPHENSON MCFARLANE-KENNEDY                               Common Shares               1,262   Common
ADDRESS AVAILABLE UPON REQUEST

COURTNEY WATTS                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

CPC RESOURCES LLC                                                   Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG A GRONINGER                                                   Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG A MASON                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG BROADHEAD                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG CHATHAM                                                       Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG EASTMAN JOHNSON                                               Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG HYLAND                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG KINSEY                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG LIPPINCOTT                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG MCBRIDE                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG MCLAUGHLIN                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG PALUMBO                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG SCHLEICHER                                                    Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG THOMAS CHINDEMI                                               Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG WERNETTE                                                      Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

CRAIG WILLOW                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

CRAIG WRIGHT                                                        Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

CREATIVE KINGS HOLDINGS LLC                                         Common Shares                75   Common
65 4TH AVENUE APT 1
BROOKLYN, NY 11217

CREDENTIAL SECS INC (5083)                                          Common Shares               400   Common
ATTN: DANIELLE MONTANARI OR PROXY MGR
700 - 1111 W. GEORGIA ST
VANCOUVER, BC V6E 4T6
CANADA

CRESTA C ROBERTSON                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

CRISSANDRA JONES FAISON                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

CRISTINA ABELGAS                                                    Common Shares               271   Common
ADDRESS AVAILABLE UPON REQUEST

CRISTINA I JIMENEZ                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

CRISTINA JIMENEZ                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

CROSSCUT VENTURES 2 L P                                             Common Shares          281,915    Common
3110 MAIN ST
PH SANTA MONICA, CA 90405

CRYSTAL VILKAITIS                                                   Common Shares               640   Common
ADDRESS AVAILABLE UPON REQUEST

CSABA MESZAROS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

CURT EDMUND JABLONOWSKI                                             Common Shares               757   Common
ADDRESS AVAILABLE UPON REQUEST

CURT J FREUND                                                       Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

CURTIS CLARENCE FUSSY                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

CURTIS LANE CALLAWAY                                                Common Shares                107    Common
ADDRESS AVAILABLE UPON REQUEST

CURTY BENJAMIN                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

CW HENDERSON IRREVOCABLE TRUST                                      Common Shares               1,441   Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA CUELLO COOK                                                 Common Shares                228    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA KURIAL                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA L BRAIDFOOT                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA L DOXTATER                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA LAM                                                         Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA M REA                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA MAIGNAN                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA MARCHAND                                                    Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA MARIBEL MEDINA                                              Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA MILLS                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

CYNTHIA SIMMONS                                                     Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

CYRIL DELUCA-VERLEY                                                 Common Shares                216    Common
ADDRESS AVAILABLE UPON REQUEST

D MAX BRUCE                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DAGOBERTO CASTRO                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DAI HYUN LEE                                                        Common Shares               173   Common
ADDRESS AVAILABLE UPON REQUEST

DAISUKE YAMADA                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAISY DANIELLE COLEMAN                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAIWA CAPITAL MKTS AMERICA (0647)                                   Common Shares        1,022,198    Common
ATTN: DAVID BIALER OR PROXY MGR
1 FIN SQ
32 OLD SLIP, 14TH FL
NEW YORK, NY 10005

DALE ACKER                                                          Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DALE BROADUS                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DALE E FALK                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DALE FALK                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DALE MILLER                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DALLAS ADOLPHSEN                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DALLAS TUNG                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DALVA L MOELLENBERG                                                 Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

DAMIAN ANTHONY WHITE                                                Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DAMIAN CARSON                                                       Common Shares               239   Common
ADDRESS AVAILABLE UPON REQUEST

DAMIAO A LOUCAO                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DAMON STEPHENS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DAN BROWN                                                           Common Shares               4,960   Common
ADDRESS AVAILABLE UPON REQUEST

DAN EUGENE ROSELAND                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAN H CONSTABLE                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAN LEAGUE                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANA A GEHMAN                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DANA CRAGIN                                                         Common Shares                433    Common
ADDRESS AVAILABLE UPON REQUEST

DANA HIBBS                                                          Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DANA RODRIGUEZ                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DANA ROME                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANETTE VECCHIO                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANIAL BARRY ASHBAUGH                                               Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL A PAPULA                                                     Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL A RODRIGUEZ                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ADAMS                                                        Common Shares                893    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL AGO ROLLINGS                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL BAUR                                                         Common Shares                 72    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL BAUR                                                         Common Shares                127    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DANIEL BISKUPSKI                                                    Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL BOYER                                                        Common Shares                 97    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL BROADWATER                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL CALLOWAY                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL COLINA                                                       Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL CUA                                                          Common Shares                437    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL DAVID WEST                                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL DEITRICK                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL DIAZ                                                         Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL DORAN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL EARL FRENCH                                                  Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ERIC SHERIDAN                                                Common Shares                312    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ERLANGER                                                     Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ESPIN                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ESPIN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL GALBREATH NICHOLS REVOCABLE TRUST DATED 5/24/2012            Common Shares               5,169   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL GARCIA BRISENO TRUST DATED 5/24/2012                         Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DANIEL GLENN HERSHBERGER                                            Common Shares               450   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL GOLDBECK                                                     Common Shares               140   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL GOLDBECK                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL GRABER                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL GRINEVICH                                                    Common Shares                82   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL H LYNAM                                                      Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL H LYNAM                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL HALL                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL HAMILTON                                                     Common Shares                97   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL HAYES-PATTERSON                                              Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL HOWARD DINGLE                                                Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL J JOWISKI                                                    Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL J LICARI                                                     Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL JOHN COSTELLO                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL JORDAN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL JOSE ARAGON MAY                                              Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL JOSEPH RADER                                                 Common Shares               130   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DANIEL KAUFMAN                                                      Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL L DECARVALHO JR                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL LEHNHARD PA                                                  Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL MAKUROF                                                      Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL MCDONALD                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL MU                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL PATRICK MCLEMORE                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL RADER                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL RICHARD KING                                                 Common Shares                78   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ROBERT SNYDER                                                Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ROBERTS                                                      Common Shares               883   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL RODRIGUEZ GARCIA                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ROMERO                                                       Common Shares               211   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL ROMERO                                                       Common Shares                99   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL S SAUNDERS                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL SAMPSON                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL SAUGH                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DANIEL SECUYA                                                       Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL SELLARS                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL STARK                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL TAO                                                          Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL THOMAS WIEDERKEHR                                            Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL VALENTINE JONES                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL WAGNER                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL WHITE                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DANIEL WIGGINS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELA TRIANA                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE DOUGHERTY                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE HOHOS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE KIEVIT                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE LEE                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE MARIE NAUGLER                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE SIGISMONDO                                                 Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE SUPYK                                                      Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DANIELLE W HAMBLETT                                                 Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

DANIELLE WILLIAMS-RIVERA                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANIIL KRETS                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DANILO ANTONIO SANTOS                                               Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DANNA NGO                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANNA USECHE                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DANNY MARQUEZ                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DANNY MATHEW                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DANTAN WERNECKE                                                     Common Shares               181   Common
ADDRESS AVAILABLE UPON REQUEST

DANY KHALEK                                                         Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DAR MANARANG LLC                                                    Common Shares                44   Common
1585 W TEDMAR AVE
ANAHEIM, CA 92802

DARBY HART                                                          Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

DARBY HART                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DARCY KORHONEN                                                      Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

DARIN HOLT                                                          Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

DARIN MACRAE                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DARIN SCOTT                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DARIO VERGARA                                                       Common Shares                517    Common
ADDRESS AVAILABLE UPON REQUEST

DARIO VERGARA                                                       Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

DARITH NGOY                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DARLA KAY MILLER                                                    Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

DARREL SEAHORN                                                      Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

DARRELL B JOHNSON                                                   Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

DARRELL BROWN                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

DARREN BRUNGARDT                                                    Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

DARREN CHAPPELL                                                     Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

DARREN SMITH                                                        Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

DARREN TETSUO KANENAGA                                              Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

DARREN TSUCHIYA                                                     Common Shares                668    Common
ADDRESS AVAILABLE UPON REQUEST

DARRIE GARTH                                                        Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DARRYL DOCTOR                                                       Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

DARRYL MOLINA                                                       Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

DARRYL WASH                                                         Common Shares               2,211   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DARSHAK PATEL                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DARSHAK PATEL                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DARYL F MCCLENDON                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DASHARA JACKSON                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DATTA SAMBARE                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAVE LEWIS                                                          Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DAVE ZYBOWSKI                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DAVENDER BHARDWAJ                                                   Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID A ELLEY                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID A HAYWARD                                                     Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID A PRITCHETT                                                   Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID A ROSENBAUM                                                   Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID A ROSENBAUM                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID A SHOCKET                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ALAN WAGNER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ANDREW DAHL                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ANDREW DAHL                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DAVID ANTHONY DEROSE                                                Common Shares                900    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ANTHONY DEROSE                                                Common Shares               1,262   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ANTHONY KUTCH                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ANTHONY STEWART                                               Common Shares                631    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID BAKER                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID BELANGER                                                      Common Shares                107    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID BENHAMOU                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID BERANEK                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID BIRSE                                                         Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID BREGIO                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID CHARLES SAURUSAITIS                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID CHECEL                                                        Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID CHRISTOPHER BONES                                             Common Shares                133    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID COX                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID DANNEMILLER                                                   Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID DE WISPELAERE                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID DIANGELO                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DAVID DILLON                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID DOUGLASS HEARNE                                               Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID DYJUR                                                         Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID E BAXLEY                                                      Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID EVANS                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID FRANKLIN REVOCABLE TRUST DATED FEBRUARY 14 2012               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID FURTADO                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID GOODMAN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID GREENHAUS                                                     Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID H ELLIS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID H JONES                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID H STEUER                                                      Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID H WONG                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID HAROLD WARE                                                   Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID HARRISON                                                      Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID HAWBAKER                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID HEROUX                                                        Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

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                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DAVID HEROUX                                                        Common Shares                216    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID J ZEHRING                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID JOHN CLAYTON                                                  Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID JOHN KRUEGER                                                  Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID KOCH                                                          Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID KULAKOFSKY                                                    Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID L PHILLIPS                                                    Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID LAYNE                                                         Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID LEE BOONE JR                                                  Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID LEE DUNNAVANT                                                 Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID LEE JOHNSON                                                   Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID LEE NEWMAN                                                    Common Shares                221    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID LUDWICK                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID LUDWICK                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID M DUFENHORST                                                  Common Shares               2,500   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID M DURHAM                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DAVID M KUSHNER                                                     Common Shares                360    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DAVID M MALONE & BRENNA M MALONE FAMILY TRUST                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MACLENNAN                                                     Common Shares               504   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MACLENNAN                                                     Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MARKERT                                                       Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MARTINELLI                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MCCARRON                                                      Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MEW                                                           Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MILLER                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID MYRES                                                         Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ODELL                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ORTIZ                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID OSBUN                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID OTERO                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID PAUL HOGUE                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID PAUL WAKFER                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID PERRY                                                         Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID PETERS                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DAVID PLATTS                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID QUIJANO                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID R DEVEREAUX                                                   Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID R MOTES                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID RAY JONES                                                     Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ROBERT LUDWIG                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID ROSS HANSEN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID RUKUNDO                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID S WEBER                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SANNA                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SARNOFF                                                       Common Shares               646   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SASSER                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SCHNEIDER ANDERSON                                            Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SCOTT LOGIE                                                   Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SEMON                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SIPPLE                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SMITH                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DAVID STACK                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID STEELE                                                        Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SUBICH                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID SUTER AND PATSY SUTER REVOCABLE TRUST DATED                   Common Shares                88   Common
FEBRUARY 14 2012
ADDRESS AVAILABLE UPON REQUEST

DAVID THORPE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID TOSHIO ARAKAKI                                                Common Shares               214   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID TROVATO                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID TROYA                                                         Common Shares               128   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID VANINGEN                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID WALLIS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID WARD                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID WARD                                                          Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID WEBB                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAVID Z RING III                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DAWID WIACEK                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DAWN LANDRY                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST



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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DAWN MARIE PEACOCK                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DAYTON A LEWIS                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DC ENTERTAINMENT SOLUTIONS LLC                                      Common Shares               176   Common
7765 WILLOW POINT DRIVE
FALLS CHURCH, VA 22042

DCG WORLDWIDE ENTERPRISES LLC                                       Common Shares                88   Common
6112 N MESA STREET 6007
EL PASO, TX 79912

DEAN CARLSON                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DEAN HICKEY                                                         Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

DEAN HOWARD WAGNER                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DEAN ROSE                                                           Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DEAN SIMONTON                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DEAN SWINDLE                                                        Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

DEANNA AMONDSEN                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DEBBIE BEERS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DEBBY S BROWN                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DEBORAH GOLDBERG                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DEBORAH HICKS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DEBORAH J GEYER                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DEBORAH L GRISANTI                                                  Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DEBORAH STANLEY                                                     Common Shares                78   Common
ADDRESS AVAILABLE UPON REQUEST

DEBORAH STANLEY                                                     Common Shares                78   Common
ADDRESS AVAILABLE UPON REQUEST

DEBRA GLENDENMEYER                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DEBRA JOYCE BAUMGARTNER                                             Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

DEBRA KATCHEN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DEBRA KEITZER OUTLAW                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DEBRA STEPHENSON                                                    Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DEE DEVELOPMENTS LLC                                                Common Shares               182   Common
791 BARNABY ST SE
WASHINGTON, DC 20032

DEEPA PARAMESH                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DELAINE MANSFIELD                                                   Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DELBERT L MYERS                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

DELICIA KAMINS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DELICIA KAMINS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DELMA GILL BAKER                                                    Common Shares               225   Common
ADDRESS AVAILABLE UPON REQUEST

DEMETRIUS DOZIER                                                    Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST



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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DEMETRIUS SAJOUS-BRADY                                              Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DEMIAN SCOTT VAUGHS                                                 Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

DENISE DAY                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DENISE DAY                                                          Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DENISE DIANE GOODING                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DENISE GABRIELE                                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS ALAN HARRIS                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS B PHELPS JR REVOCABLE TRUST                                  Common Shares               2,500   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS BATES EMORY                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS BAUM                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS E REINKING                                                   Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS EDWARD STUCKE                                                Common Shares                180    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS FRAZIER                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS HARMS                                                        Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS JAMES FORWARD                                                Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS JAMES FORWARD                                                Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS KAUFFMAN                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DENNIS KAUFFMAN                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS L ECKARD                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS MAREK JR                                                     Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS MICHAEL WELLS                                                Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS MICHAEL WELLS                                                Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS N ORLOV                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS REY PENA                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS RICHARDS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS TATSUO MASAKI                                                Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

DENNIS TSUGIO TANAKA                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DENNYS HERMAN                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DENTON REAL ESTATE COMPANY INC 401K PSP                             Common Shares                93   Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

DENVER PAUL                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DENZIL MENEZES 401K PSP                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK A CYPHER                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK ANDREW RUSSO                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DEREK CHRISTOPHER EUKEL                                             Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK CLAY                                                          Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK CLEMENT                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK DANIEL GRIMM                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK DIAZ                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK DIAZ                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK FREEMAN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK GORTHY                                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK GRITTMANN                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK JAMES SULC                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK M COOKE                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK MICHAEL LASHURE                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK NGUYEN                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK NGUYEN                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK PALMER                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DEREK TEUNISSEN                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DERRICK BRAMBLE                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DERRICK JOHN NYBAKKEN                                               Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DERRICK KINNEY                                                      Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DESHANTEL TIMPERANZA                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DESIREE BRENDA WILLIAMS                                             Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DESIREE S BONNVILLE                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DESJARDINS SECS INC.(5028)                                          Common Shares               308   Common
ATTN: KARLA DIAZ/VALUERS MOBILIARES
2 COMPLEXE DESJARDINS TOUR EST
NIVEAU 62
MONTREAL, QC H5B 1B4
CANADA

DESMOND HENRY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DEV NARSING                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DEVENDRA SHARMA                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DEVIN LAFAYE                                                        Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

DEVINDER K MAKKER                                                   Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

DEVON COETZER                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DEVON FAIELLA                                                       Common Shares               530   Common
ADDRESS AVAILABLE UPON REQUEST

DEVONTE OLIVER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DEWAYNE WATTERS                                                     Common Shares               182   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DGA CAPITAL LLC                                                     Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

DHANESH GADRE                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

DHARMENDER MATHA                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DHONDIBA KAVATEKAR                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA C RUANO                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA DEMOREST                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA JENUL                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA LATONA                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA MENDOZA                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA SOUDER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA SOUDER                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DIANA SUN                                                           Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE DANIELS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE FITZJOHN                                                      Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE GIDDENS                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE GRUENWALD                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE HUGHART                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DIANE HUGHART                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE LARSEN-REDING                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE R GAYTON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE RICE                                                          Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE SCHOENSIEGEL WOLD                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DIANE SCHOENSIEGEL WOLD                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DIANNA HAMM                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DIARRA WATERS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIEM PHAM                                                           Common Shares                97   Common
ADDRESS AVAILABLE UPON REQUEST

DIEM THUC PHAM                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DIEP NGUYEN                                                         Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

DILIP NARAYANAN RAVINDRAN                                           Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DILIP PATEL                                                         Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

DILLI R SUBEDI                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DIMITRIUS KING                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DINESH KUMAR DHANASEKARAN                                           Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DINESH RAO PEJAVER                                                  Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DIONNE LEWIS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DIPEN VARDHE                                                        Common Shares               488   Common
ADDRESS AVAILABLE UPON REQUEST

DIRK PRIEUR DU PLESSIS                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DIRK V TULLY                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DIVINE BEST                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DIVYA SHROFF                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DIVYA SINGH                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DIYAL DEONARAIN                                                     Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DOAN NGO                                                            Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DOMENICO FIGLIOLIA                                                  Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

DOMINICK DIBENEDETTO                                                Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DOMINICK SIGNORILE                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DOMINIQUE D XI                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DOMINIQUE EHRL                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DON HUDZIETZ                                                        Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

DON RESSLER                                                         Common Shares           11,404    Common
ADDRESS AVAILABLE UPON REQUEST

DON THOMAS DEERE                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DON W FRASER TRUST DATED APRIL 14 2020                              Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

DON YOO                                                             Common Shares               141   Common
ADDRESS AVAILABLE UPON REQUEST

DONAL MCINTYRE APRIL 14 2020                                        Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD A DESALVO                                                    Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD BAHIZI                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD BAHIZI                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD BERNARD                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD BIRCH                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD BLAKE HARRIS                                                 Common Shares               218   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD BRIAN GUSTIN                                                 Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD BRIERLEY                                                     Common Shares               123   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD COUGHLAN                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD COUGHLAN                                                     Common Shares               335   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD E DRAKE JR                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD E THOMAS                                                     Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD FRANKLIN                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DONALD L NIEMEIER                                                   Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DONALD LONG                                                         Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD LOREN ROSETH                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD MCGRATH                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD MOEN                                                         Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD MUELLER                                                      Common Shares                127    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD N KNUDSEN                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD OLSON                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD RASCENTO                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD RITTENHOUSE                                                  Common Shares                 90    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD RITTENHOUSE                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD SCHLUETER                                                    Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD STEPHEN MATHERS                                              Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DONALD VINCENT STITZ                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DONEL DSOUZA                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

DONGHOON YEUM                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DONGSOO KIM                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

DONNA CALLEJON                                                      Common Shares               1,768   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DONNA CATHLEEN SHOMEN                                               Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DONNA JEAN DIXON                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DONNA L KELLER                                                      Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

DONNA S VINCE                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DONNA SROUJI                                                        Common Shares               217   Common
ADDRESS AVAILABLE UPON REQUEST

DONOVAN EVANS                                                       Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DONOVAN HAYES                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DONOVAN RYCKIS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DORIA THOMAS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DORIA THOMAS                                                        Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

DOROTHY A GUNIA                                                     Common Shares               608   Common
ADDRESS AVAILABLE UPON REQUEST

DOROTHY ANN HANCOCK                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DOROTHY ANNE GUNIA                                                  Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DOROTHY DABROWSKA                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DOROTHY E OGE NICHOLS                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DOROTHY HRBACEK                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DOROTHY K WILLIAMS                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DOUGLAS CATTIE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS CLENDANIEL                                                  Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS CUTLER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS DOEDENS                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS HAMLIN                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS HAUCK                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS HICKEY                                                      Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS HIDEKI RYOJI                                                Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS JESSUP                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS KAI SUGIMOTO                                                Common Shares               504   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS KUSHAN                                                      Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS LEWIS                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS LEWIS                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS MOECKEL                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS MOYER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS SIMON HAUNSPERGER                                           Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

DOUGLAS WILSON                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

DOUGLAS ZMOLEK                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DR LYNETTE LIVESAY                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DRAMEL FRAZIER                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DREW MARSH                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DROR MAIER                                                          Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

DUANE A SHEMKA                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DUANE A SHEMKA                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

DULANY FOSTER IV                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

DULIP SHERMAN AQUINAS VENTURI                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DUSHYANT PATEL                                                      Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

DUSTAN NEYLAND                                                      Common Shares               274   Common
ADDRESS AVAILABLE UPON REQUEST

DWAYNE E PERRY JR                                                   Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

DWAYNE R JACKSON                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

DWAYNE R JACKSON                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

DWITE SHEHAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

DYLAN HIGGINBOTHAM                                                  Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

DYLAN MOLINELLI                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

DYLAN ROBERT MONTGOMERY                                             Common Shares                 44    Common
ADDRESS AVAILABLE UPON REQUEST

DYLAN ROSS ALLEN                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

DYLARA J COLE                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

DYLLAN BROWN-BRAMBLE                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

E AND A CHANG FAMILY TRUST DATED 02/08/2019                         Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

E&C EQUITIES LLC DATED 02/08/2019                                   Common Shares                360    Common
13501 RANCH ROAD 12 STE 103
WIMBERLEY, TX 78676

EARL SHAFFER                                                        Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

EARL SHAFFER                                                        Common Shares               1,829   Common
ADDRESS AVAILABLE UPON REQUEST

EARL WAYNE SONDREAL                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

EBONI LUNSFORD CALBOW                                               Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

EBONY FOSTER                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

EBONY WYATT                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ECCO INDUSTRIES LLC                                                 Common Shares                 71    Common
1620 CENTRAL AVE STE 202
CHEYENNE, WY 82001

ECR TRADING SOLUTIONS LLC                                           Common Shares                252    Common
309 SURFACE DR
TAZEWELL, VA 24651

ECR TRADING SOLUTIONS LLC                                           Common Shares                252    Common
309 SURFACE DR
TAZEWELL, VA 24651


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ED WILLIAMSON                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

EDGAR ALLEN PITTS                                                   Common Shares                78   Common
ADDRESS AVAILABLE UPON REQUEST

EDGAR EDUARDO CASTANEDA VEIRA                                       Common Shares               190   Common
ADDRESS AVAILABLE UPON REQUEST

EDGAR H LAWTON III                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

EDGAR RENEE PADILLA                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

EDGARD GERENA                                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

EDGARD GERENA                                                       Common Shares               163   Common
ADDRESS AVAILABLE UPON REQUEST

EDITH M VILLAMIL                                                    Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

EDMUNDO VALENTE                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

EDUARDO CARRANZA GUTIERREZ                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD A DALLY                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD A HARTMANN                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD A LOGAN                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD B BEARCE JR                                                  Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD C MARQUIS                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD F SCHWAB                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD GARDULA                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

EDWARD GERG                                                         Common Shares               280   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD GERG                                                         Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD GIRON                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD GUBAR                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD HAYES                                                        Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD JOHN KOBIALKA                                                Common Shares               133   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD JONES (0057)                                                 Common Shares           10,210    Common
ATTN: DEREK ADAMS OR PROXY DEPT
CORPORATE ACTIONS & DISTRIBUTION
12555 MANCHESTER RD
ST. LOUIS, MO 63131

EDWARD KUHRT JR                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD MUWONGE                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD NOVAK                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD REALE                                                        Common Shares               182   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD RICE                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD TERRELL                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD TOMASEK                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD WHEELING SR                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

EDWARD YEE                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

EDWIN R WILLIAMSON JR                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

EEVA MARJUKKA MIINALA CURL                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EFROSINI KATEHIS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EIGIL HANNESTAD                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ELAD DANIEL                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ELAINE MCCARROLL                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ELEANA JOHNSON                                                      Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

ELEANOR SALUMBRE                                                    Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

ELEN ZEPEDA                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELENA NIKOLAYEVNA MEADOWCROFT                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELEVATE MY BRAND INC                                                Common Shares                75   Common
4130 CAHUENGA BLVD 115
TOLUCA LAKE, CA 91602

ELI ALTARAS                                                         Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ELIAS CHAIJ                                                         Common Shares               441   Common
ADDRESS AVAILABLE UPON REQUEST

ELIAS SALVADOR JIMENEZ                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIE AHOVI                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIF AYVALI                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ELIJAH HARMON                                                       Common Shares               268   Common
ADDRESS AVAILABLE UPON REQUEST

ELIJAH RITTENHOUSE                                                  Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

ELIJAH WILLIAMS                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ELISA RENEE KUHAR                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ELISE KUEI-FUNG CHOU                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

ELISHA FRENCH                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ELISHA MAREE DONNISON                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ELISHA RAEKER-JORDAN                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH ALISON HOLDEN                                             Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH BINA RITTER                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH CHRISTINA KELLOGG                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH COLLETTI                                                  Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH COPPEDGE                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH FARDOUN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH FLOOD                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH KILCOMMONS                                                Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH KILPATRICK                                                Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ELIZABETH LEGLER                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH LUCHETTI                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH LUCHETTI                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH MCDEVITT                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH MCDEVITT                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH MCKAY                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH MCKAY                                                     Common Shares               648   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH POPWELL                                                   Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH ROSSON                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH SCHNOBRICH                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH SCHNOBRICH                                                Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH VAN HOEK                                                  Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH VAN HOEK                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH WINKELMANN                                                Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

ELIZABETH ZWYNENBURG                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ELLA MCMAHAN                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ELLEN M COON                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

ELLEN YAN YAN CHEN YU                                               Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

ELLIOT REES-DAVIES                                                  Common Shares                217    Common
ADDRESS AVAILABLE UPON REQUEST

ELLIOTT CARSTENS ROBERTS JR                                         Common Shares                312    Common
ADDRESS AVAILABLE UPON REQUEST

ELLIOTT HOLT                                                        Common Shares               1,802   Common
ADDRESS AVAILABLE UPON REQUEST

ELMAR SANDYCK                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ELMIRA GEURKOV                                                      Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

ELORA JORGENSON                                                     Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

ELSIE A MARCUS                                                      Common Shares                631    Common
ADDRESS AVAILABLE UPON REQUEST

ELTON TANG                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY ANN ORGANOWSKI                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY BREUNIG                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY GARBER                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY GRIDER                                                        Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY J FRENCH                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY KRISTINE FRIEND-KANTER                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY MCCORMICK                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMILY SEIFARTH                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

EMILY STEVENSON                                                     Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

EMMA FALSEY                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

EMMA FALSEY                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMMA MARIE STIER                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

EMMA OWENS                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMMANUEL MBOHO                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

EMMANUEL THOMAS                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMMANUEL U MBOHO                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

EMPIRE VENTURES GROUP INC                                           Common Shares                442    Common
1100 S MIAMI AVE 1901
MIAMI, FL 33130

ENA JONES                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ENDER BAYKAL                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ENGELS NNAMDI OBI                                                   Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

ENRICO YABUT                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ENTERPRISE 1942 LLC                                                 Common Shares                 88    Common
1691 MICHIGAN AVENUE SUITE 415
MIAMI BEACH, FL 33139

EPHRAIM SYDNEY                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

EQUITY TRUST COMPANY CUSTODIAN FBO CATHERINE GRABER IRA             Common Shares               2,210   Common
1 EQUITY WAY
WESTLAKE, OH 44145
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

EQUITY TRUST COMPANY CUSTODIAN FBO LESLIE P SHANKMAN                Common Shares                187    Common
ROTH IRA
1 EQUITY WAY
WESTLAKE, OH 44145

EQUITY TRUST COMPANY CUSTODIAN FBO: CHRISTOPHER E LACKEY Common Shares                           187    Common
200386840 IRA
1 EQUITY WAY
WESTLAKE, OH 44145

EQUITY TRUST COMPANY CUSTODIAN SDIRA FBO CORNELIA CORNILS Common Shares                           75    Common
1 EQUITY WAY
WESTLAKE, OH 44145

ERIC & LAURA LAMISON FAMILY TRUST                                   Common Shares               3,605   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC ADAMS                                                          Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC ALAN BURKGREN                                                  Common Shares                179    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC ANDERSON                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC BRUSTAD                                                        Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC BUKOVEC                                                        Common Shares                156    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC CAMERON                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC CARLSON                                                        Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC CHARLES SITCHERAN                                              Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC CHOE                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC CHRISTIAN JOHNSON                                              Common Shares                887    Common
ADDRESS AVAILABLE UPON REQUEST

ERIC DANIEL BERGMAN                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ERIC DAUGHERTY                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC DAVID JOHNSON                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC DE LARMINAT                                                    Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC DER SARKISIAN                                                  Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC DER SARKISIAN                                                  Common Shares               567   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC DOTY                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC FAUST                                                          Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC FLYNN                                                          Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC GELDMAKER                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC GOEDECKE                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC HAIGLER HELSABECK                                              Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC IRELAND                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC JAMES HUYNH                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC JAMES HUYNH                                                    Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC JANUAR                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC JEFFREY AGAR                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC JOHNSON                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ERIC JOHNSON                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC JUSTIN SWARTZ                                                  Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC KNIERIM                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC LAM                                                            Common Shares               161   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC LOOKHOFF                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC MAIER                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC MAZZIE                                                         Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC MCINTYRE                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC MELANCON                                                       Common Shares                85   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC MOYER                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC NEIL CYPERT                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC NOELDECHEN                                                     Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC PAUL BENSON                                                    Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC R FORINGTON                                                    Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC ROGERS                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC SITCHERAN                                                      Common Shares               803   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC SO                                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ERIC SUH                                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC TURNER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC WILLIAM TRYGSTAD                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC ZERRAHN                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC ZHININ                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIC ZIEGLER                                                        Common Shares               111   Common
ADDRESS AVAILABLE UPON REQUEST

ERICA BURGER                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERICA D SMITH                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

ERICA DOX MARTINEZ                                                  Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

ERICA DOX MARTINEZ                                                  Common Shares               303   Common
ADDRESS AVAILABLE UPON REQUEST

ERICA WILSON                                                        Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

ERICK GABRIEL SUAREZ NUNEZ                                          Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ERICK POUND                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERIK BERTELSEN                                                      Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

ERIK DUNLAP                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIK GONZALEZ                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIK REHDER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ERIK REY GONZALEZ                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIK SAVAGE                                                         Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

ERIK TALVOLA                                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

ERIK TALVOLA                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERIKA BALDERAS PEREZ                                                Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

ERIKA DICKERSON                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIKA WIJAYA TAN                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN ELIZABETH FINNEGAN                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN FUKUSHIMA                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN GREEN                                                          Common Shares          125,000    Common
ADDRESS AVAILABLE UPON REQUEST

ERIN GRIFFIN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN HEFFRON                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN JANEE CALDWELL                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN KENNEDY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN MOODY                                                          Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN PAGE JOHANNES                                                  Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

ERIN PETREE                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ERIN PETREE                                                         Common Shares               182   Common
ADDRESS AVAILABLE UPON REQUEST

ERLE FREEMAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERLINDA ORTIVEZ                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ERNEST JOHN BARBILLION                                              Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ERNESTO DURAN                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERNESTO RODRIGUEZ                                                   Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

ERNIE BOLING                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ERNIE PAUL BAILEY                                                   Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

ERROL HALL                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ESGUERRA FAMILY TRUST                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ESMERALDO M TALASTAS                                                Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

ESSENCE FINANCIALS LTD                                              Common Shares               360   Common
82 PANATELLA HILL NW
CALGARY, AB T3K 0B6
CANADA

ESTEBAN BENITO OLIVIERI                                             Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ESTEBAN BENITO OLIVIERI                                             Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

ESTHER LEE                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ESTHER OGBUOKIRI                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ETHAN EVANS                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ETHAN JONES                                                         Common Shares                98   Common
ADDRESS AVAILABLE UPON REQUEST

ETHAN WHEELER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ETHAN ZALTA                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENE CLEVELAND HOLLOWAY III                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENE KALENKOVICH                                                  Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENE PERTICONE                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENE PERTICONE                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENE SUEI                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENE THEODORE QUAIL                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENIA BLACKSTONE                                                  Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

EUGENIO WILLIAM TELFER                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

EVAN ARTHUR BERLIN                                                  Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

EVAN FEATHERSTONE                                                   Common Shares                85   Common
ADDRESS AVAILABLE UPON REQUEST

EVAN LITTMAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EVAN SPENCE                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

EVELYN TERAN                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

EVELYN VALME                                                        Common Shares               110   Common
ADDRESS AVAILABLE UPON REQUEST

EZEKIEL SUMNER SANSING                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

EZRA ERNEST                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FABIAN PROPPER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FABIO HIDEAKI MATSUMOTO                                             Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

FABIO JAIME                                                         Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

FABIOLA CHARLES                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

FADI GHALY                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

FADZAI NHAMBURO                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

FAITH HUNT                                                          Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

FARZAD ZAMANI                                                       Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

FATIAH TOURAY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FATMIR MULIQI                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

FAUZIA HASSAN                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

FEDERICK LEDESMA                                                    Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

FELICITAS PIETRULLA                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

FELIPE ZETTER MARTINEZ                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

FERNANDO FERNANDEZ CABA                                             Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

FERNANDO GONGORA                                                    Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

FIDELITY MANAGEMENT TRUST CO CUST FBO JAMES KIELY IRA               Common Shares               2,210   Common
5600 GOLDEN BEAR DR
OVERLAND PARK, KS 66223

FIFTH THIRD BANK THE (2116)                                         Common Shares               1,505   Common
ATTN: CARRIE POTTER OR PROXY DEPT
5001 KINGSLEY DR
MAIL DROP 1M0B2D
CINCINNATI, OH 45227

FIGJAM 401K TRUST                                                   Common Shares                378    Common
1165 TERRAPIN RIDGE
MESQUITE, NV 89034

FILIBERTO NOLASCO                                                   Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

FILIPE PEERALLY                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

FILIPE PEERALLY                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

FINNIE FAMILY TRUST                                                 Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

FIONA BRESLIN                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

FLAVIO PINHEIRO                                                     Common Shares                 81    Common
ADDRESS AVAILABLE UPON REQUEST

FLORENCE LEA COMBS                                                  Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

FORREST MICHAEL HOBBS                                               Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

FRAN GURSKY                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

FRANCES JEAN SOLES                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

FRANCESCA GRAZIER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCHON MCINTYRE                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCINEGLIDE ADELEKE                                               Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCIS CAMPANA                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCIS DYBUNCIO                                                    Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCIS J LUCANO                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCIS LIU                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCIS XAVER SCHMITT                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCISCO ACOSTA ROA                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCISCO AGREST                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCISCO DUARTE                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCISCO MARIA MALAFAYA CABRAL                                     Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCISCO SOCORRO LEITAO                                            Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCISCUS REZA PAUL ADAM                                           Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

FRANCOIS JEAN BLANC                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FRANK - LIN                                                         Common Shares               275   Common
ADDRESS AVAILABLE UPON REQUEST

FRANK BURNS                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

FRANK CHIAPPETTA III                                                Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK DAJKA                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK DILLENBECK                                                    Common Shares                227    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK ISADORE MARCIANTE                                             Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK JAEN                                                          Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK JAEN                                                          Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK LITTLE                                                        Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK MICHAEL SPARACINO                                             Common Shares                106    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK OFORI AKWA                                                    Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK PRIEFLER                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK R COULTER                                                     Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK R HINKLE                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

FRANK SCHMIDT                                                       Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

FRANKLIN D WARREN II                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

FRAZIER INVESTMENTS LLC                                             Common Shares               2,163   Common
8856 GRAHAM POINT LANE
DENVER, NC 28037

FRED BUCHHOLZ                                                       Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

FRED FARDONE                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

FRED KARPOFF                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

FRED POWER                                                          Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

FREDDIE ULAN                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERIC CHARLES KLASKE                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERIC CORWIN                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERICK HENRY SAMMONS JR                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERICK JAMES LEAVITT                                             Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERICK MONTESI                                                   Common Shares               162   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERICK MONTESI                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERICK ODENBACH                                                  Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

FREDERICK SABETTA                                                   Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

FREDRIK BROMS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FRIEDRICH OHMENHAUSER                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

FRITZ DUGGAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FUMI SUEYOSHI                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

FURMAN G WALL JR                                                    Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

FUTU CLEARING INC. (4272)                                           Common Shares               3,761   Common
ATTN: COLETTE REX OR PROXY DEPT
12750 MERIT DR STE 475
DALLAS, TX 75251

G ANN LAUDER                                                        Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL ALFONSO CASTELLANOS VALDEZ                                  Common Shares                 97    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL AND MALINI CUNJE                                            Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL ANDRADE KAISER                                              Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL ARELLANO TORRES                                             Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL ARELLANO                                                    Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL BODMER                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL CARTER                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL DAWE                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL LEBLANC                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL LEIS                                                        Common Shares                221    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL SANDOVAL                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL SANDOVAL                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIEL ZELTSER                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GABRIELA LOPEZ                                                      Common Shares                885    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GABRIELLE LYNCH                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GAETANA MASSARO                                                     Common Shares               441   Common
ADDRESS AVAILABLE UPON REQUEST

GAIL A GRENZIG                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GAIL MCDIFFETT DOYLE                                                Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GAIR SOLO 401K TRUST                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GAJENDRA SHUKLA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GALE SPENCE                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

GALEN BRICKER                                                       Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

GAMACHCHI PATHIRANA                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GANGADHARA INAGANTI                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GARETH LEIGH NELLIES                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GARRETT JOHN BALTZER                                                Common Shares               282   Common
ADDRESS AVAILABLE UPON REQUEST

GARRETT LYSFORD                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GARRETT MULHOLLAND                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GARRY DUROSIER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GARY BENSON                                                         Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

GARY COMITTO                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GARY DUNHAM                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GARY FLOYD                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GARY J DELLERSON                                                    Common Shares               266   Common
ADDRESS AVAILABLE UPON REQUEST

GARY J HAVRANEK                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GARY JOH                                                            Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GARY L CARTER                                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

GARY LARDY                                                          Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

GARY LEE COLLINS                                                    Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

GARY MICCHELLI                                                      Common Shares                89   Common
ADDRESS AVAILABLE UPON REQUEST

GARY NEMCEK                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GARY ORF                                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GARY ORF                                                            Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

GARY ROSENBERG                                                      Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

GARY SHOVER                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GARY SKIDMORE                                                       Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

GARY SMITH                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GAURAV BHALLA                                                       Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GAURAV DHAGE                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GAURAV GUPTA                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GAUTAM BATRA                                                        Common Shares               127   Common
ADDRESS AVAILABLE UPON REQUEST

GAUTHAM VELCHURU                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GAUTHIER LUC M ROMMELAERE                                           Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GAYLON G SMITH                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GENE ANDRADE SIMEON                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GENE BLOCK                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GENE GROSSMAN                                                       Common Shares               241   Common
ADDRESS AVAILABLE UPON REQUEST

GENE GROSSMAN                                                       Common Shares                97   Common
ADDRESS AVAILABLE UPON REQUEST

GENE RUSSO                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GENETTA SUTTLES                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GENIA LYSAK                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GENSHENG TAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GEO LI                                                              Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

GEOFFREY MCFARLANE                                                  Common Shares          931,818    Common
ADDRESS AVAILABLE UPON REQUEST

GEOFREY GREENLEAF                                                   Common Shares               672   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GEORGE AKINKUOYE                                                    Common Shares               329   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE BRUNSWIG                                                     Common Shares               161   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE CARSWELL                                                     Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE CHESTER SARGEANT                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE DUKE MOSCRIP                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE FARRALL                                                      Common Shares               530   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE GRADY RICHARDSON JR                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE HOMER RYAN JR                                                Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE KERR                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE KONTORINIS                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE KOZONAS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE M KOTCH                                                      Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE MATEER                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE MONAHAN                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE NEBEL                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE OWENS                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE PATRICK HAMATY                                               Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GEORGE RICHARDSON JR                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE SHEHATA                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE STEVENSON                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE T ARAI                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE T SMALL III                                                  Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGE WATSON                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

GEORGIOS SIOUTIS                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD BOMAN                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD FRANCIS GENTRUP                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD J HOOPFER JR                                                 Common Shares               182   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD JAMES KYLE                                                   Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD JOSEPH TOMECHKO                                              Common Shares               441   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD LACUARTA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD MCBURNEY                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD MOREL                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD ROBISON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD ROTHSTEIN III                                                Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GERALD STCHYRBA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD SUTTON                                                       Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

GERALD THOMAS FRENCH                                                Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

GERALDINE HANER-NELMS                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GERALDINE IWANCIW                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERARD A PALLOTTA                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GERARD CANTALUPO                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERARD DERICKS                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GERARD IMHOFF                                                       Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

GERARD JOSEPH KNIGHTRUBINO                                          Common Shares                35   Common
ADDRESS AVAILABLE UPON REQUEST

GERARDO GARAY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERARDO PARDO-CASTELLOTE                                            Common Shares               257   Common
ADDRESS AVAILABLE UPON REQUEST

GERARDO VAQUEIRO                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GERASIM ORBELYAN                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GERHARD DIETER DOELL                                                Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

GERLACH FAMILY REVOCABLE TRUST                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

GERMAINE ANNETTE HOSTON                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

GERMAN & MARTHA GOMEZ                                               Common Shares               6,250   Common
ADDRESS AVAILABLE UPON REQUEST

GERNIE FOSTER                                                       Common Shares                360    Common
ADDRESS AVAILABLE UPON REQUEST

GERRY THOMAS CARDINAL III                                           Common Shares                249    Common
ADDRESS AVAILABLE UPON REQUEST

GERT VAN DER WESTHUIZEN                                             Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GHADA JOSEPH ISSA SAKAAN                                            Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GIACOMO TORSIELLO                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GIANLUIGI SALATIELLO                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GIDEON MALHERBE                                                     Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

GIDEON TICHO                                                        Common Shares                141    Common
ADDRESS AVAILABLE UPON REQUEST

GILBERT JIMENEZ VALVERDE                                            Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

GILBOY IO LLC                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GILES GOODBURN                                                      Common Shares                315    Common
ADDRESS AVAILABLE UPON REQUEST

GINA BERGDORF                                                       Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

GINA RENEE KNOX                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GINAMARIE SIMEONE                                                   Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

GINGER KAY ENGLAND                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GINGER POLLACK                                                      Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

GINO ANTHONY ABBATE III                                             Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GIORA ZEEVY                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GIORA ZEEVY                                                         Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

GIOVANNI MAZZOCCHI PALMIERI                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GIRISH AMIN                                                         Common Shares                133    Common
ADDRESS AVAILABLE UPON REQUEST

GIRISH MALLAPRAGADA                                                 Common Shares                221    Common
ADDRESS AVAILABLE UPON REQUEST

GIUSEPPE SALVATO                                                    Common Shares               1,609   Common
ADDRESS AVAILABLE UPON REQUEST

GLASSON VENTURES LLC                                                Common Shares                 88    Common
2205 S PERRYVILLE RD NUM520
ROCKFORD, IL 61108

GLEN ARNOLD SAVELLE                                                 Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GLEN KUOPUS                                                         Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

GLENDA CAUDILL                                                      Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

GLENDA Y VILLAREAL GARCIA                                           Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN ADAMS                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN ARDEN SISK                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN C FRANK                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN CAMACHO                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

GLENN HAYDU                                                         Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN LEONARD                                                       Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN P MEADE                                                       Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN PAJARITO                                                      Common Shares                 97    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN PEARSON                                                       Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN VARGAS                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN WEIGHT                                                        Common Shares                500    Common
ADDRESS AVAILABLE UPON REQUEST

GLENN WILLIAM DAVIS                                                 Common Shares                158    Common
ADDRESS AVAILABLE UPON REQUEST

GLENROY MOORE                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

GLENWOOD STANCIL JR                                                 Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

GLOBAL PATHFINDER INVESTMENTS LLC                                   Common Shares                315    Common
8908 FOX HOLLOW TRAIL
IRVING, TX 75063

GLORY JAYAGARAN                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GLOVELLE LLOYD PRATT                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GLYNNESSIA SMITH                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GOBLUE VENTURES LLC                                                 Common Shares          158,296      Common
ADDRESS AVAILABLE UPON REQUEST

GOLDMAN SACHS (0005)                                                Common Shares               1,339   Common
ATTN: MEGHAN SULLIVAN OR PROXY DEPT
30 HUDSON ST
JERSEY CITY, NJ 07302
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GOPI MARGAM                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON J FOLSE                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON LUK                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON LUK                                                          Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON MACMILLAN                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON MONTGOMERY                                                   Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON NG                                                           Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON O'BRIEN                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

GORDON SCOTT GERTISER                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GOURAV PATEL                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GOURMET ADVENTURES INC                                              Common Shares                88   Common
716 SUNRISE DR
LYONS, CO 80540

GOVARDHAN MUTHIGI                                                   Common Shares               818   Common
ADDRESS AVAILABLE UPON REQUEST

GRACE AGUIRRE                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GRACE ALMEIDA                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GRACE ANNE ORBAN                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GRACE LEE                                                           Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

GRACIELA PALACIOS                                                   Common Shares                353    Common
ADDRESS AVAILABLE UPON REQUEST

GRAHAM N GILBERT                                                    Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GRANT ANTHONY BROKER                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GRANT C EVANS                                                       Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

GRANT JAMES MCCALLUM                                                Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

GRANT MACDONALD CASEY                                               Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GRANT RICK                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GREG BOWERS                                                         Common Shares                179    Common
ADDRESS AVAILABLE UPON REQUEST

GREG DYBALA                                                         Common Shares                112    Common
ADDRESS AVAILABLE UPON REQUEST

GREGGORY R GARRETT LIVING TRUST DATED 10/17/2007                    Common Shares               4,421   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY ALAN JENKINS                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY BARATOFF                                                    Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY COLLYMORE                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY DEMETRE                                                     Common Shares                157    Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY DUBINSKY                                                    Common Shares                 22    Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY FERGUSON HONSINGER                                          Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY FRYE                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GREGORY GRAVES                                                      Common Shares           10,818    Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY HANNEY                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY J THROPP                                                    Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY J WILMOTH                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY LANE OVERMIER                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY MCDANIEL                                                    Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY MOON                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY MURPHY                                                      Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY PARKER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY PAUL FARAGHER                                               Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY RADKE                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY RISLING                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY RIZOS                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY ROBERTS                                                     Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY S HOLDER                                                    Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY S WILSON                                                    Common Shares               757   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY S WOOD                                                      Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GREGORY SCHULTZ                                                     Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY STEARNS                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY STEPHAN                                                     Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY TAMARIN                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY WESTERLUND                                                  Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

GREGORY WITKOWSKI                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GRETCHEN HEACOCK                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

GRIFFIN GREEN                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

GRZEGORZ MIROSLAW BANACH                                            Common Shares               156   Common
ADDRESS AVAILABLE UPON REQUEST

GUELORD MPAGAZIHE                                                   Common Shares               110   Common
ADDRESS AVAILABLE UPON REQUEST

GUIDO WENNEMER                                                      Common Shares               757   Common
ADDRESS AVAILABLE UPON REQUEST

GUIDO WOLFGANG STIEHLE                                              Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

GUILLERMO QUESADA PAEZ                                              Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

GUNNAR ENELL                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GUOMING XU                                                          Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

GUOXIN WU                                                           Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

GURCHARAN KANWAL                                                    Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

GUSTAVO A LOPERA                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

GUSTAVO DE AZEVEDO SANFRONT                                         Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

GUSTAVO FADHEL                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

GUY GREEN                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GUY STEWARD                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

GUY VANTRESCA                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

GWENDOLYN WEISS                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GWENN CUJDIK                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

GYORGY FLAMM                                                        Common Shares               181   Common
ADDRESS AVAILABLE UPON REQUEST

GYORGY MEZO GADIA                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

H AND M CAPITAL HOLDINGS LLC                                        Common Shares               125   Common
8021 W MESCAL ST
PEORIA, AZ 85345

HA PHAM NGOC                                                        Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

HABEEB ASIRU-BALOGUN                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HABIB U BAHAR                                                       Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

HAE-WON BAE                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HAILEY WILLIAMS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

HAILEY WILLIAMS                                                     Common Shares                99   Common
ADDRESS AVAILABLE UPON REQUEST

HAKON RINGSTAD                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HAL MARK SCHROCK                                                    Common Shares               200   Common
ADDRESS AVAILABLE UPON REQUEST

HALEY RUSSELL                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HALL H WANG                                                         Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

HAMID BOUGHAZI                                                      Common Shares               630   Common
ADDRESS AVAILABLE UPON REQUEST

HAMRICK SOLUTIONS LLC                                               Common Shares               437   Common
713 KINGSWOOD VALLEY DR
MOORE, SC 29369

HAN NGUYEN                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HANA A AVIV                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

HANI GOBRAN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HANNA R BUCHAN                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HANNA VANDERLOOP                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HANNAH E HUNTER                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HANNAH KOPPEL WILLIAMS                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HANNAH NARDI                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HANNAH SIMMONDS                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

HANS PETER STADELMANN                                               Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

HANSJURG PERINO                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HAPDAY GROUP LLC                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HARDEV RANDHAWA                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HARDIK SHAH                                                         Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

HARDIKPRASAD PATEL                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

HARESH PATEL                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HARG INVESTORS 401K TRUST                                           Common Shares               263   Common
ADDRESS AVAILABLE UPON REQUEST

HARI NAGA GARAPATI                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HARIS SAIDI                                                         Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

HARISH G RAO                                                        Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

HARIT PATEL                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HARM JOHANNES WANSCHERS                                             Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD ARLEN                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD BERT HEATH                                                   Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD BISHOP                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD HEARN                                                        Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

HAROLD L BISHOP                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD MERTEN                                                       Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD ONGSIOCO LORENZO                                             Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD RICHARDS                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HAROLD YIM                                                          Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

HARPREET TALWAR                                                     Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

HARRISON HUNTER                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HARRY BAUGHAN                                                       Common Shares                 90    Common
ADDRESS AVAILABLE UPON REQUEST

HARRY J JOHNSON                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

HARSHA KATAKAMSETHY                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HARVEEN AUJLA                                                       Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

HARVEY BOSHART                                                      Common Shares               7,211   Common
ADDRESS AVAILABLE UPON REQUEST

HASHIM BHAROOCHA                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HASSAN ABDULHALEM MAZI                                              Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

HASSAN SHARIFF                                                      Common Shares                 85    Common
ADDRESS AVAILABLE UPON REQUEST

HAYDEN ROSE                                                         Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

HAYLEY KATHERINE BLACKSTOCK                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

HAZAEL REYNOSA                                                      Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

HEATH MARR                                                          Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER BENEDICT                                                    Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER CRUMMER                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER GOFF                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER KELSO                                                       Common Shares               174   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER L MCKAY                                                     Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER LAZEK                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER MORRIS                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER STODDARD                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER STONE                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

HEATHER WHITAKER                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HECTOR CUEVAS RODRIGUEZ                                             Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

HECTOR PACHECO                                                      Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

HEGE THORBJORNSEN STARLING                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HEIDAR ZOHREHEI                                                     Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

HEIDI ANN WOODERSON                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

HEIDI MEYER CURRY BROOKS                                            Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

HEIDI RAMIREZ BROWN                                                 Common Shares               170   Common
ADDRESS AVAILABLE UPON REQUEST

HEIDI STANYA                                                        Common Shares                85   Common
ADDRESS AVAILABLE UPON REQUEST

HEIKO BARAN                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

HELEN M ATHEY                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

HELEN RUAN                                                          Common Shares                45   Common
ADDRESS AVAILABLE UPON REQUEST

HELENA NORD LEE                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

HEMANT JAIN                                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

HEMANTH SIDDULUGARI                                                 Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

HENDRIK DE HOOG                                                     Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

HENDRIK JUERGENS                                                    Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

HENRY A VALDEZ                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HENRY ALLEN MARCUM                                                  Common Shares               247   Common
ADDRESS AVAILABLE UPON REQUEST

HENRY C HIGHT                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HENRY J GONZALEZ                                                    Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

HENRY SUOMINEN                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HERB BUNKE                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

HERBERT MICHAEL IMALINGAT                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HERDIS LIS MCNERNY                                                  Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

HERMAN MANS FAMILY TRUST                                            Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

HERMAN THEODORUS                                                    Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

HERMINIANO MACHACON                                                 Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

HERNAN JUAREZ-GUERRERO                                              Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

HEROLIND DEMA                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

HEROZ LLC                                                           Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HERSCH PATEL                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

HERVE TAKOULO FONKOU                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HIDALGO CONSULTORES INC                                             Common Shares               275   Common
350 S MIAMI AVE APT 3802
MIAMI, FL 33130

HILLAURY PEREZ                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HILLTOP SECS (0279)                                                 Common Shares               312   Common
ATTN: PROXY DEPT
1201 ELM ST
STE 3500
DALLAS, TX 75270

HILO HORIZONS LP                                                    Common Shares               375   Common
5832 ARROWHEAD DRIVE
SAND SPRINGS, OK 74063

HIMANSHU KAPOOR                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

HIPOLITO SOLIS                                                      Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

HIRAM INIGUEZ                                                       Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

HIROSHI TORIUMI                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HIROTAKA SUGIOKA                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HJALMAR DE BOER                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY ALLEY                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY ELIZABETH TYLER                                               Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY ELLEN MANION                                                  Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY FAUST                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY FRIEDSON                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY H WAGNER                                                      Common Shares               983   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY J PORTER                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY JANELLE SHARP                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

HOLLY SMITH                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HONG SWAIN                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HONGSHI XU                                                          Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

HORACIO CARRENO KARP                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

HOSSAIN EHSAN                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HOWARD EGLASH                                                       Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

HOWARD FUTERMAN                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HOWARD KELLY                                                        Common Shares                308    Common
ADDRESS AVAILABLE UPON REQUEST

HOWARD LIEBERMAN                                                    Common Shares                156    Common
ADDRESS AVAILABLE UPON REQUEST

HOWARD NEAL FUTERMAN                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

HOWARD RUBIN                                                        Common Shares               3,041   Common
ADDRESS AVAILABLE UPON REQUEST

HOWARD SPINOWITZ                                                    Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

HRT FIN LLC (0369)                                                  Common Shares               1,634   Common
ATTN: PROXY MGR
32 OLD SLIP
30TH FL
NEW YORK, NY 10005

HSBC BANK USA, NA/CLEARING (8396)                                   Common Shares                 35    Common
ATTN: BARBARA SKELLY OR PROXY MGR
545 WASHINGTON BLVD
10TH FL
JERSEY CITY, NJ 07310

HSING-CHI CHANG                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

HT VENTURES LLC                                                     Common Shares                277    Common
3400 NORTH LAKE SHORE DR 9C
CHICAGO, IL 60657

HUAIJIANG TANG                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

HUEY TODD CORRY JR                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

HUGH P MCLAUGHLIN JR                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

HUGO ARGUETA                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

HUGO ERNESTO MEJIA YANES                                            Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

HUGO MAURICE MANDINE                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

HUGO VONBURG                                                        Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

HUNTER MORRIS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

HUNTER PRITCHARD                                                    Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

HUU-BANG QUANG NGUYEN                                               Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

HUY QUOC VO                                                         Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

HUYEN NGUYEN                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

HV 401K TRUST                                                       Common Shares               625   Common
25626 BRITTANY ROAD
PERRYSBURG, OH 43551

IAN ARMAND GAMMARINO                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

IAN BROWN                                                           Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

IAN CLARKE                                                          Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

IAN CORNELL                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

IAN FLYNN                                                           Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

IAN KIM                                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

IAN LINDSAY                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

IAN PHILPOT                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

IAN W WILLIAMS                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

IBRAHIM ERHAN BILICI                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

IDA STARK                                                           Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

IGNACIO CRISOSTO                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

IGNACIO SPALTRO                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

IGORS LAVRINOVICS                                                   Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

IKECHUKWU CHARLES NWABUOBI                                          Common Shares                32   Common
ADDRESS AVAILABLE UPON REQUEST

ILAN ELKOBI                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

IMTIAZ ISHAHAK                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

INDRANIL SENGUPTA                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

INGRID AYAYDIN                                                      Common Shares                97   Common
ADDRESS AVAILABLE UPON REQUEST

INGRID KATHLEEN MAUDLIN                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

INGRID LYNNEA BROCHARD                                              Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

INGRID SUTHERLAND                                                   Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

INTEGRITY FSED INVESTMENTS LLC                                      Common Shares                441    Common
1000 COCHRAN RD
ARGYLE, TX 76226

INTERACTIVE BROKERS (0534)                                          Common Shares           15,018      Common
ATTN: KARIN MCCARTHY OR PROXY DEPT
2 PICKWICK PLAZA, 2ND FL
GREENWICH, CT 06830

INTERNATIONAL INSTITUTE OF TRADING MASTRY INC                       Common Shares               1,802   Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

INTL FCSTONE FIN, INC. (0750)                                       Common Shares          561,837      Common
ATTN: KEN SIMPSON OR PROXY MGR
2 PERIMETER PARK,
STE 100W
BIRMINGHAM, AL 35209

IOANNIS APOSTOLIDIS F/B/O DARRYL C RANDLE ROTH IRA                  Common Shares                252    Common
4700 DESERT WILLOW DR
PROSPER, TX 75078

IRA CLUB FBO DARRYL C RANDLE ROTH IRA ROTH IRA                      Common Shares                378    Common
67 E MADISON ST STE 1510
CHICAGO, IL 60603

IRATXE MUMFORD                                                      Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

IRENE J GACAD                                                       Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

IRENETT CALDERON                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

IRMA DIJAK                                                          Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

IRVINE ZYSENSKY                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

IRVING GADOURY                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ISAAC HEMSANI                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

ISAAC KLAPHOLZ-BROWN                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ISAAC VAUGHN                                                        Common Shares               5,789   Common
ADDRESS AVAILABLE UPON REQUEST

ISABELLA CHANDRIS                                                   Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

ISABELLE BEEGLE-LEVIN                                               Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

ISABELLE HOUSMANS                                                   Common Shares                 72    Common
ADDRESS AVAILABLE UPON REQUEST

ISHTPREET SINGH                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ISMAEL FLORES TRUJANO                                               Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

IVAN SERGEYEV                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

IVAN V SERGEYEV                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

IVETTE MENDEZ-KELLY                                                 Common Shares                 22    Common
ADDRESS AVAILABLE UPON REQUEST

IVO BRUNI                                                           Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

IVONE DE OLIVEIRA                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

IZAAEK GERRIT CORNELIS WEPPELMAN                                    Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

J F TRICK JR                                                        Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

J MOYER                                                             Common Shares               1,768   Common
ADDRESS AVAILABLE UPON REQUEST

J.P. MORGAN/CLEARING (0352)                                         Common Shares          115,076      Common
ATTN: CORPORATE ACTIONS TEAM
500 STANTON CHRISTIANA RD. NCC5 FL3
NEWARK, DE 19713


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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JACAN HENDRICKSON                                                   Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JACK JENNINGS                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JACK JENNINGS                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JACK LANDIS DARNELL                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACK MORICI                                                         Common Shares               370   Common
ADDRESS AVAILABLE UPON REQUEST

JACKIE SKANES FIGATNER                                              Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

JACKLYNE MARTI                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JACLYN JUSSIF                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB ANDERSON                                                      Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB ARMIJO                                                        Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB DAVID FERRY                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB EGLE                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB FISHER                                                        Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB FISHER                                                        Common Shares               179   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB FOHN                                                          Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB H KANA JR                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB LOYA                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JACOB MOORE                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB MOSHEH BUCKSTEAD                                              Common Shares               875   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB PAUL MOONEY                                                   Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB RUMPF                                                         Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB SHAPIRO                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB SUGGS                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB WHITISH                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JACOB YOUNG SHIN                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUALYN JACKSON                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUALYN JACKSON                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELINE ANN CAPSTICK                                             Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELINE BALASCHAK                                                Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELINE CAPRARA                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELINE CZITROM                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELINE DUPERLY                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELINE HALL                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELINE NICOLE MACHADO                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JACQUELINE PALACIO                                                  Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JACQUELYN KAY                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JACQUES WILLIAMS                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JADA ASHLEY HAWKINS                                                 Common Shares                360    Common
ADDRESS AVAILABLE UPON REQUEST

JADERSON ANTHONY                                                    Common Shares                266    Common
ADDRESS AVAILABLE UPON REQUEST

JAE HENDERSON                                                       Common Shares                246    Common
ADDRESS AVAILABLE UPON REQUEST

JAESU HAN                                                           Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

JAI DOLWANI                                                         Common Shares               2,500   Common
ADDRESS AVAILABLE UPON REQUEST

JAIDEEP RIJHSINGHANI                                                Common Shares                264    Common
ADDRESS AVAILABLE UPON REQUEST

JAIMANIE PERSAD-MAHARAJ                                             Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JAIME BROWN                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JAIME ESPERALBA VENTURA                                             Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

JAIME PETSEL                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAIMESON WENNERSTRUM                                                Common Shares                107    Common
ADDRESS AVAILABLE UPON REQUEST

JAIMOHAN RAMACHANDRAN                                               Common Shares                720    Common
ADDRESS AVAILABLE UPON REQUEST

JAISHANKAR KASINATHAN                                               Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JAISHANKAR KASINATHAN                                               Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JAKE HARRISON SHILD                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JAKE MAYNARD                                                        Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

JAKE SCOTT SZYBOWICZ                                                Common Shares                486    Common
ADDRESS AVAILABLE UPON REQUEST

JAKE WILLIAMS                                                       Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

JAKOB HAAS                                                          Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

JAKOB HAMMOND                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAKOB NOLAN POULIOS                                                 Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

JALIN DIXON                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMELA JONES                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES ALAN COCHRAN                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES ALLAN JANEWAY JR                                              Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES ARPAIA                                                        Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES AUSTIN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES BARTON PHELPS II                                              Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES BERNARD RANDOLPH                                              Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES BLACK                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES BUCKLEY JORDAN                                                Common Shares               8,478   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JAMES BURGIN                                                        Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES BURGIN                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES C MCDONOUGH                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES C PERRY                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES CANTU                                                         Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES CARDOSA                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES CAREY ANDERSON                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES CHIN                                                          Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES CORVO                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES D GATEWOOD                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES D PERKO                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES DANIEL STEVENS                                                Common Shares               529   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES DAVID MILLER                                                  Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES DINN                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES DITTMER                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES DRAKE                                                         Common Shares                26   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES DURNA                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JAMES E BROUGHTON                                                   Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES E SAGE                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES EARL WARREN                                                   Common Shares                92   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES EDWARD ALLEN                                                  Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES EDWARD KESSI                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES EICHER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES EMERY MULLEN                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES F GUNCKEL                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES FERGUSON TUSTIN                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES FLYNN                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES FOULKS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES FRASER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES GLEN WELKER                                                   Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES GREEN                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES GREGORY GASCOIGNE BATES                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES H FINN                                                        Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES H LEATZOW                                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JAMES HASKINS                                                       Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES HOWARD WILLIAMS                                               Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES J FRANK & ERICA S FRANK (JTWROS)                              Common Shares               5,903   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES J TIAMPO MONEY PURCHASE PLAN & TRUST (KEOGH)                  Common Shares               7,211   Common
PO BOX 2430
VENICE, CA 90291

JAMES J TIAMPO                                                      Common Shares               7,211   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES JAWORSKI PLAN & TRUST (KEOGH)                                 Common Shares                375    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES JEFFREY COLLINS                                               Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES JOSEPH DICE                                                   Common Shares                225    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES KELLEN                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES KERIAN                                                        Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES KEVIN O'CONNOR                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES KING                                                          Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES L RUTTLER JR AND ANNE B RUTTLER REVOCABLE TRUST               Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES LISSAINT REVOCABLE TRUST                                      Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES LORETO                                                        Common Shares                214    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES LUSK                                                          Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JAMES MATISAN GIFFORD                                               Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES MATTHEW O DONNELL                                             Common Shares                113    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES MICHAEL KOHAN                                                 Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES MINH CU LAM                                                   Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES MOLLER                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES MORAN                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES MORRIS NEWLUN                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES MULVEY                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES NEVIN                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES NORMAN PRESTON                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES NSIEN II                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES P MCGINLEY                                                    Common Shares               1,326   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES PATRICK KAHLER                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES PATRICK MCDONALD                                              Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES PATRICK NUNN                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES R COLEMAN                                                     Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES R GOOHS                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JAMES RAGNAR PETTERSON JR                                           Common Shares               157   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES RICHARD ROUGH                                                 Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES ROBERT RUIZ                                                   Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES ROBERT WINNING                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES S BAKER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES SEVCIK                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES SMITHERS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES STIRN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES STOUT                                                         Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES T AHN                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES T DOYLE                                                       Common Shares               302   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES T RICHARDSON                                                  Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES TANLEY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES THESING                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES THOMAS BOSTIC                                                 Common Shares               186   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES THOMAS GRAY JR                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAMES TINDALL ROBERTSON                                             Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JAMES V CHELINI                                                     Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES W JOHNSTON                                                    Common Shares                625    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES WARREN MACK                                                   Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JAMES WIDENER                                                       Common Shares                150    Common
ADDRESS AVAILABLE UPON REQUEST

JAMIE DE TRINIDAD                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMIE KRAFT                                                         Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JAMIE LITTON                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMIE NEILL                                                         Common Shares                110    Common
ADDRESS AVAILABLE UPON REQUEST

JAMIE RAMSEY                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JAMIE TUEL                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAMILA EBBA                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JAN HARPER                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JAN VENTURES LLC                                                    Common Shares               3,605   Common
262 WINTER STREET
WESTON, MA 02493

JANAE HENDERSON                                                     Common Shares                128    Common
ADDRESS AVAILABLE UPON REQUEST

JANARL THOMPSON                                                     Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

JANE EGBUFOAMA                                                      Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JANE MARIE DALE                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JANE MARIE LINDEMANN                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JANE TAYLOR                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JANELL WISE                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JANELLE LUNETTE COOPER                                              Common Shares                 81    Common
ADDRESS AVAILABLE UPON REQUEST

JANELLE NICOLE MEDDERS                                              Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JANET CLARKSON DAVIS                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JANET L HANSEN                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JANET LYLE VEESART                                                  Common Shares               1,326   Common
ADDRESS AVAILABLE UPON REQUEST

JANET S FEATHERSTON                                                 Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

JANET TAMAYO GOMEZ                                                  Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JANICE KEIKO RINGLER                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JANICE PIZZONIA                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JANICE ROE                                                          Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

JANNEY MONTGOMERY SCOTT INC. (0374)                                 Common Shares                132    Common
ATTN: CORPORATE ACTIONS
1717 ARCH ST
17TH FL
PHILADELPHIA, PA 19103-1675

JANUARY LAVOY                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JAQUELINE ANN LAMAJ                                                 Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

JARAE NICHOLS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JARED BEYMER                                                        Common Shares               321   Common
ADDRESS AVAILABLE UPON REQUEST

JARED WARD                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAREN DOHERTY JR                                                    Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

JARRET EVAN GLASSBROOK                                              Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JASEN FRANK MEYN                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JASKIRAN SAMRA                                                      Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JASMINE GRIFFITH                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JASMINE KAUR                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JASMINE LIN                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JASMINE SANDERS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JASON AUGUSTYN                                                      Common Shares               215   Common
ADDRESS AVAILABLE UPON REQUEST

JASON BAGWILL                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JASON BAGWILL                                                       Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

JASON BIWER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JASON BLEILE                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JASON BRADLEY SCHWERINER                                            Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JASON BRENT KENNEDY                                                 Common Shares               1,768   Common
ADDRESS AVAILABLE UPON REQUEST

JASON COONS                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JASON DAUGHETY                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JASON DAVID STIVANO                                                 Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

JASON FOSTER                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JASON GERARD CROFT                                                  Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

JASON H LYNCH                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JASON HADLEY                                                        Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

JASON HARRIS                                                        Common Shares                141    Common
ADDRESS AVAILABLE UPON REQUEST

JASON HOROWITZ                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JASON JASMINE                                                       Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

JASON KENT ZACHARY                                                  Common Shares                315    Common
ADDRESS AVAILABLE UPON REQUEST

JASON LEWIS                                                         Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

JASON LUCKMANN                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JASON LUEDERS                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JASON MCCRYSTLE                                                     Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JASON MCDERMOTT                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JASON MICHAEL BONKE                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JASON MILLER                                                        Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

JASON NAPOLI                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JASON NORKEVICUS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JASON PAUL CHALECKI                                                 Common Shares               338   Common
ADDRESS AVAILABLE UPON REQUEST

JASON PONDER                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JASON SIMON                                                         Common Shares               193   Common
ADDRESS AVAILABLE UPON REQUEST

JASON TOGIAS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JASON WADE                                                          Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JASON WENDT                                                         Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

JASON WILLIAMS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JASON-DENNIS STEWART                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JATIN CHOPRA                                                        Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

JAVIER WAASE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAVON CAVER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAY ANDERSON                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JAY DONALD SULLIVAN                                                 Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

JAY H UNDERWOOD                                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JAY HENDERSON                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JAY JEWELL                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JAY R BOMMAREDDY                                                    Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

JAY STETZ                                                           Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JAYESH SHUKLA                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JAYRAJ PATEL                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEAN ANN VAN DEN HEUVEL                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JEAN HANEY                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEAN HARRIS                                                         Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

JEAN-CLAUDE BASSILA                                                 Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JEANICA LYKA RIEF                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEAN-MAX JEAN-PIERRE                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEANNE WHITENS                                                      Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

JEFF JAYNES                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFF PATE                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JEFF PERA                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFERIES & CO, INC. (0019)                                         Common Shares           17,500    Common
ATTN: ROBERT MARANZANO OR PROXY MGR
34 EXCHANGE PL
JERSEY CITY, NJ 07311

JEFFERY CLARK STONE                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFORY MILLER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY A VISSER                                                    Common Shares               156   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY ALAN BLOCK                                                  Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY ALAN BURGESS                                                Common Shares                78   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY BAKER                                                       Common Shares               351   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY BALL                                                        Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY BRAD ALLEN                                                  Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY C HALL                                                      Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY CABRAL TEIXEIRA                                             Common Shares               127   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY CASAMENTO                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY CHARLITE                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY D HART                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY DARRELL FARMER                                              Common Shares               201   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JEFFREY DAVID COLLINS                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY DOUGLAS FARRINGTON                                          Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY DOWS                                                        Common Shares               352   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY E HAVELL                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY GAUGER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY H GLATTER SUSAN M GLATTER GLATTER FAMILY                    Common Shares                22   Common
REVOCABLE LIVING TRUST
ADDRESS AVAILABLE UPON REQUEST

JEFFREY IVER TOLSTAD                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY JAMES FULKERSON                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY KOURY                                                       Common Shares               693   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY L LEVERONE                                                  Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY LANG                                                        Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY LINN BOOKHOUT                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY LYNN NARBURGH                                               Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY MICHAEL RACHKE                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY MICHAEL SOBODASH                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY O ZICKER                                                    Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JEFFREY RICHARD                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY RODHOUSE                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY S CHARLTON                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY SMITH                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY T LEDERER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY THOMAS                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY VAN DE POEL                                                 Common Shares               308   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY VICENTE                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY W CROOMS                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY WHITE                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JEFFREY ZILAHY                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JELANI CURRIE                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JENA GARTLAND                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JENALEE ERICKSON                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JENELLE HATZUNG                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JENIFFER BLANCO SYLVESTER                                           Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JENNA KLEINGARTNER                                                  Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JENNA SALVATIN                                                      Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

JENNAI GULEZIAN                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER A THORPE                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER ANN CHAPLIN                                                Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER ANN EVANS                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER ARDEL THOMPSON                                             Common Shares                79   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER AUGUSTINE                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER CLAYTON                                                    Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER DABIRSIAGHI                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER ELIAS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER FOSTER                                                     Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER GAYLE LUKOWITZ                                             Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER GILTNANE                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER GOLDBERG                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER GUNDERSON                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER HAYNES                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER HAYS                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JENNIFER HELBLE                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER JEFFREY                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER LAGROW                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER LEHRER                                                     Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER LOPEZ                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER LOU                                                        Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER M KACHMARIK                                                Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER MERLO                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER NICHOLS                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER OUYANG                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER P FORD                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER QUIJANCE                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER REPANSHEK                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER RYAN CARVER                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER SALEM                                                      Common Shares               140   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER STUMM                                                      Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER TIPTON                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JENNIFER TOWNE                                                      Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER VICINIE                                                    Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER WARE                                                       Common Shares                 81    Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER WILEY                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JENNIFER YEN LEE                                                    Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

JENNY CUASAPAZ                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JEOFFREY TOMAS                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JERALD A LOOMIS                                                     Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMIAH ALCAZAR                                                    Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMIAS CASTANEDA                                                  Common Shares                159    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY ANDERSON                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY BULS                                                         Common Shares                 22    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY JONES                                                        Common Shares               1,893   Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY KELLER                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY KRUG                                                         Common Shares                501    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY LEFEBER                                                      Common Shares                251    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY PARK                                                         Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JEREMY PLEYDELL-BOUVERIE                                            Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JEREMY WIEST                                                        Common Shares                309    Common
ADDRESS AVAILABLE UPON REQUEST

JERI ANN BROWN                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JERMAINE HAZEL                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JERMAINE LEWIS                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JEROME A CAMP REVOCABLE TRUST DATED 2/10/2006 JEROME A              Common Shares               1,441   Common
CAMP TRUSTEE
ADDRESS AVAILABLE UPON REQUEST

JEROME CAMP REVOCABLE TRUST DATED 2/10/2006 JEROME A                Common Shares                720    Common
CAMP TRUSTEE
ADDRESS AVAILABLE UPON REQUEST

JEROME GATES DATED 2/10/2006; JEROME A CAMP TRUSTEE                 Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

JEROME J GRIESMER                                                   Common Shares                106    Common
ADDRESS AVAILABLE UPON REQUEST

JEROME SCHMIDT                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JERROLD J COLE                                                      Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

JERRY A HOLLO                                                       Common Shares                107    Common
ADDRESS AVAILABLE UPON REQUEST

JERRY CULLITON                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JERRY D KIZER JR                                                    Common Shares                875    Common
ADDRESS AVAILABLE UPON REQUEST

JERRY H SHELTON                                                     Common Shares                879    Common
ADDRESS AVAILABLE UPON REQUEST

JERRY J RICE JR                                                     Common Shares                163    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JERRY LEON KNIE                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

JERRY LI SHENG CHAO                                                 Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JERRY MONSALUD                                                      Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

JERRY NAGAISHI                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JERRY PAUL WEATHERS                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JERRY WAYNE WAUTERS                                                 Common Shares               732   Common
ADDRESS AVAILABLE UPON REQUEST

JERRY YVENS VALCOURT                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JESSE CRIDER                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JESSE DEVLIN WILES                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JESSE E PHILLIPS                                                    Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

JESSE KNEPPER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JESSE LIEBL                                                         Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA CEJA-NOLASCO                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA GRUBER                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA GRUBER                                                      Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA K TRITES ROLLE                                              Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA KLODNICKI                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JESSICA LABRUZZO                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA LEE GARCIA                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA MAPOSA                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA NOHMY                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA PINKHAM                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA ROBINSON                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA ROOT                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JESSICA WILSON                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JESUS RODRIGUEZ                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JEUNESSE MONROE-SPEED                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JEWEL BARLOW                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEZIEL NOVA GUTIERREZ                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JEZZEL VIRAY                                                        Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JIA DUAN                                                            Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

JIAHUI JIANG                                                        Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

JILL BARNES CASEY                                                   Common Shares               142   Common
ADDRESS AVAILABLE UPON REQUEST

JILL CASH MURPHY                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JILL ELLEN R CHRISTOPHER                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JILL MARIE MILLER                                                   Common Shares               112   Common
ADDRESS AVAILABLE UPON REQUEST

JILLENE PREUSSER                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JILLIAN MASTON                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JIMMIE TOMLIN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JIMMY A MCCLURE                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JIMMY PATE                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JING WEN                                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JINGWEN JIAO                                                        Common Shares               273   Common
ADDRESS AVAILABLE UPON REQUEST

JINGYUAN SUN                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

J-MART INVESTMENTS LLC                                              Common Shares               106   Common
5707 DEVLIN PL
MIDLAND, TX 79707

JOAH SUNGKOO CHUN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOAN EIDENT                                                         Common Shares               179   Common
ADDRESS AVAILABLE UPON REQUEST

JOAN KENNEDY ERICKSON                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOAN N CHANDLER                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JO-ANN CHELINI                                                      Common Shares               128   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JOANNA COHEN                                                        Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

JOANNA MARY GRIGAS                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JOANNA SAMMARTINO BAILEY                                            Common Shares               1,326   Common
ADDRESS AVAILABLE UPON REQUEST

JOANNA SMITH                                                        Common Shares                 97    Common
ADDRESS AVAILABLE UPON REQUEST

JOANNE DAVIS                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JOANNE GUIDICE                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JOANNE S PAULL                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOANNE SULLIVAN                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JOAQUIN FIOL                                                        Common Shares                 81    Common
ADDRESS AVAILABLE UPON REQUEST

JOCELYN LAM                                                         Common Shares                 81    Common
ADDRESS AVAILABLE UPON REQUEST

JOCELYN ROY                                                         Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

JODI CURTIS                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JODIE HARLAN                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JODY DORAN                                                          Common Shares                119    Common
ADDRESS AVAILABLE UPON REQUEST

JOE DURAN                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOE E BRISTOL                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOE FRANKLIN ODELL                                                  Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOEL BAPTISTA                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOEL CRAIG MICHAEL                                                  Common Shares               251   Common
ADDRESS AVAILABLE UPON REQUEST

JOEL D HECHT ASP EMPLOYEE RETIREMENT ACCOUNT                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JOEL DAVID COHEN RETIREMENT ACCOUNT                                 Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

JOEL WEIDNER                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JOHANNA FRANCESCA SILVERIO                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHANNA MARIA BOWLING                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHANNES ESCUDERO                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHANNES FIHLEN                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN A HUBOKY                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN A SOLINI                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN ALVAREZ                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN ANTHONY TADDIE                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN B PANNONE                                                      Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN B RESPONDEK                                                    Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN BASKEY                                                         Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN BERNARD KIRKPATRICK                                            Common Shares                80   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOHN BLAKE HAMM                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN BRENDING                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN BROOKS                                                         Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN BRYAN SMITH                                                    Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN BURDICK                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN BUTTERFIELD                                                    Common Shares                30   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN C COX                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN C HOOK                                                         Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CARL ABINES                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CARRANO                                                        Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CHACKO                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CHRISTOPHER HENDERSON                                          Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CHRISTOPHER TOMPKINS                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CHUMNEY                                                        Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CLIFFORD PEMBERTON IV                                          Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CRAIG TREADAWAY AND LISA SEBASTIAN TREADAWAY                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN CRAIG TREADAWAY                                                Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOHN DAVID RICKGARN                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN DAVID TARBOX                                                   Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN DEBONS JR                                                      Common Shares               218   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN DIFULVIO                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN DIRICO                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN DOUGLAS COLLIER                                                Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN E GUTH                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN EDWARD CHILD                                                   Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN F LORENZETTI                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN F MANIEC                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN F SIMPSON JR                                                   Common Shares               213   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN FARRINGTON                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN FERRIS                                                         Common Shares               266   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN FOTI                                                           Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN FRANKLIN HATCHETTJR                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN FUSSELMAN                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN GARDNER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOHN GERBER                                                         Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN GOBIN SMALES TRUST                                             Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN GOSTEL                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN GREY JONES JR                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN GUDGEON                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN H AIKEN                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN H AINSWORTH                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN HAROLD BASKEY                                                  Common Shares               179   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN HUTTON                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN I MCKENNA                                                      Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN J ANDERSON                                                     Common Shares                97   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN J HANFORD                                                      Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN J JOHNSON                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN J MALONEY                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN J MEYER                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN J NURKOWSKI                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN JEFFERSON                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JOHN KARWOSKI                                                       Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN KEEFE                                                          Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN KENNETH BIXBY                                                  Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN KOJI HIGASHIDANI                                               Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN KRUGH                                                          Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN KUPFERSCHMID                                                   Common Shares                589    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN KURT OLSEN                                                     Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN L FLOOD                                                        Common Shares               7,211   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN L MICELI                                                       Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN LOUIS DENTON                                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN M ALBERTS                                                      Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN M HOEFT                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MANIS                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MANLEY                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MARK MICHAELS                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MARSHALL PRUTZMAN JR                                           Common Shares                159    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MATTHEW DIRICO                                                 Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JOHN MAYER                                                          Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MBURU                                                          Common Shares                 72    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MCMAHON                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MENZA DUDLEY III                                               Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MICHAEL BEEZLEY                                                Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN MORAWA                                                         Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN NOFFSINGER                                                     Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN PAUL BRUNKARD                                                  Common Shares                 97    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN PAUL MORDACH                                                   Common Shares                 44    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN PEETERS                                                        Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN PEIXOTTO                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN POWELL                                                         Common Shares                 26    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN R D'AMICO                                                      Common Shares                 74    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN R D'AMICO                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN RAY                                                            Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN REDMOND                                                        Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN RICHARD KNIGHT                                                 Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JOHN ROBERT AFINOWICZ                                               Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN ROBERT DRIVER                                                  Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN ROBERT GUZMAN                                                  Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN ROBOSSON                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN SALES                                                          Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN SANDOVAL                                                       Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN SHARPE                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN SORI                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN SPEAKS                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN SPILLANE                                                       Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN STEWART                                                        Common Shares                169    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN STRISOWER ROTH IRA                                             Common Shares               2,250   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN T DOWD                                                         Common Shares                 90    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN T HELLEM                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN T MERRITT III                                                  Common Shares                109    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN T MORRISSEY                                                    Common Shares                159    Common
ADDRESS AVAILABLE UPON REQUEST

JOHN THOMAS KING JR                                                 Common Shares                612    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOHN TYRRELL                                                        Common Shares               365   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN URSICH                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN VIDRIH                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN VIEIRA                                                         Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN VINCENT REID                                                   Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN W CARR                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN W HARPER                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN W WEISER                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN W ZUVIC                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN WELDON                                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN WESLEY GODDARD                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN WILLIAM BARNARD                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN WINN                                                           Common Shares               277   Common
ADDRESS AVAILABLE UPON REQUEST

JOHN WRIGHT WILLIAMSON                                              Common Shares               262   Common
ADDRESS AVAILABLE UPON REQUEST

JOHNATHAN CAHILL                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JOHNATHAN HUDSON                                                    Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

JOHNATHAN RUNDLES                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOHNNIE REX CAIRNS                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOHNNY FRANKLIN EVANS                                               Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

JOHNNY MILAM JR                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOLIE ROBB-RAMIREZ                                                  Common Shares               288   Common
ADDRESS AVAILABLE UPON REQUEST

JON DEOLIVEIRA                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JON DESHA                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JON MOSES                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JON WILLIE                                                          Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN ADAM TRENT-CARLSON                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN ALEXANDER                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN BABASO SUQUE                                               Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN BARRETT GOLD                                               Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN CHARD                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN COHEN                                                      Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN D DUNN JR                                                  Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN DELINE                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN E EVANS                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JONATHAN ELVIN SCHOONOVER                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN GARCIA                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN GRAY                                                       Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN HAIDLE                                                     Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN HOFFMAN                                                    Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN IVAN SYMKO                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN J LEE                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN KING                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN LESLIE WILLIAMS                                            Common Shares               197   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN LEYS                                                       Common Shares               432   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN MAHON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN MANGIN                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN MANOSH                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN MARC-THORNTON RORK                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN OSUNA-LLAMAS                                               Common Shares               266   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN PAUL STREETON                                              Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN ROEHIA WALKER                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

JONATHAN SILVA                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN STIDD                                                      Common Shares               1,694   Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN T SHAEFFER                                                 Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN VAUGHTERS                                                  Common Shares                264    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN WATSON                                                     Common Shares                390    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN WEDDLE                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN WROBLE                                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN YUAN-SHENG YUN                                             Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHAN ZURMUHLEN                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

JONATHON BECKINGER                                                  Common Shares                 78    Common
ADDRESS AVAILABLE UPON REQUEST

JONG HO PARK                                                        Common Shares                420    Common
ADDRESS AVAILABLE UPON REQUEST

JONI BUI                                                            Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JOON IL SONG                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JORDAN BISMUTH                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JORDAN DANTE WHITE                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

JORDAN FERRY                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

JORDAN FRIEDMAN                                                     Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JORDAN MICHAEL GREENBERG                                            Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

JORDAN OGREN                                                        Common Shares               133   Common
ADDRESS AVAILABLE UPON REQUEST

JORDAN OLSON                                                        Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

JORDAN ROBISON                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JORDON THOMSEN                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JORGE ALFREDO MENDOZA BARAJAS                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JORGE MANUEL JACINTO GUERREIRO                                      Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JORGE RIOS                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JORIS DE CRAECKER                                                   Common Shares               121   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE A ESPEJO TRUST                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE AMIGON                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE ARIAS                                                          Common Shares               287   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE COVARRUBIAS AMECA                                              Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE F CARTAYA III                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE FERNANDO BARRERA                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE GABRIEL VALDEZ                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE GELPI JR                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOSE GOMEZ                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE JOAQUIN ENDARA CEVALLOS                                        Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE NATALIO FAYAD                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE RIOS                                                           Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE SANTIAGO III                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE SEBASTIAN                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOSE T ARIAS                                                        Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEF GOTTWALD                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH A ABYS                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH A SERWA                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH ARCOLIO                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH ARTHUR SKOTNIK                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH ARTHURS                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH B WOOLFSON                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH C FRANCISCO                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH C STALNAKER JR                                               Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH EDOUARD MANFRED DUMAS                                        Common Shares               162   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOSEPH EDOUARD MANFRED DUMAS                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH EDWARD DORN THOMAS JR                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH FRANK MAGLY                                                  Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH GIGLIA                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH H CRISLER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH HILL                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH JOHN GILLILAND                                               Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH KELLER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH KENNEY                                                       Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH KIMBALL IRVINE                                               Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH KRAMER                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH LOUIS KAPLA                                                  Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH M FRADE                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH MACCHIO                                                      Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH MANNO                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH MAURO                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH MICHAEL WINESBURG                                            Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOSEPH NJAU                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH NORTON                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH P FENNESSY                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH P PLONSKI III                                                Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH PEREZ                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH PROCTOR                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH R FEKECH                                                     Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH ROBERT SOWELL                                                Common Shares               665   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH ROBERTS SPARLING                                             Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH RUTIGLIANO                                                   Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH SMITH                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH STOTTLER                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH TAKAI                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH THOMAS MEIER                                                 Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH WAGGONER                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH WRAY                                                         Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPH WYATT CROOMS                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOSEPH ZANONI                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPHINE ALANIS GREEN                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEPHINE G KARANJA                                                 Common Shares               301   Common
ADDRESS AVAILABLE UPON REQUEST

JOSEY AARON                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSH A HAMMEL                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOSH DANIEL GEORGE SAUNDERS                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOSH FELDMAN                                                        Common Shares               196   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA ALAN GENTRUP                                                 Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA AVRUM LICHTENFELD                                            Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA BURCHAM                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA CRANE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA DAVID DEETER                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA DAVID MONTANA                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA DIXON                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA HONG                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA HOVDEN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA JON CUMMINGS                                                 Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOSHUA LYON                                                         Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA M GRANT                                                      Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA MICHAEL HORNER                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA NATHANAEL JOHNSON                                            Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA PAUL VICKERSON                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA R SHEARER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA RAMIREZ                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA S MILLER                                                     Common Shares               197   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA SWEDLOW                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA VOLUCK                                                       Common Shares               163   Common
ADDRESS AVAILABLE UPON REQUEST

JOSHUA ZALIS                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JOSIAH ETHAN MOYER                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOSIAH KENNETH SLIFER                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOSTIN BURBIDGE                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JOY BURDICK NOWELL TRUST                                            Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

JOY JOHNSTON                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOY LINDSAY                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JOY LYDIARD                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOYA L NEWMAN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JOYCE A GAY                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOYCE ATTAWAY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOYCE BLUE                                                          Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

JOYCE JOANNE SCHOLEN                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOYCE M HARTY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JOYCE REYES                                                         Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

JOYCE WILKOS                                                        Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

JPMORGAN CHASE (0902, 2357, 3622)                                   Common Shares          214,624    Common
ATTN: JEFF LAZARUS/PROXY MGR NY1-C094
4 METROTECH CTR - 3RD FL
BROOKLYN, NY 11245

JUAN ANDRES GARCIA                                                  Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JUAN ARRONA                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUAN CARLOS GODINEZ                                                 Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JUAN ESTEBAN GOMEZ ILARI                                            Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

JUAN ROMEU LEZAMA                                                   Common Shares               632   Common
ADDRESS AVAILABLE UPON REQUEST

JUANITA CLARKE                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST


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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JUAVANDA S LEWIS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUDAH NORMAN GREENBERG                                              Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JUDAH RICHARDSON                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUDE MOITOZA                                                        Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH ANN ANIBAS                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH BOURG                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH ELAINE GREEN LATNER                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH L BRAMLAGE                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH MORRIS                                                       Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH MURPHY                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH O CONNOR                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUDITH WILCOX                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUDSON KUEHLING                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUERGEN ZINKO                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

JUIN-HWEY CHEN                                                      Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

JULES JEREMY FOURNIER                                               Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

JULIA CRAWFORD                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JULIA DELGAUDIO                                                     Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

JULIA JAUNDALDERIS                                                  Common Shares               207   Common
ADDRESS AVAILABLE UPON REQUEST

JULIA JEANETTE NAES                                                 Common Shares                79   Common
ADDRESS AVAILABLE UPON REQUEST

JULIA LYNNE ROGERS                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JULIA PURINTON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JULIA STONE                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JULIA SWEENEY                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JULIAN SEVERINO                                                     Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

JULIAN ZOTTL                                                        Common Shares               339   Common
ADDRESS AVAILABLE UPON REQUEST

JULIANA HART                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

JULIANA O'BRIEN                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JULIANA OROZCO                                                      Common Shares               325   Common
ADDRESS AVAILABLE UPON REQUEST

JULIANA THOMAS                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JULIANNA SIPEKI                                                     Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

JULIE BELTZ                                                         Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

JULIE BUTLER                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

JULIE COCHRANE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JULIE GARRETT-STATE                                                 Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

JULIE HART                                                          Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

JULIE JOHNSON VIRGIN                                                Common Shares               720   Common
ADDRESS AVAILABLE UPON REQUEST

JULIE MCGILL                                                        Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

JULIE PARAVIA                                                       Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

JULIEN DAVID DESHLER                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JULIEN HIRTH                                                        Common Shares                85   Common
ADDRESS AVAILABLE UPON REQUEST

JULIET ORR                                                          Common Shares               123   Common
ADDRESS AVAILABLE UPON REQUEST

JULIO CASTELLAN                                                     Common Shares                26   Common
ADDRESS AVAILABLE UPON REQUEST

JULIO CESAR CASTELLAN                                               Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

JULIO ECHEVERRIA                                                    Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

JULIO GONZALEZ                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JULIO NEHEMIAS TORRES BONILLA                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JULIUS AKONDENG                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUNHAN JEONG                                                        Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

JUNIOR GREY                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JURGEN SCHWARZLER                                                   Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

JUSLEEN SABHERWAL                                                   Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN BARKER                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN BARNES                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN BUDARE                                                       Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN CURTIS DESNOYERS                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN DOWNS                                                        Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN GEBURA                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN KLIER                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN MEUNIER                                                      Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN SHIPPERT                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN TEH                                                          Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTIN ZHANG                                                        Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTINE A LEMANOWICZ                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTYNA SOKOL                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

JUSTYNA Z BRUCE                                                     Common Shares               213   Common
ADDRESS AVAILABLE UPON REQUEST

JYACE STUTSMAN                                                      Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

KAARD BOMBE                                                         Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KABIR BARUA                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KAIWEI ZHANG                                                        Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

KAI-YU HUANG                                                        Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

KALEB SHERVINGTON                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KALEIL WASHINGTON                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KALYAN DOKKA                                                        Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

KAMAL KABETO                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KAMINI IYER                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KAMLESH PATEL                                                       Common Shares               530   Common
ADDRESS AVAILABLE UPON REQUEST

KANG HAI GOH                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KARA BRADACH                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KARA LEE KOHN                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KARAH KASKA                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KARCY LAWSON                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN A KENZEL-COOPER                                               Common Shares                96   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN ARSENAULT                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN BAIL                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KAREN CENTENO                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN CORSO                                                         Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN DJUANDA                                                       Common Shares               112   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN ELIZABETH EPSTEIN                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN J DEMATTEO                                                    Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN K MILLER                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN M DUFFY                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN MARIE WIEDERKEHR                                              Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN NATER-PINEIRO                                                 Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN RANGER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KAREN RUTZ                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KARIN LYNN ANDERSON                                                 Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

KARINA OLIU                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KARL ERIK BAKER                                                     Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

KARL FULTON                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KARL GOSSETT                                                        Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

KARL KENT DITTMER JR                                                Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KARL MAZEIKA ENGLERT                                                Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KARL STINE                                                          Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KARLA KUJAT                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KARLIE LEIKEL                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KARMINDER SINGH                                                     Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

KAROLINE DANG KIM                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KARON M NICHOLS                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KARSON RAZA GHULAMALI                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KARTHEEK PULAVARTHI                                                 Common Shares                28   Common
ADDRESS AVAILABLE UPON REQUEST

KARTHIK AVADHANAM                                                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KARTIK PATEL                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KARYNA AINSWORTH                                                    Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

KATARINA KIELECZAWA                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATE BERRY                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KATHARINE NAULT                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE ALEXANDRA PICKARD                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE AMATO                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KATHERINE ANDREWS                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE BLOMMER                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE CHAN                                                      Common Shares               263   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE CONRAD                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE GRACE EVERETT                                             Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE LYNN GIROTTI                                              Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE PEGRAM                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE RICHARDSON                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERINE SUN                                                       Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

KATHERYN SHERWOOD                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN A KLEIN                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN ANN BUTITTA                                                Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN ANNE WHALEN                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN CAROSI                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN DISA                                                       Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN KARPUS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN LILLIAN PELUSO                                             Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KATHLEEN M COLBERT                                                  Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN M STEPHENS                                                 Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLEEN MCQUAID HOLDRIDGE                                          Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KATHLINE H KIM                                                      Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN FITZGERALD                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN FOGARTY                                                     Common Shares                76   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN FOGARTY                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN FUJIKAWA-DAVIS                                              Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN HEAD AYCOCK MCMURRY                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN JOANNE LAW                                                  Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN LESLEY HANARA                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN MAITREJEAN                                                  Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN MCKEE                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN NILES                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN NILES                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KATHRYN THERESA KING                                                Common Shares               289   Common
ADDRESS AVAILABLE UPON REQUEST

KATHY ANN THORNBURG                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

KATHY HARRISON ALLEN                                                Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

KATHY JO COOKSON                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

KATIE LACROIX                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

KATIE MURREY                                                        Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

KATIE OWEN                                                          Common Shares               2,500   Common
ADDRESS AVAILABLE UPON REQUEST

KATIE STRICKER                                                      Common Shares                113    Common
ADDRESS AVAILABLE UPON REQUEST

KATIE WEINHOLT                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

KATRINA CROCKETT                                                    Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

KAY B NORMAN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KAY BRADY                                                           Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

KAYLA HILL                                                          Common Shares                138    Common
ADDRESS AVAILABLE UPON REQUEST

KAYLA MAE BERNARDINO                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KAYLIE JOHNSON                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KAZEM SADATI                                                        Common Shares                828    Common
ADDRESS AVAILABLE UPON REQUEST

KDS SERVICES LLC                                                    Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

KEIDRA D CHANEY                                                     Common Shares                 72    Common
ADDRESS AVAILABLE UPON REQUEST

KEISUKE NATSUME                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KEITH BINAM                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH CORVIN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH D BARGA                                                       Common Shares               249   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH HALE                                                          Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH KINSEY                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH LASSITER                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH NATION                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH WILLIAM LEMCKE                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KEITH WONG                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KELLEN NEWHOUSE                                                     Common Shares               314   Common
ADDRESS AVAILABLE UPON REQUEST

KELLI MARIE YEAGER                                                  Common Shares               179   Common
ADDRESS AVAILABLE UPON REQUEST

KELLIE ANNE BARTHOLOMEW                                             Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY ARROTTI                                                       Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY B BAKER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY BENDER                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY DESGROSSEILLIERS                                              Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY DYE                                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KELLY ERIN DEVLIN                                                   Common Shares               169   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY J STORCK                                                      Common Shares               626   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY JARZOMBEK                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY KAMSTRA                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY L MARINKOVICH                                                 Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

KELLY PUVOGEL                                                       Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

KELSEY ANN BURKHARDT PARR                                           Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KELSEY ANNE SILVA                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KENDRA ELIZABETH JABLONSKI                                          Common Shares               163   Common
ADDRESS AVAILABLE UPON REQUEST

KENDRA KOSKI                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENDRICK DAVID ANDERSON                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KENDRID MAYS                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH A LAUBER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH ALAN LOCKE                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH BAKER                                                       Common Shares               359   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH DAVID FERNANDEZ PRADA                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH EUGENE GOLISH                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KENNETH EUGENE GOLISH                                               Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH F ALDEN                                                     Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH GIBSON                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH HAYES                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH J SHEEDY                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH JAMES STEEDEN                                               Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH JOHNSON                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH L CURTIS                                                    Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH L TULLIS                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH LAVELY                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH LENZ                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH LEWIS HOUTING                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH LINNEMAN                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH LOHWASSER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH MANCUSO                                                     Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH MANCUSO                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH MANCUSO                                                     Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KENNETH MEDLEY                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH R WEHAR                                                     Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH ROSS WHITE                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH SHOCKLEY                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KENNETH W HAMMERMAN                                                 Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KENNY HUANG                                                         Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

KENSIL J DICKINSON                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KENT ANDREW GRIMSRUD                                                Common Shares                83   Common
ADDRESS AVAILABLE UPON REQUEST

KENT KOFOED                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KENY MEDRANO                                                        Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

KERI AUMELL                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KERI LYNN SERRANO                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KERI THORPE                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KERMIE ROBINSON                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KERRI A KLEIN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KERRI ELIZABETH GROSS                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KERRY JOSEPH SPIEGLER                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

KERRY PENNY                                                         Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

KERTH JOSHUA GRAVENER                                               Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

KESHAV KUMAR                                                        Common Shares               1,893   Common
ADDRESS AVAILABLE UPON REQUEST

KESNEL JULES                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

KETAN PATEL                                                         Common Shares           12,500      Common
ADDRESS AVAILABLE UPON REQUEST

KETAN SHAH                                                          Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN ANTHONY BALBI                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN ANTHONY TSUI                                                  Common Shares                226    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN BENSON                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN BUCKLEY                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN COOK                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN CUMMINS                                                       Common Shares                163    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN D PARVIZ                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN DANIEL                                                        Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN DAVIS                                                         Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN DELVENTHAL                                                    Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN DOAN                                                          Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KEVIN DOMINIK KORTE                                                 Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN EICHHORST                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN FRANCIS                                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN G DESHARNAIS                                                  Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN GREEN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN HEWITT                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN J BEIRICH                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN J HALL                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN JOSEPH GOULET                                                 Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN KLEMBCZYK                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN KOVAL                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN LEE JOHNSON                                                   Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN LETZ                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN MANLEY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN MCLAIN                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN MCMILLEN                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN MEADE                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KEVIN MICHAEL BROWN                                                 Common Shares               194   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN MICHAEL YUSKO                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN MITRA                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN NUEST                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN P AUSTIN                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN PERSAUD                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN RICHARD VENDOLA                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN SCOTT MILLER                                                  Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN SHANE MCLAUGHLIN                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN SIMPSON                                                       Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN SORBANELLI                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN TESTO                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN TODD FULLER                                                   Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN VARGAS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN VENDOLA                                                       Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

KEVIN WALTERS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KEYUR PATEL                                                         Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KHALEED JUMA                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KIANA DELICIA ROMEO                                                 Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

KILEY STEVEN GUSTAFSON                                              Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

KIM CHOATE                                                          Common Shares               277   Common
ADDRESS AVAILABLE UPON REQUEST

KIM DAVID HEINTZE                                                   Common Shares               290   Common
ADDRESS AVAILABLE UPON REQUEST

KIM DUNCAN                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KIM LOUISE MORRISON                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KIM R DOBBS                                                         Common Shares               163   Common
ADDRESS AVAILABLE UPON REQUEST

KIM SUSAN NELSON                                                    Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

KIMANI BURTON                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBE MEARES                                                        Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY A STRUNA                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY ANN JOHNSON                                                Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY ANN SCHOENFELDER                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY ANNE JOYCE                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY B BARNES                                                   Common Shares                79   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY B WARNER                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KIMBERLY DUROSKO                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY EVANS                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY GALLAGHER                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY MARIE STULL                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY MEYER                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY NICOLE EATON                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY NOBLE                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY R WILSON                                                   Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

KIMBERLY SIPES                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KIMMY GO                                                            Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KIN TAM                                                             Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KING DRIVE CONCEPTS PTY LTD AS TRUSTEE FOR KING DRIVE TRUST Common Shares                       125   Common
14 ST VINCENT CIRCUIT
SHEIDOW PARK
AUSTRALIA

KINNARI PATEL                                                       Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

KINNEY FAMILY TRUST                                                 Common Shares               887   Common
ADDRESS AVAILABLE UPON REQUEST

KIRAN SHAH                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KIRK CRENSHAW                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KIRK DODDS                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KIRK E HUISENGA                                                     Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

KIRK LIVELY                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KIRK MILLER                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KIRK SELLERS                                                        Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

KIRTI TEWARI                                                        Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

KISHORE KUMAR MUKKA                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KIYOFUMI TOKUNAGA                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KLAIRE KIEHNE RHODES                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KLARA JOSEFINE HEDLUND                                              Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

KLAUS BERND STEINKLAUBER                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KLAUS D SCHMITT                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

KLAUS JOSEF GUENTHER                                                Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

KLAUS SCHWEGLER                                                     Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

KOENRAAD W BECKERS                                                  Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

KOFI OFOSU-ASANTE                                                   Common Shares               251   Common
ADDRESS AVAILABLE UPON REQUEST

KONRAD STAPLER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

KONSTANTINOS KARANIKOLAOU                                           Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

KONSTANTINOS SPALIARAS                                              Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KORK BUN CHEA                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KOTESWARARAO VENKATA                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

KRAIG ECKER                                                         Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

KRIS BJORNERUD                                                      Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

KRIS BOBO                                                           Common Shares                 22    Common
ADDRESS AVAILABLE UPON REQUEST

KRISANNE CLIFFORD                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTA KATHERINE JACK                                               Common Shares                327    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTA ROSS                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN ASHLEY STAGE                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN CUHRAN                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN DAMORE                                                      Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN FRIAS                                                       Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN GRAFF-BAKER                                                 Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN MARTIN                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN MUKAI                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KRISTEN NICOLE BLODGETT                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN RODES                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN SHARI GAYLE                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTEN SINNOTT                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTI GOODHUE                                                      Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTI VILAY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTIN ANNIE HEITMEIER                                             Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTIN ELIZABETH TUTEN                                             Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTIN GATTER                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTIN GATTER                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTIN LEE GEISLER                                                 Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTIN LOFGREN                                                     Common Shares               213   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTIN MASUNAGA                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTINA A DEWEY                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTINA DOHERTY                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTINA FERRAN                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTINA HOLTROP                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

KRISTINA LYNN WRIGHT                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTINA SHERK AND MARIUS MALHERBE                                  Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTINE A KOENIG                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTINE W HANNA                                                    Common Shares               212   Common
ADDRESS AVAILABLE UPON REQUEST

KRISTOPHER BRANDT BAHOUTH                                           Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

KROY BIERMANN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KRYSTEL SANFORD                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

KRYSTOF RADEK                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KRYSTYNA MCQUEENEY                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

KUKUS LLC                                                           Common Shares          341,398    Common
ADDRESS AVAILABLE UPON REQUEST

KUMAR SANAM                                                         Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

KUMNEGER EMIRU                                                      Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

KUNAL BAVISHI                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

KUNAL JAIN                                                          Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

KURKCIYAN INVESTING LLC                                             Common Shares               530   Common
301 N WALKER AVE 6301
OKLAHOMA CITY, OK 73102

KURKCIYAN INVESTING LLC                                             Common Shares               375   Common
301 N WALKER AVE 6301
OKLAHOMA CITY, OK 73102


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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

KURT R BYER                                                         Common Shares                230    Common
ADDRESS AVAILABLE UPON REQUEST

KURT ROSKOPF                                                        Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

KUSH AKOTIA                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

KVL INVESTMENT TRUST                                                Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

KWAKU OFORI-DARKO                                                   Common Shares                220    Common
ADDRESS AVAILABLE UPON REQUEST

KWOK FUNG AU YEUNG                                                  Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

KWOK HO CHAN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE BUNIGER                                                        Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE CRIER                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE DEES                                                           Common Shares                159    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE GILLS                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE GREGORY                                                        Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE MCFARLANE                                                      Common Shares               1,225   Common
ADDRESS AVAILABLE UPON REQUEST

KYLE R BOWMER                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE THOMAS PRANDI                                                  Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

KYLE WOODS URRUTIA                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

KYRON RAMOO                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

KYSHA HARRIELL                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

L JONES                                                             Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LACEY HUTCHISON                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LADORIAN LATIN                                                      Common Shares                180    Common
ADDRESS AVAILABLE UPON REQUEST

LAKIA MINGO                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAMINGO VERWALTUNGS GMBH                                            Common Shares               4,771   Common
HAUPTSTRASSE 16
SINGAPORE
SINGAPORE

LAMONT BEEBE                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LANCE HORTON                                                        Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

LANCE WILLIS                                                        Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

LANDE NG                                                            Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LANDON THOLEN                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAP KONG POON                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LARISA BROWN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY D HINES                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY E SHULTZ                                                      Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY EDWARD BUCHMANN                                               Common Shares                150    Common
ADDRESS AVAILABLE UPON REQUEST


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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

LARRY ELLINGSON                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY FERGUSON                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY JAMES EGGENBERGER                                             Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY JOHNSON                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY LEVENBERG                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY R PRICE                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LARRY SELLECK                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LARS MAPSTEAD                                                       Common Shares               2,210   Common
ADDRESS AVAILABLE UPON REQUEST

LARS ULLMAR                                                         Common Shares                147    Common
ADDRESS AVAILABLE UPON REQUEST

LASHICONNAH HAMMER                                                  Common Shares                469    Common
ADDRESS AVAILABLE UPON REQUEST

LATOSHA HUTCHINSON                                                  Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LATOYA DUPREE                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAU TSZ CHUN                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAUNCE M TURNER                                                     Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA ANN WOODRUFF                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA B SHANNON                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA CULLINAN                                                      Common Shares                142    Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

LAURA DAWN JONES                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA EALY                                                          Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA HALL COOPER                                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA HOGAN                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA JOUKOVSKI                                                     Common Shares               4,057   Common
ADDRESS AVAILABLE UPON REQUEST

LAURA JUSTINE JACOBSON                                              Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA KMIOTEK                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA L TIMMIS                                                      Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA LERNER                                                        Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA LYNN GAWEL                                                    Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA OLSON                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA PARNELL                                                       Common Shares                453    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA PORTO                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA QUENZER                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA QUINN                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA QUINN                                                         Common Shares                503    Common
ADDRESS AVAILABLE UPON REQUEST

LAURA RODRIGUEZ                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

LAURA STRIDIRON                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREL ANN HOPSICKER                                                Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN BASCUE                                                       Common Shares                365    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN DAVID                                                        Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN DEBOALT                                                      Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN E MOSKOWITZ                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN FLEMEN                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN KOENIG BUMP                                                  Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN LARSON                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN LYNN IHDE                                                    Common Shares                507    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN M OFLAHERTY                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN MCMILLIAN                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN MICHELSON                                                    Common Shares                107    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN MIFFLIN                                                      Common Shares                221    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN MILLER                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN SELIG                                                        Common Shares               2,524   Common
ADDRESS AVAILABLE UPON REQUEST

LAUREN TAYLOR JAMES                                                 Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LAURENCE GIRARD                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LAURENCE J SPRAGUE                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LAURENT WAHARTE                                                     Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

LAURIE LEE                                                          Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

LAURINE TRAQUAIR                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE A DESPAIN                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE AUBE                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE H POMEROY                                                  Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE JAY KANTROWITZ                                             Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE JOSEPH NAJVAR JR                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE JOSEPH SCHIEFER                                            Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE LANKFORD                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE MARTINI                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE MOONEY                                                     Common Shares               716   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE PERL                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE PORTER                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE STOLTENBERG                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

LAWRENCE W JENNEMAN JR                                              Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAWRENCE YOUNG                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LAZARO SANCHEZ-PINTO                                                Common Shares                416    Common
ADDRESS AVAILABLE UPON REQUEST

LAZARUS REESE                                                       Common Shares                203    Common
ADDRESS AVAILABLE UPON REQUEST

LEAH KOCH DEBIASE                                                   Common Shares                220    Common
ADDRESS AVAILABLE UPON REQUEST

LEAH SEITZ                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LEANN ROBINSON                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LEE FRAZEE                                                          Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

LEE RESTA                                                           Common Shares               4,421   Common
ADDRESS AVAILABLE UPON REQUEST

LEEANN MONTEVERDE                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LEENA EMILY ASUMA                                                   Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LEHMAN HEAVILAND                                                    Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

LEI CAMILLE MARTIN                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

LEI CONG                                                            Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LEIA SHANKS                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LEIGH MIDDLEDITCH                                                   Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LEILA BRAMMER                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LEK SECURITIES CORPORATION                                          Common Shares               452   Common
4 WORLD TRADE CENTER FL 44
150 GREENWICH STREET
NEW YORK, NY 10007

LELA ALTMAN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LELAND JOSEPH FIEGEL                                                Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

LELAND Y L CHING                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LENDBERGH HOBSON                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LEO MCFARLAND                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

LEONARD M LONG                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LEONARD METILDI                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LEONARDO PILLE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LERONE LATOUCHE                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LEROY NORIEGA                                                       Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

LEROY WILLIAMS JR                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LESA GRILLO                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

LESLEY COMBS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LESLIE FLYNN                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

LESLIE HUCKLA                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

LESLIE JEANNE YOUNG                                                 Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

LESLIE JON SIMON                                                    Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

LESLIE MELVIN BREHM                                                 Common Shares               1,326   Common
ADDRESS AVAILABLE UPON REQUEST

LESLIE WILLIAMS                                                     Common Shares                106    Common
ADDRESS AVAILABLE UPON REQUEST

LESTER H BEACHY                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LESTER R MELNICK                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LETICIA TREVINO CRUMP                                               Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

LEVI KENNETH-ALEXANDER STEWART                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LEVI VERNER                                                         Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

LEWIS LAMAR BARNEY                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

LI LI                                                               Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

LI ZHU                                                              Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

LIAM DOLPHIN                                                        Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

LIAN WALKER                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

LIBERATO MARTUCCI DIAZ                                              Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

LIBOR JAKUBEC                                                       Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

LIESL SONGER                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LIFESTYLE BOOKKEEPING LLC                                           Common Shares                71   Common
5191 W SHADY PARK LANE
HERRIMAN, UT 84096

LIHONG CHEN                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LILIA DIAZ DE LEWIS                                                 Common Shares               720   Common
ADDRESS AVAILABLE UPON REQUEST

LILIA KRASNOPOLSKAJA                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LILIAN ONWUKA                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LILLIAN NOON                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LILLIAN VICTORIA RAFF                                               Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

LILY LAWN-TSAO                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LILY MCCULLOUGH                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

LIN B HEATH                                                         Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA ADAMS                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA ANN MONACO                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA BONDELLIO                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA BURBAGE                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA FUENTES                                                       Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA G WILEY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST



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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LINDA HAWARD                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA KAY FOUST                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA LANNEN                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA SAMPSON                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA TUFTS                                                         Common Shares               365   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA WALKER                                                        Common Shares               423   Common
ADDRESS AVAILABLE UPON REQUEST

LINDA WU                                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSAY ALYSE WRIGHT                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSAY CREAMER ROBJENT                                             Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSAY CRESPY                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSAY ELYSE SHARPE                                                Common Shares               361   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSAY LAYNE                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSEY ANNE DAL PORTO                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSEY BETH KNOWLES                                                Common Shares           20,300    Common
ADDRESS AVAILABLE UPON REQUEST

LINDSEY DUGGAN                                                      Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSEY EMERSON                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LINDSEY HAUGER                                                      Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LINGTAO XIE                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LISA ARNSDORFF                                                      Common Shares                73   Common
ADDRESS AVAILABLE UPON REQUEST

LISA BREDESEN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LISA DOYLE                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LISA ELAINE GLASSCOCK                                               Common Shares               443   Common
ADDRESS AVAILABLE UPON REQUEST

LISA GANSKY                                                         Common Shares               425   Common
ADDRESS AVAILABLE UPON REQUEST

LISA HEMKER                                                         Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

LISA HLINKA                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

LISA HOLMES                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LISA HSIEH                                                          Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

LISA JANE MYERS                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LISA JO WINANS                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LISA JOYCE RISING ORTIZ                                             Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LISA KAREN DOYLE                                                    Common Shares               112   Common
ADDRESS AVAILABLE UPON REQUEST

LISA LUCIA GONIA                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LISA MARBURY                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LISA NEUMAN                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LISA PETERSON                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LISA TEAGUE                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

LISA WISELY                                                         Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

LISA WU                                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LISMAR GODOY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LITTLE LION'S SHARE LLC                                             Common Shares           31,250    Common
8011 BLERIOT AVE
LOS ANGELES, CA 90045

LIXIA CAI                                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LIZA GEONIE                                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LLOYD J COOK                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

LLOYD MARTIN                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LOGAN CHILDERS                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

LOGAN SMITH                                                         Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

LOHIT KUMAR RANGINENI                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LOIS KOSCO                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LOK TING CHEUNG                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LOKESHWAR MADDINENI                                                 Common Shares               450   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LOKESHWAR MADDINENI                                                 Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

LONG NGUYEN                                                         Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

LONNIE HAWKINS                                                      Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

LORACE RIMANDO MANALO                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LORALIE MCGUIRE BRENNEN                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LORCAN CONOR MAGUIRE                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LOREN LEE                                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LOREN WOOD                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LORENE MANN                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LORENZ WEIDL                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LORETTA FRIDLUND                                                    Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

LORI GLONEK                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

LORI LYNN TORGERSON                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LORRAINE HAIYAN KO                                                  Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

LORYBETH VENTURA                                                    Common Shares               139   Common
ADDRESS AVAILABLE UPON REQUEST

LOTUS CAPITAL LLC                                                   Common Shares           14,727    Common
ADDRESS AVAILABLE UPON REQUEST

LOUIS H EWING                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

LOUIS RONALD PETERS                                                 Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

LOUIS SPAETH                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LOWELL WILLIAMS                                                     Common Shares                270    Common
ADDRESS AVAILABLE UPON REQUEST

LPL FIN CORP (0075)                                                 Common Shares               6,776   Common
ATTN: CORPORATE ACTIONS
1055 LPL WAY
FORT MILL, SC 29715

LUAN NGUYEN TRACHTMAN                                               Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

LUCAS J BOLAR                                                       Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

LUCAS SOUCY                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

LUIGI NUNEZ                                                         Common Shares                141    Common
ADDRESS AVAILABLE UPON REQUEST

LUIS A DIAZ                                                         Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

LUIS G DE SILVA                                                     Common Shares                312    Common
ADDRESS AVAILABLE UPON REQUEST

LUIS IZQUIERDO                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

LUIS PEREZ                                                          Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

LUIS ROGELIO SOLTERO CASELLAS                                       Common Shares                 81    Common
ADDRESS AVAILABLE UPON REQUEST

LUKAS DJUANDA                                                       Common Shares                315    Common
ADDRESS AVAILABLE UPON REQUEST

LUKAS ORTNER                                                        Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

LUKAS SOLTYSIK                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST


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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LUKASZ SOKOL                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LUKE ANDREW SURAK                                                   Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

LUKE JONATHAN PURDY                                                 Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

LUKE RODGERS                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

LUKE WILLIAM HEDMAN                                                 Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

LUNA BECK                                                           Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

LUSENII KROMAH                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

LUTHER D OCHILTREE                                                  Common Shares               231   Common
ADDRESS AVAILABLE UPON REQUEST

LUZ V LOPEZ                                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LUZDIVINA VINE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LYDIA YOUNG                                                         Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

LYLE PUFFE                                                          Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

LYMAN E KING III                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

LYNETTE F BROWN                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LYNN C RASMUSSEN                                                    Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

LYNN CHRIST                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

LYNN E MORSE                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

LYNN M AND BRIAN T LESCHORN                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

LYNNE Z DRESSEN                                                     Common Shares               302   Common
ADDRESS AVAILABLE UPON REQUEST

MACK DILLER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MADALENA DEWITT                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MADELEINE KUBLI                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MADELEINE WANT                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MADELINE KAY HERRERA                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MADELINE ROBISON                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MADHURI CHANDRA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MADHURI VANGALA                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MADISON ELIZABETH FRAZIER                                           Common Shares               289   Common
ADDRESS AVAILABLE UPON REQUEST

MADISON MARCUS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MADISON TRUST CO CUSTODIAN F/B/O MICHAEL MALOUF                     Common Shares           28,850    Common
ADDRESS AVAILABLE UPON REQUEST

MAEVE A MOLLOY                                                      Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

MAGAW ENTERPRISES INC                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAGDALENA HULTSTRAND                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAGGIE LUONG                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MAGGIE MCCARTHY                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAGGIE MCDONALD                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MAHAD MOHAMED                                                       Common Shares               359   Common
ADDRESS AVAILABLE UPON REQUEST

MAHENDRA ROBERT BAPNA                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MAHENDRA S VELCHURU                                                 Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MAHESH GONDI                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MAHESH GOPINATHA MENON                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAHESH SADHU PHULWANI                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAHESHWAR PANYALA                                                   Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

MAHESWARA SURAPUNENI                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAHIDHAR SUGURU                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MAISON BILLIART INC                                                 Common Shares               221   Common
263 BAINBRIDGE ST
BROOKLYN, NY 11233

MAKINI DAVIS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MALCOLM FIFER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MALGORZATA POLEWCZYNSKA                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MALINDA HARRIS                                                      Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST



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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MALLIE EASTERLIN                                                    Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

MALLIKA SIMONE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MALLORY ROSS                                                        Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

MALLORY SESSIONS                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MALVEEKA SHARMA                                                     Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

MANDEEP ATWAL                                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MANDY TSUI                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MANHATTAN PERRY                                                     Common Shares               177   Common
ADDRESS AVAILABLE UPON REQUEST

MANIKANDAN VENKATACHALAM                                            Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MANISH ARORA                                                        Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

MANISH PATEL                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MANISHA SANJAY SABNANI                                              Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MANJEET BRAR                                                        Common Shares                92   Common
ADDRESS AVAILABLE UPON REQUEST

MANJIT HANSRA                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

MANLEY JULES                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MANOJ ADURU                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MANOJ KUNCHALA                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MANOJKUMAR S PATEL                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MANPREET SIDHU                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MANUEL APODACA                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MANUEL J LAUREL                                                     Common Shares               142   Common
ADDRESS AVAILABLE UPON REQUEST

MANUEL MAI                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MANUEL STAHL                                                        Common Shares               161   Common
ADDRESS AVAILABLE UPON REQUEST

MANUEL STAHL                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARC BALCKE                                                         Common Shares               141   Common
ADDRESS AVAILABLE UPON REQUEST

MARC BALCKE                                                         Common Shares               441   Common
ADDRESS AVAILABLE UPON REQUEST

MARC BRACK                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARC BRODEUR                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARC ELLIS                                                          Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MARC LESSER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARC MCDONALD                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARCEL BOCK                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARCELO ALEJANDRO PEREZ                                             Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MARCELO MEDRANO                                                     Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MARCO NAGELI                                                        Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

MARCOS KINZKOWSKI                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARCUS ANTHONY CHAIREZ                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARCUS BRYANT                                                       Common Shares               274   Common
ADDRESS AVAILABLE UPON REQUEST

MARCUS MILAZZO                                                      Common Shares               346   Common
ADDRESS AVAILABLE UPON REQUEST

MAREK SWITAJEWSKI                                                   Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

MAREN FRALEY                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET ANN EVANS FALLIS                                           Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET DONOGHUE                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET FRANCOIS                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET HODGE                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET IDA JESSOP                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET LARKEY DOW                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET MATTHEWS                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARET MCCARTHY                                                   Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

MARGARITA MONDEJO                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARGIE ANN RICKS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MARGO ARNOLD                                                        Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA ASCENCIO                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA BELEN TENORIO VIVANCO                                         Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA BROMLEY                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA C TIGLAO                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA CAPANO                                                        Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA D'ALESSANDRO                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA DEL PILAR LONDONO                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA EILEEN DETROIJE-JOHNSON                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA MARINA AGUILAR-ARGUETA                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA MATIAS                                                        Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA PATRICIA MESA JARAMILLO                                       Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA PATRICIA MESA                                                 Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA PIMENTEL                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA RAGGOUSIS                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA TEICHROEB                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARIA VERONICA SALADINO                                             Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MARIA YESENIA RIVERA                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARIANA C SOUSA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARIANN DEPPE MCGEE                                                 Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

MARIANO SALINAS                                                     Common Shares               465   Common
ADDRESS AVAILABLE UPON REQUEST

MARIBEL CRUZ                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARIE M TAN                                                         Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

MARIE MULLARKEY                                                     Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

MARIELLE GALLAJONES                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARIKA ROQUE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARILYN WRIGHT                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARINA MEHRTENS                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARINA WARREN NASH                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARIO ADRIAN MIGLIETTA                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARIO AMARO                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARISA CARLSON                                                      Common Shares                97   Common
ADDRESS AVAILABLE UPON REQUEST

MARISA MARTINEZ                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARISA MAURER STONE                                                 Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MARISSA CRISTINA CUMMINGS                                           Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARISSA SHERMAN                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARITES DIAZ                                                        Common Shares               142   Common
ADDRESS AVAILABLE UPON REQUEST

MARJAN TEHRANI                                                      Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

MARK A HERZFELD                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARK A RIDGLEY                                                      Common Shares               254   Common
ADDRESS AVAILABLE UPON REQUEST

MARK A TALLEY                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARK A WESTERFIELD                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BARGER                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BATHRICK                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BORDCOSH                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BRAMLEY                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BRASE                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BREVNER                                                        Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BRODBECK                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MARK BUTLER                                                         Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

MARK CALOCA                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

MARK D HUSTEDT                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MARK DAVID TEMPLE                                                   Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

MARK FLANDERS                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MARK FRITZ                                                          Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MARK HELLER                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MARK J MERRIMAN                                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

MARK JENSEN                                                         Common Shares                375    Common
ADDRESS AVAILABLE UPON REQUEST

MARK JOHN MUDIE                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MARK JOLLY                                                          Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

MARK KOBAL                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MARK LOUGH                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MARK MARGULIS                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MARK MARINO                                                         Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

MARK MATTHEWS                                                       Common Shares               1,514   Common
ADDRESS AVAILABLE UPON REQUEST

MARK MCGOEY                                                         Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

MARK MELVIN JOHNSON                                                 Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

MARK MING-YING CHEN                                                 Common Shares                142    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MARK MOUSSEAU                                                       Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

MARK NUSBAUM                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARK PERRINE                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARK POEPPELMEIER                                                   Common Shares               275   Common
ADDRESS AVAILABLE UPON REQUEST

MARK R WOOLFSON                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARK RAY                                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK RICHARD VRIEZE                                                 Common Shares               156   Common
ADDRESS AVAILABLE UPON REQUEST

MARK ROBITZ                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARK SCHMIDT                                                        Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

MARK SCHROEDER                                                      Common Shares               473   Common
ADDRESS AVAILABLE UPON REQUEST

MARK SCIALDONE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK SHIELD                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MARK STAFFORD DOWSETT                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARK STEIDLER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK STEPHENS                                                       Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

MARK T OGINO                                                        Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

MARK TAYLOR BARNEY                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MARK THOMAS BELCHER                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARK TIERNEY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARK TROPP                                                          Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARK VAN CLEAVE                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MARK W AINSLEY                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARK W ROEN                                                         Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

MARK W SIMON                                                        Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

MARK WAYNE RHODES                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MARK WEISSMAN                                                       Common Shares               486   Common
ADDRESS AVAILABLE UPON REQUEST

MARK WILLIAM BEATTY                                                 Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

MARK WILLIAM KEELER                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARK WONG                                                           Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

MARKY CHARPENTIER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARLENE MIRA                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARLIN VOSS                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARLINE BLAZE                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARLISE C SKINNER                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

MARLON R NEELY                                                      Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

MARSCO INVESTMENT CORP (0287)                                       Common Shares               4,795   Common
ATTN: KAREN JACOBSEN OR PROXY MGR
101 EISENHOWER PKWY
ROSELAND, NJ 07068

MARSHALL KEYS                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MARTHA BELL                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MARTHA BENNETT                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MARTHA JANE BEST                                                    Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

MARTHA MCCARTHY                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MARTHA SARBELAND                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MARTIN HUGH SMITH                                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MARTIN SCAMINACI                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

MARTINA BERNICE HILL                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MARVA BEVERLEY CHASE                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MARY ANN MCADEN                                                     Common Shares                201    Common
ADDRESS AVAILABLE UPON REQUEST

MARY ANN WALLACE                                                    Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MARY BETH GASSER                                                    Common Shares                531    Common
ADDRESS AVAILABLE UPON REQUEST

MARY CATHERINE DEMBLEWSKI                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MARY CHERYL HORWATH                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARY DANKOSKY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARY DREILING                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARY G PALKO                                                        Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

MARY HALL                                                           Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARY HARVEY DRISDELL                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARY JOHNS                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARY KAITLIN JOHNSON                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARY LYNN BROWN                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MARY LYNN EICHERT                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARY MOLLA                                                          Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MARY PAT JORDAN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MARY PAT THOMPSON                                                   Common Shares           10,822    Common
ADDRESS AVAILABLE UPON REQUEST

MARY PEROSI                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MARY SORRENTINO                                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MARY TSATURIAN                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MARY-PERRY MILLER                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MASHELLE MAURER                                                     Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

MASON MOTES                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATALIA CAPITAL MANAGEMENT LLC                                      Common Shares               721   Common
40 HARRISON STREET APT 38D
NEW YORK, NY 10013

MATIAS WILLIAMS                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MATILDA LANE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATINA FARMER                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MATT MERRICK                                                        Common Shares               181   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW AARON RIVERA                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW AGRAMONTE                                                   Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW BALMER                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW BOOKHOUT                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW BOUTHILETTE                                                 Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW BROSIOUS                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW CHASIN                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW CHISOM NWANKWO                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW CUNNINGHAM                                                  Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MATTHEW DANIEL LAKE                                                 Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW DELANEY                                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW DEMASI                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW DONALDSON                                                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW DWAYNE HUDGINS                                              Common Shares               309   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW E BELL                                                      Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW EDWARDS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW FREITAG                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW GALLAGHER                                                   Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW GARRISON CAMPBELL                                           Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW GOFF                                                        Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW GREGORY HASTY                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW J BEDNARZ                                                   Common Shares               194   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW JAMES GRAZIANO                                              Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW JAMES KRESKI                                                Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW JOHN CONNOR                                                 Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW JOHN LEWIS                                                  Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MATTHEW JONES                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW KATZ                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW KATZ                                                        Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW KNEHR                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW MCGRATH                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW NATHANSON                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW NORRIS                                                      Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW ONDRUSEK                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW P BRISLIN                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW PATTISON                                                    Common Shares               146   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW PICKETT                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW PITLICK                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW POTTER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW RICKS-WILSON                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW RODE                                                        Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW ROUNTREE                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW SCHROEDER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

MATTHEW STAUBLE                                                     Common Shares                666    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW THELEN                                                      Common Shares          169,353      Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW THOMAS DONAGHUE                                             Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW THORNTON                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW TIAMPO                                                      Common Shares               7,211   Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW TIDWELL                                                     Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW TURLIP                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW V POLLACK                                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW VOGELE                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW VOLDENG                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW WALTZ                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW WHITE                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW WILLIAM SULLINS                                             Common Shares                220    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHEW ZARNOCH                                                     Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

MATTHIAS SCHMITT                                                    Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

MAUD EMILLE SIMEON                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MAULIN PATEL                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MAURA P MCDERMOTT                                                   Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

MAUREEN ANN OCASIO                                                  Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MAUREEN CARLOMAGNO                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAUREEN HARMON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAURICE DEMETRIUS ROPER                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAURICIO DAVID COEN MORAGA                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAURICIO SABOGAL                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MAVERICK ARCENA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAX DENG                                                            Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MAX DUFOUR                                                          Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MAX FELICE MARCHINOE                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAX GREBNER                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAX HERNANDEZ                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MAX STRAUSS                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MAXIME DAVID ERIC DUBREUCQ                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MAXWELL CONNOR JAMES                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAYA SYKES                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MAYANK KHANNA                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAYNARD LEE CRESSMAN                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

MAYOWA LANIRAN                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAYRA ACOSTA                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MAYUR K CHHITA                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MAYUR SUBHASH BAJAJ                                                 Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MBM TRADING LLC                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MC ESTATES INC 401K PSP                                             Common Shares                71   Common
25586 E ALDER DR
AURORA, CO 80016

MCFARLANE FAMILY TRUST                                              Common Shares          158,208    Common
ADDRESS AVAILABLE UPON REQUEST

MEAGAN DIANE MOBLEY                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MEENU SOOD                                                          Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

MEGAN FAY MALONEY                                                   Common Shares               175   Common
ADDRESS AVAILABLE UPON REQUEST

MEGAN HOWARD                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MEGAN KEHOE                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MEGAN KEW                                                           Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MEGAN N HOGGE                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MEGAN SCHNEIDER                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MEGAN WELKER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MEGGAN MCCANN                                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MEGHAN DOOLEY                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MEHRAN MEHRESPAND                                                   Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

MEHRAN MEHRESPAND                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MEHRDAD NADEM                                                       Common Shares               440   Common
ADDRESS AVAILABLE UPON REQUEST

MEI ZHANG                                                           Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MEIBO GUO                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MEIQING FAN                                                         Common Shares               196   Common
ADDRESS AVAILABLE UPON REQUEST

MELANIE ANNE PRIOR                                                  Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

MELANIE BALKE                                                       Common Shares               111   Common
ADDRESS AVAILABLE UPON REQUEST

MELANIE L KUSMIK                                                    Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

MELANIE LOGAN                                                       Common Shares               133   Common
ADDRESS AVAILABLE UPON REQUEST

MELANIE ODETTE SANTOS                                               Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

MELANIE PREINER                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MELANIE WILLIAMS                                                    Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MELENIE P HERNANDEZ                                                 Common Shares               225   Common
ADDRESS AVAILABLE UPON REQUEST

MELICAP INVESTMENTS LLC                                             Common Shares                88   Common
STR RESTAURANTULUI 24 VULCANA PANDELE
DAMBOVITA 137540
ROMANIA

MELINA ALEJANDRA MIRAMONTES                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MELINDA KAYE SINGH                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MELINDA LIGGETT                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA ANNE STRONG                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA BARRECA                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA DIETRICH                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA HARLAN                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA HARRIS-PEROTTI                                              Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA HOSONO                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA HOUGH                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA LYNN DEAN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA MARTINEZ                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA MATTHEWS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA PINKNEY                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MELISSA SHAMBERG                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA WILLIAMS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MELISSA ZAHNER                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MELODY BROWN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MELVIN TAN                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MENURA LABROOY                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MEREDITH VLAHAKIS                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MERLIN E MAPES                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MERVYN PERCY BLOOM                                                  Common Shares               450   Common
ADDRESS AVAILABLE UPON REQUEST

METIN MANGUT                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MEYER ABADI                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MH-51 LLC                                                           Common Shares                78   Common
601 PATTON BLVD APT 481
PLANO, TX 75075

MICAH SKEENS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL A CARROLL                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL A GROSS                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ALTMANN                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL ANDREW LOHMANN                                              Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ANTHONY SCHIAPPA                                            Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL BAHRA                                                       Common Shares                26   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL BAKER                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL BARANCHUCK                                                  Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL BARTUSIAK                                                   Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL BASSFORD                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL BRUNMEIER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL C HIDAY                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL C STEWARD                                                   Common Shares               365   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CARDENAS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CARDWELL                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CHIAPPONE                                                   Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CHIYEW LEUNG                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CHMURA                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CHRISTIAN COLEMAN                                           Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CHRISTOPHER STADVEC                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL CODERRE                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL COGLIANESE                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL COLE                                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL CZERWINSKI                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL D BROADWATER                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL D KARSKY                                                    Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL DAICHES                                                     Common Shares                30   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL DAY                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL DEAN BELCHER                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL DELAMATER                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL DEMAREE                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL DIAZ                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL DUPREE                                                      Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL E HUISMAN                                                   Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ECK                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL EDWARD VOICHAHOSKE                                          Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ERCOLE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL FAZIO                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL FINK                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL FLANAGAN JR                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL FRANK GARDNER                                               Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL G DURNIN                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GALLAGHER                                                   Common Shares               110   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GERLACH                                                     Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GIROUARD                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GLANCEY                                                     Common Shares               257   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GRIFFIN                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GRIFFIN                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GRONSKY                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GROSS                                                       Common Shares               219   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL GUTTADARO                                                   Common Shares               110   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HACHE                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HALBERT                                                     Common Shares               258   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HANEY                                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL HAUGH                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HECHT                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HEINEY                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HENRY DIEM                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HODGSKIN-BROWN                                              Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HOUSE                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL HUNTER                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL J BROUDY                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL J SORENSEN                                                  Common Shares               268   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL J WOLF                                                      Common Shares               112   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL J WOODLIEF                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAICOMO                                                     Common Shares               526   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAMES BELLIOTTI                                             Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAMES BROOKS                                                Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAMES CONWAY                                                Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAMES FRADELIS                                              Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAMES GENELLI                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL JAMES HALBERT                                               Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAMES MORTON                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAMES PRUENTE JR                                            Common Shares               140   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JANIKIS                                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JASON STORM                                                 Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JAUSS                                                       Common Shares               182   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JOHN BENWELL                                                Common Shares               362   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JOHN HAND                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JOHN STRASSHEIM                                             Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JON GRAY                                                    Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JONATHAN ROWE                                               Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL JUSTIN MASSIMO                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL K KENNEDY                                                   Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL K ROGERS                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL KEARNEY                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL KESER                                                       Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL KJOME                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL L SARUK                                                     Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL L WENNING                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL LAGARDE                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL LANE                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL LAWRENCE GUTHRIE                                            Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL LAWRIE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL LESKER                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL LISS                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL LLENZA                                                      Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MAJEED                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MARTIN TAYLOR                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MARTINI                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MATTISON                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MAXWELL                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MAY                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MICHALAK                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MINGYI MA                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL MOREHOUSE                                                   Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL MUDREY                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL OCONNOR                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL O'DRISCOLL                                                  Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL OWENS                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL P WINTER                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PAPENFUSE                                                   Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PARENT                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PARKER                                                      Common Shares               275   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PAUL CRANE                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PAUL LEVINE                                                 Common Shares               287   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PAYNE                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PETERMAN                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PITTMAN                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PRUENTE JR                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PULASKI                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL PUSTELNIAK                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

MICHAEL PYTLIK                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL RACKE                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL RAY DAVIS                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL RICHARD TOPE                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL RITTER                                                      Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ROBERT BOWLING                                              Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ROBERT CAMPBELL                                             Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ROBERT UHL                                                  Common Shares                264    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ROSENBLUM                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ROTH                                                        Common Shares               1,262   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL S HELEVA                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL S KENNISTON                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SANTANGELO                                                  Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SCHAAR                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SCHILPEROORT                                                Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SCHMITT                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SCHNEIDER                                                   Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

MICHAEL SCHNEIDER                                                   Common Shares                178    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SCIARA                                                      Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SCOTT PIERCE                                                Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SEWELL                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SIMONI                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SINKS                                                       Common Shares                262    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL SPENCER VAN BRUNT                                           Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL STANEK                                                      Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL STE MARIE                                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL THOMAS NEMERGUT III                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL THOMAS SLATTERY                                             Common Shares                190    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL THOMAS THAYNE                                               Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL THOMAS WEST                                                 Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL TODRYK                                                      Common Shares               4,421   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL TRAUB                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL W TIGHE                                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL WAGNER                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHAEL WALTERS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL WHITAKER                                                    Common Shares               790   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL WILLIAMSON                                                  Common Shares               141   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL WOOD                                                        Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL WYBLE                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAEL ZUNIGA                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHAELE HYMES TRUSTEE OF THE MICHAELE HYMES                        Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

MICHEAL DANBOM                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELE A BARARD                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELE ANN ROZENBERG                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELE HUNTER                                                      Common Shares               420   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELE L DEARMENT                                                  Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE ANGELA CASALI R L T U/T/A 11-12-2004 AS AMENDED            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE BINGHAM                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE DEL VALLE                                                  Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE F LABORDE                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE GIOVE                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

MICHELLE GRANSKOG                                                   Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE HETTIARACHCHY                                              Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE JOY SCHWARTZ                                               Common Shares               1,767   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE K THOMAS                                                   Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE KALNAS                                                     Common Shares                 89    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE KOO                                                        Common Shares                277    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE KYIN                                                       Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE LAM                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE LAMARCA                                                    Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE LEE DOCTOROFF                                              Common Shares                315    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE LUEDTKE                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE LYNN BINGHAM                                               Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE MADISON                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE NELSON                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE PENNEY OSTERHAUS                                           Common Shares                439    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE RUBESCH                                                    Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE SCHWARTZ                                                   Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MICHELLE SOLTIS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE TRUDEAU HARRISON                                           Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

MICHELLE YING LEI                                                   Common Shares               567   Common
ADDRESS AVAILABLE UPON REQUEST

MIDHAT QIDWAI                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MIGUEL ALEXANDER RIVERA                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MIGUEL CUEVAS                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MIGUEL DUWAYNE CHARLES                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MIGUEL ONATE                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MIGUEL VALDES                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MIHAI MOCEAN                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MIHIRI RAJAPAKSA                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MIIA SUORTTI                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MIKE E ROUSSEL                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MIKE JULIAN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MILAGROS CAMACHO                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MILAGROS PEREYRA-ROJAS                                              Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MILDRED WILLIAMS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MILIND GOKHALE                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MILIVOJE BRKOVIC                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MINDFULL CONNECTIONS PTY LTD                                        Common Shares                71   Common
37 ISAACS WAY WAKERLEY
QUEENSLAND
AUSTRALIA

MINDY JAY DRUE                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MIRANDA FORD                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MIRANDA SOFER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MIREYA BANUELOS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MIRI KIM                                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MIRIAM M ROMAN                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MIRJA BAUER                                                         Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

MIROSLAV RADEVIC                                                    Common Shares               154   Common
ADDRESS AVAILABLE UPON REQUEST

MISSION GROWTH INVESTMENTS LLC                                      Common Shares               221   Common
24 BEGONIA LANE
MONROE TOWNSHIP, NJ 08831

MITCH PHILLIPS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MITCHEL GODAT                                                       Common Shares               163   Common
ADDRESS AVAILABLE UPON REQUEST

MITCHELL ISAAC                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MITCHELL SANABRIA                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MITCHELL WIESNER                                                    Common Shares               251   Common
ADDRESS AVAILABLE UPON REQUEST

MITESH SHAH                                                         Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

MITUL GUPTA                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

MO LI                                                               Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MOHAMMED S RAIS                                                     Common Shares               251   Common
ADDRESS AVAILABLE UPON REQUEST

MOHAMMED SAYEEDUR RAIS                                              Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MOHAN DANDAMUDI                                                     Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

MOHIT JAYASWAL                                                      Common Shares               886   Common
ADDRESS AVAILABLE UPON REQUEST

MOHITKUMAR ARDESHANA                                                Common Shares               274   Common
ADDRESS AVAILABLE UPON REQUEST

MOHSSEN KALAEE                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MOISES MASCORRO                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MOLLY FRANCIS SKONIECZNY                                            Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MOLLY GUTHRIE                                                       Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

MOLLY J LEEN                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MOLLY MARGARET CHANEY                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MONET CHANTAL HERRSCHER MAXWELL                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

MONICA ALEXANDER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MONICA ENGELHARDT                                                   Common Shares               309   Common
ADDRESS AVAILABLE UPON REQUEST

MONICA LINDSAY                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MONICA LYNN SMITH                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MONIQUE DOMIAN                                                      Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

MONIQUE R ELIEZER                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MONROE ASAMI                                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

MONROE JOHNSON III                                                  Common Shares               146   Common
ADDRESS AVAILABLE UPON REQUEST

MONTE LUEHLFING                                                     Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

MONTY CONGDON                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MONTY CORBET                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

MORGAN CASTROGIOVANNI                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MORGAN MAURER                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MORGAN STANLEY & CO. (0015, 0050)                                   Common Shares           66,438    Common
ATTN: MS PROXY DEPT
1300 THAMES ST WHARF
BALTIMORE, MD 21231

MORRIS GELMAN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MOSES JAME                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

MOSES MATLIN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

MOSTAFA TEHRANI                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

MOUYIN CHEN                                                         Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

MR KERRY RAYNARD MADDEN                                             Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

MRS LAURIE INOKUMA                                                  Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

MUKESH NAYI                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MUKUND P GODBOLE                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

MULLINS COURTNEY                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

MURRAY HOLLINGS                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

MURUGAN RAMANATHAN                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MUSTAFA GURLEROGLU                                                  Common Shares               128   Common
ADDRESS AVAILABLE UPON REQUEST

MYCHAL THOMAS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

MYLES MUMFORD                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

NADHIIR CHANAWALA                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NADINE KACHUR                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

NAGALAKSHMI SOMASUNDARAM                                            Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

NAKUL RAJ BANSAL                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NAN TOMBONI                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

NANCY ALVAREZ                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NANCY CHENEY                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

NANCY J ELLINGTON                                                   Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

NANCY KIM                                                           Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

NANCY L WILLIAMS                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NANCY OATES CAMPBELL                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NANCY SANSONE                                                       Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

NANCY SIMPSON                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

NANDISHKUMAR ZALAVADIA                                              Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

NANKRISHNA PERSAUD                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NAOKI SHIMODA                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

NAOKO FUKUNAGA                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NAOKO KIMURA                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

NAPOLEON KNIGHT                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

NARENDRA CARAMBIAH                                                  Common Shares               302   Common
ADDRESS AVAILABLE UPON REQUEST

NARENDRA GUNTUNUR                                                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

NARESH S PASNUR                                                     Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

NARIN PHOL                                                          Common Shares               182   Common
ADDRESS AVAILABLE UPON REQUEST

NATALIA DIAZ                                                        Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

NATALIE ELAINE WARREN DEES                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NATALIE JORDAN                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NATALIE KIRCHHOFF                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NATALIE RAMIREZ                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NATALIE TROXEL                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

NATALIE VOLKMAN                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NATASHA JELENICH                                                    Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN FLORES                                                       Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN GEHAN                                                        Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN JEDLICKA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN K RAMSAY                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN KRAUSE                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN M CARTER                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN MUBASHER                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

NATHAN MURRAY                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

NATHANIEL JOSEPH                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NATL FIN SVCS. (0226)                                               Common Shares          533,074      Common
ATTN: SEAN COLE OR PROXY DEPT
NEWPORT OFFICE CTR III
499 WASHINGTON BLVD
JERSEY CITY, NJ 07310

NATURAL MERCHANTS INC                                               Common Shares           72,126      Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

NATURAL WELLNESS LLC                                                Common Shares                 88    Common
848 N RAINBOW BLVD 1580
LAS VEGAS, NV 89107

NAVEED QURESHI                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

NAVEEN KUMAR                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NAVEEN NALLA                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NAYAN J PATEL                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

NBCN INC. /CDS (5008)                                               Common Shares                284    Common
ATTN: DANIEL NTAP OR PROXY MGR
1010 RUE DE LA GAUCHETIERE ST. WEST
STE 1925
MONTREAL, QC H3B 5J2
CANADA

NEAL MENAGED                                                        Common Shares               1,253   Common
ADDRESS AVAILABLE UPON REQUEST

NEDI TELVI                                                          Common Shares                 44    Common
ADDRESS AVAILABLE UPON REQUEST

NEIL BARNHILL                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

NEIL BASU                                                           Common Shares                 22    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

NEIL C JOHNSON                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

NEIL E SOUTHERINGTON                                                Common Shares                268    Common
ADDRESS AVAILABLE UPON REQUEST

NEIL HENRIQUES                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

NEIL MCINALLY                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NEIL REID                                                           Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

NEIL WINGATE                                                        Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

NEILESH DAHYA                                                       Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

NELSON LOPEZ                                                        Common Shares               2,219   Common
ADDRESS AVAILABLE UPON REQUEST

NELVIT THORPE                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

NEOGUST                                                             Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

NEREIDA SOTELO                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NERMIN NUREDIN                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NESHERA ANDERSON                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

NET PROTECT WORLDWIDE LIMITED                                       Common Shares                265    Common
ROOM 2301 23 F BAYFIELD BUILDING
99 HENNESSY ROAD
WANCHAI
HONG KONG 999077
CHINA

NEVENA ROUSSEVA                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

NEVILLE JOHN MITCHELL                                               Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NEVILLE POTTER                                                      Common Shares                 95    Common
ADDRESS AVAILABLE UPON REQUEST

NEW PINNACLE CORPORATION                                            Common Shares                 88    Common
3225 MCLEOD DRIVE 100
LAS VEGAS, NV 89121

NGOC PHUNG                                                          Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

NGOC VU                                                             Common Shares                268    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS ADAM DE RAAD                                               Common Shares                757    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS ADAM SOUTHGATE                                             Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS ANGELIS                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS B KABAT                                                    Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS BONILLA                                                    Common Shares                 26    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS BUBIK                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS CAPOFARI                                                   Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS FERRIF                                                     Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS FRATANTONIO                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS JAMES BRIMLOW                                              Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS JAMES TAPPER                                               Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

NICHOLAS KEMPF                                                      Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS KIRVIDA                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS MEJIAS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS MORGAN VIVION                                              Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS NOVAK                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS ONDREJKA                                                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS PARDON                                                     Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS PICCIOCCA                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS PIZZO                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS POLITIS                                                    Common Shares                35   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS POLITIS                                                    Common Shares                86   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS PRYTHERCH                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS ROGOSIN                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS ROSS                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS SHANE PATRICK                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS SNABES                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS THEODORE GARCIA                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

NICHOLAS VINCENT PREZIOSO                                           Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS WALTER JOHNS                                               Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS WILLIAM MITCHELL                                           Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLAS WILLIAMS                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICHOLE SHOWALTER-CLOUSE                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NICK SETH-SMITH                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICKOLAS PRITZAKIS                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLAS BOUFFORT                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE BACHAUD                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE BLAY                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE CROOMS BRADICA                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE CRUZ                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE DIAMANT                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE GREENLEE                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE KARCZEWSKI                                                   Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE KIERNAN                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE L CLONTZ                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

NICOLE LAWRENCE-GRIER                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE LAWTONE-BOWLES                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE LEONARD                                                      Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE LIAW                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE LYNN LESSARD                                                 Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE MARIE HEETLAND                                               Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE SOPKO                                                        Common Shares               254   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE TSAI                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

NICOLE WILLIAMS                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

NIDHEESH SHARMA                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NIDHI RETIREMENT TRUST                                              Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

NIELS SNYDER                                                        Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

NIGEL C DSOUZA                                                      Common Shares               119   Common
ADDRESS AVAILABLE UPON REQUEST

NIGEL HARRIS                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

NIKESH BAJAJ                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NIKHIL GAHLOT                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

NIKOLA GAGIC                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

NIKOLAUS BASEDOW                                                    Common Shares                186    Common
ADDRESS AVAILABLE UPON REQUEST

NILE HARRIS                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NILESH DHOOT                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

NILESH SAVALIA                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NINA JEANNE LACHMAN                                                 Common Shares                159    Common
ADDRESS AVAILABLE UPON REQUEST

NINA WONG-HAMAMOTO                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NINA ZUBKOVA                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NINAZ TAGHVA                                                        Common Shares                443    Common
ADDRESS AVAILABLE UPON REQUEST

NIRAJ PATEL                                                         Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

NIRAL PATEL                                                         Common Shares                540    Common
ADDRESS AVAILABLE UPON REQUEST

NIRANJAN REDDY                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

NIRVAN KHOKHANI                                                     Common Shares               5,625   Common
ADDRESS AVAILABLE UPON REQUEST

NISHANT MANI                                                        Common Shares               5,555   Common
ADDRESS AVAILABLE UPON REQUEST

NISHANTH CHANDRAN RAMESH CHANDRAN                                   Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

NISHAT JABIN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NITIN KULKARNI                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NMRET LLC                                                           Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

NNEKA SEDERSTROM                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NOAH MICHAEL SPATARO                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NOAH PAPE                                                           Common Shares                133    Common
ADDRESS AVAILABLE UPON REQUEST

NOEL FUNDAN                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NOELLE LOPOPOLO                                                     Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

NOLAN A WHITE                                                       Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

NOLAN GRACE                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

NOLAN ROBIDOUX                                                      Common Shares                216    Common
ADDRESS AVAILABLE UPON REQUEST

NORA SCHILD                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

NORAH SILVER                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

NORANDA BROWN                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

NOREE PREBLE                                                        Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

NOREEN WEISS ADLER                                                  Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

NORM GILCHRIST                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

NORMA J TEAGUE                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

NORMAN D BURGE                                                      Common Shares                309    Common
ADDRESS AVAILABLE UPON REQUEST




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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

NORTHERN TST CO, THE (2669)                                         Common Shares               1,000   Common
ATTN: ANDREW LUSSEN OR PROXY MGR
801 S. CANAL ST
ATT: CAPITAL STRUCTURES-C1N
CHICAGO, IL 60607

NP HOLDINGS LLC                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

NP HOLDINGS                                                         Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

NUN LIAN                                                            Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

NUVIEW IRA FBO JOHN SEABERN                                         Common Shares           10,818      Common
ATTN: JOHN SEABERN
14 WALNUT AVE
MILL VALLEY, CA 94941

O B SKIPWORTH                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

OBED JEAN                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

OBOSEIYE OKOEGUALE                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

OBXNC LLC                                                           Common Shares                337    Common
ADDRESS AVAILABLE UPON REQUEST

OCTAVIUS LAMOUR                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

OKENY ENTERPRISES LLC                                               Common Shares                251    Common
ADDRESS AVAILABLE UPON REQUEST

OKWUCHI AZUBUIKE                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

OLAF VOS                                                            Common Shares                275    Common
ADDRESS AVAILABLE UPON REQUEST

OLANDI HOLDINGS LLC                                                 Common Shares                151    Common
1116 WISHART POINT ROAD
VIRGINIA BEACH, VA 23455



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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

OLBAR MANAGEMENT LLC                                                Common Shares                75   Common
1939 OAK TREE RD
EDISON, NJ 08820

OLEG IVANOV                                                         Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

OLEGAS KOZICYNAS                                                    Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

OLGA BAKER                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

OLGA GOMEZ CASTILLO                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

OLGA LOPUKHIN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

OLIMPIA MASCOLO                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

OLISAEMEKA TOBENNA UZOCHUKWU UFODIAMA                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVER CARBONELL                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVER CASTLEMAN                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVER PFEFFER                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVIA CARTER                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVIA HENLEY                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVIA LUONG                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVIA MCGEE                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

OLIVIA V LAU                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

OLUSOLA OLADIMEJI                                                   Common Shares                26   Common
ADDRESS AVAILABLE UPON REQUEST

OMAR DAVID PEREZ                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

OMAR MARTINEZ GARCIA                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OMAR REAL                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OMAR SILLAS                                                         Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

OMAR WILSON                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OMEAD SINAI                                                         Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

OMG3 VENTURES LLC                                                   Common Shares               375   Common
41079 PAJARO DR
FREMONT, CA 94539

ONG YEN SIONG BENEDICT                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OPEN SKY INVESTMENTS LLC                                            Common Shares                88   Common
10503 MEADOW RUN
PARKER, CO 80134

OPEX PARTNERS SOLO 401K PLAN                                        Common Shares               625   Common
4824 NARRAGANSETT AVE SUITE A
SAN DIEGO, CA 92107

OPPENHEIMER & CO. INC. (0571)                                       Common Shares               462   Common
ATTN: COLIN SANDY OR PROXY MGR
85 BRD ST, 4TH FL
NEW YORK, NY 10004

ORIANA HARGROVE ALDERMAN                                            Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

ORION LANDDEN                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ORLANDO IBANEZ                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ORLANDO LOPEZ-ROMAN                                                 Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

ORLANDO PEREZ                                                       Common Shares               441   Common
ADDRESS AVAILABLE UPON REQUEST

ORONDE M BATCH                                                      Common Shares               288   Common
ADDRESS AVAILABLE UPON REQUEST

OSCAR AGUILAR                                                       Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

OSCAR NORIEGA                                                       Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

OSCAR TRELLES                                                       Common Shares               890   Common
ADDRESS AVAILABLE UPON REQUEST

OSKAR VON HANSTEIN                                                  Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

OSVALDO MARICHAL                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

OSWALD ANTONIUS MARIUS KESSELS                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

OTFRID LIEPACK                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

OWEN LUCAS ADOLPHSEN                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

OZLEM ELGUN TILLMAN                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

P2 PRODUCTIONS LLC                                                  Common Shares                88   Common
3 BURKEWOOD PL
CHARLESTON, WV 25314

PABLO ALONSO ROBLES                                                 Common Shares               194   Common
ADDRESS AVAILABLE UPON REQUEST

PACIFIC CONTINENTAL INVESTMENT COMPANY LLC                          Common Shares          238,548    Common
3115 OCEAN FRONT WALK SUITE 301
MARINA DEL REY, CA 90292

PACIFIQUE NSENGIYUMVA                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PAICOM PARTNERS LLC                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAIGE JAMES GROUP LLC                                               Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

PAIGE KEVYN ANDERSON & TRUDY ELLEN ANDERSON                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PALOMA MARIA DIAZ                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA ALDERMAN                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA CARRILLO                                                     Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA KAY ONEAL                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA MILLER                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA SALSMAN                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA SHERIDAN                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA TEMPSON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAMELA TIERNEY COMPANY LLC                                          Common Shares                81   Common
34 POPLAR MOUNTAIN RD
ERVING, MA 01344

PANG CHING HERNG JEROME COMPANY LLC                                 Common Shares               176   Common
29 GHIM MOH LINK 31-320
SINGAPORE 270029
SINGAPORE

PANKAJ GUPTA                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAOLA PAVAN                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PAOLA SHOOK                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PARESH G VALLABH                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PARESH VALLABH                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PARESHKUMAR PATEL                                                   Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

PARMVIR SINGH SIDHU                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

PASALA RAVICHANDRAN                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PASCAL DE VOS                                                       Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

PASCAL KORSE                                                        Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICE WHITNEY                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA A LA MARR                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA A LONG                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA A TURNER FAMILY TRUST                                      Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA ANN HUSTAD                                                 Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA ANN OBYRNE                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA BROWN                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA BUCK                                                       Common Shares               177   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA BURTON                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA CATO-CHRISTIE                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

PATRICIA COOK                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA CORNETTE                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA R COLEMAN                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICIA WEISS                                                      Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK BOYLE                                                       Common Shares                264    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK CLASEN                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK D'EER                                                       Common Shares                275    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK DJUANDA                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK F WATHEN                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK FALLE                                                       Common Shares               4,421   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK FREDERIC                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK G MALONEY                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK HARRISON                                                    Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK HIGHLAND                                                    Common Shares                500    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK HOOSIER                                                     Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK HURLEY                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK JOSEPH MURPHY                                               Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

PATRICK KUCINSKAS                                                   Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK KYLE BRENNAN                                                Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK LIN                                                         Common Shares               7,211   Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK MCHUGH                                                      Common Shares                928    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK MCKEOUGH                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK MITCHELL                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK ODNEAL                                                      Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK O'REILLY                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK RUSSELL                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK SHARP                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK SOKLEY                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK STEVENSON                                                   Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK THOMAS SCHEIDLER MARTIN                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK TOMLINSON WILSON                                            Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK WALKER                                                      Common Shares                 72    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK WILLIAM MCCUAIG                                             Common Shares                159    Common
ADDRESS AVAILABLE UPON REQUEST

PATRICK WILSON                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PATRICK ZOVISTOSKI F/B/O/ CONNOR A FALLE                            Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

PATRYK KOCENIAK F/B/O SYDNEY M FALLE                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PATRYK KOCENIAK                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PATSY IRENE MILLER                                                  Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

PATTI FISHER                                                        Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL ANTHONY KOCHARHOOK                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL ANTONY WHITEWAY                                                Common Shares               213   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL BELDEN                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL BIEL                                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL BOUCHER                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL BURFORD                                                        Common Shares               112   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL CHAMBERS                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL D BURROWS                                                      Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL DOMBROWSKI                                                     Common Shares               157   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL E BOYLE 401K EZ PENSION PLAN                                   Common Shares               732   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL EDWARD LLOYD JR                                                Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL ERIC DODSON                                                    Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PAUL FIVEZ                                                          Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL GERARD BULLECER                                                Common Shares                89   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL HOLLIER                                                        Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL J HENRY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL JAKOB BONNET                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL JAMES MCLAUGHLIN JR                                            Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL JOHN KAUFFMANN III                                             Common Shares               275   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL JONES                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL JOSEPH BERNS                                                   Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL KOBIERECKI                                                     Common Shares               356   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL KUEHNE                                                         Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL M LOMONACO                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL MARTIN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL MCCULLOUGH                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL MIHICH                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL MOBERG                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL MOORE                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PAUL R W FLORENCE                                                   Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL REGALIA                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL RICHARDS                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL ROBINSON                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL RUSSELL WILD                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL SCHOEB                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL SCHOUTEN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL SCOTT STATELY                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL T COCIUBA                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL THOMAS KLINE                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL WILEY                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAUL ZEMLIN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAULA LAVERTY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAULETTE LANNEAUX                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAULINA HO                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PAULINE JOSEPHINE BLASETTI                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PAULINE PARIKH                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PAULO BORGES                                                        Common Shares               133   Common
ADDRESS AVAILABLE UPON REQUEST

PAVAN KUMAR PRATHIVADI BHAYAMKARAM                                  Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

PAVEL BABUSHKIN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PCB INV INC RETIREMENT TRUST                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

PEDER CHRISTIAN PEDERSEN JR                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

PEDER JAMES HANCHER                                                 Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

PEDRO FRAIRE GARCIA                                                 Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

PEDRO HENRIQUE DIAS                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PELUMI ADEDAYO                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PENNY SARRO                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

PER OLA HENFRIDSSON                                                 Common Shares               756   Common
ADDRESS AVAILABLE UPON REQUEST

PER OLOF VALDEMAR PERSSON                                           Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

PER PERSSON                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

PEREZOSO INVESTMENTS LLC                                            Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

PERRY MIKE CARANCI                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PERRY STEVENS                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PERRY WHITE                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PERSHING (0443)                                                     Common Shares           80,970    Common
ATTN: JOSEPH LAVARA OR PROXY DEPT
1 PERSHING PLAZA
JERSEY CITY, NJ 07399

PETER ABRAHAM                                                       Common Shares               201   Common
ADDRESS AVAILABLE UPON REQUEST

PETER AIME JAN LUC MARIA WOLLAERT                                   Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

PETER ANTONY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PETER AWAD                                                          Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PETER BRODY                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

PETER BRUCE BLEICHER                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PETER CASA                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PETER CHARLES DARLINGTON                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PETER CHIOU                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PETER CHOI                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PETER D WRIGHT                                                      Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST

PETER ERIC PEARSON                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PETER FINNEGAN                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

PETER G WALBRIDGE                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PETER GEFFRARD                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST


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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PETER GEORGE ALBERT DAWS                                            Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

PETER GRIFFITHS                                                     Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

PETER JACKSON DAVIS                                                 Common Shares               427   Common
ADDRESS AVAILABLE UPON REQUEST

PETER JOHN CHRUSTOWSKI                                              Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

PETER JOHNSON                                                       Common Shares               427   Common
ADDRESS AVAILABLE UPON REQUEST

PETER KAPLE                                                         Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

PETER KASMIN                                                        Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

PETER KO YONG CHAI                                                  Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

PETER LIBERATI                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PETER LIECHTY                                                       Common Shares               450   Common
ADDRESS AVAILABLE UPON REQUEST

PETER M WEBER                                                       Common Shares               479   Common
ADDRESS AVAILABLE UPON REQUEST

PETER MATKIWSKY                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PETER NETELBEEK                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PETER OWENS                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PETER TIGER                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

PETER TILY                                                          Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

PETER TING                                                          Common Shares               725   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PETER V ALOISI                                                      Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

PETER VAN DER WAAIJ                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

PETER WHITTAKER                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PETR ZAYTSEV                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PHANI VALIVETI                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PHANIRAJ NAGARAJ                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PHATHOM ATHENA DONALD                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PHEAKTRA CHRIN                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PHIL COGAN                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PHIL STUBEN                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

PHILEMON RAY STRAHM                                                 Common Shares                77   Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP A MESSIER                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP A MEYER                                                      Common Shares               865   Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP BEYER                                                        Common Shares               163   Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP BUDROSE                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP COLEMAN                                                      Common Shares               200   Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP DELVECCHIO                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

PHILIP DENNIS CLARKE                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP FARR                                                         Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP GERONIMO VILLAR                                              Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP HAYNES                                                       Common Shares               1,133   Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP HAYTON                                                       Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP JACK                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP JUL SKOV                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP KILOLO                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP N DEATHERAGE                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP NORDNESS                                                     Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP NORMAN MANLEY ANSTEY                                         Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP OLSON                                                        Common Shares                 89    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP SHEEHAN                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIP WYMAN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PHILIPE DIAO                                                        Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

PHILL CAP (8460)                                                    Common Shares                450    Common
ATTN: PROXY MGR
141 W JACKSON BLVD
CBOT BLDG, STE 3050
CHICAGO, IL 60604
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

PHILLIP ANTHONY JACKSON                                             Common Shares                720    Common
ADDRESS AVAILABLE UPON REQUEST

PHILLIP GODOROV                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

PHILLIP MOSCA                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

PHILLIP RODES JR                                                    Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

PHILLIP WILLIAM BOYD                                                Common Shares               1,009   Common
ADDRESS AVAILABLE UPON REQUEST

PHILLIPUS ARNOLDUS ELOFF                                            Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

PHONEXAY RAJAMOUNTRY                                                Common Shares                 89    Common
ADDRESS AVAILABLE UPON REQUEST

PHUOC HUYNH PHAN                                                    Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

PHUONG LE PHAN                                                      Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

PHYLLIS BLANCHARD                                                   Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

PHYLLIS RITTER                                                      Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

PI FIN CORP/CDS** (5075)                                            Common Shares           73,500      Common
ATTN: ROB MCNEIL OR PROXY MGR
666 BURRARD ST
STE 1900
VANCOUVER, BC V6C 2G3
CANADA

PIA HABERSANG                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

PIERRE JACQUES RABIE                                                Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

PIERRE PETER PAUL ABELA                                             Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PIETER JEROEN VREEDE                                                Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

PING CHIEN FENG                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PIOTR BANDYK                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

PIUS FOHN                                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PLATINUM SOLUTIONS LLC                                              Common Shares                88   Common
9057 NW 45 STREET
SUNRISE, FL 33351

PMM3MD INC 401K PROFIT SHARING PLAN                                 Common Shares                75   Common
92 ARTHUR HILLS CT
HENDERSON, NV 89074

PNC BANK, NATL ASSOC (2616)                                         Common Shares               125   Common
ATTN: EILEEN BLAKE OR PROXY MGR
8800 TINICUM BLVDT
MS F6-F266-02-2
PHILADELPHIA, PA 19153

PO-HAN CHEN                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

POLICARPO SAGARAL                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

POOJA SHAH                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PORSCHE NICOLE JACKSON                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PRACTICALATI KIDS INC                                               Common Shares                71   Common
8980 OLD ANNAPOLIS RD
SUITE E/F COLUMBIA, MD 21045

PRADEEP GUPTA                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

PRADEEP MAALE NARASIMHAMURTHY                                       Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST



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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PRADEEP SRIPATHI                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PRADEEP TOMAR                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PRAJWAL RAJ JOSHI                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PRAKASH THIRUPPATHI                                                 Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

PRANAMITA CHAKRABORTI                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PRASAD ALAPATI                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PRAVEENA SUNDARRAJ                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

PRAVIN XAVIER GNANASEKHAR                                           Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

PRECIOUS BRYAN                                                      Common Shares                85   Common
ADDRESS AVAILABLE UPON REQUEST

PREETAM MAHAJAN                                                     Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

PREMRANJAN SINGH                                                    Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

PRESTON DOYLE TAYLOR                                                Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

PRIME TRUST CUSTODIAN FBO KAREN WELLER                              Common Shares               221   Common
330 S. RAMPART, SUITE 260
SUMMERLIN, NV 89145

PRIMO LOMIBAO                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

PRITI B PATEL                                                       Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

PRITI SHAH                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

PRITIKA BHAN                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

PRIYA GOPAL                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

PRIYA PATEL                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

PRIYESHKUMAR PATEL                                                  Common Shares               490   Common
ADDRESS AVAILABLE UPON REQUEST

PROVIDENT TRUST GROUP LLC FBO ADVANCED STRUCTURING LLC              Common Shares               757   Common
4000 N OCEAN DR UNIT 2503
RIVIERA BEACH, FL 33404

PROVIDENT TRUST GROUP LLC FBO JOSE A ADORNO-GARAY SOLO K Common Shares                          360   Common
8880 W SUNSET ROAD SUITE 250
LAS VEGAS, NV 89148

PRZEMYSLAW PIOTROWSKI                                               Common Shares               274   Common
ADDRESS AVAILABLE UPON REQUEST

PUCKETT CONSTRUCTION                                                Common Shares               144   Common
5117 HANSEN DR
ANTIOCH, CA 94531

PUNAM PATEL                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

PURVANG PATEL                                                       Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

PURVESH D PATEL                                                     Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

PYANG VAN HMUNG                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

QIANG LAI                                                           Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

QINGLAN PAN                                                         Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

QIONG W LAZUKA                                                      Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

QUAN QI                                                             Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

QUENTEN WYANT                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

QUEST 7 LLC                                                         Common Shares                176    Common
14201 SE PETROVITSKY ROAD SUITE A3 115
RENTON, WA 98058

QUEST TRUST COMPANY FBO LYNNE A LAPIDUS IRA                         Common Shares                 88    Common
17171 PARK ROW SUITE 100
HOUSTON, TX 77084

QUESTRADE INC./CDS (5084)                                           Common Shares               5,134   Common
ATTN: AL NANJI OR PROXY MGR
5650 YONGE ST
TORONTO, ON M2M 4G3
CANADA

QUINCY BAZEN                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

QUINN GAUMER                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

QUINTEN HARNESS                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

QUINTON HALE                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

QUN WU                                                              Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

R W SALLIS PTY LTD F/B/O ROBERT A LAWRENCE ROTH IRA                 Common Shares                567    Common
ADDRESS AVAILABLE UPON REQUEST

RACER LLC                                                           Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

RACHAEL ELIZABETH BOWEN                                             Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RACHAEL SHIEBLER                                                    Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

RACHAEL SHIEBLER                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL ABENA AMOAKO                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RACHEL BROWN SEYMOUR                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL BROWN                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL FIGUERAS                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL LEE F/B/O JOSE A ADORNO-GARAY SOLO K                         Common Shares                89   Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL MALCHAM                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL ROSEN                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL STELTER                                                      Common Shares               156   Common
ADDRESS AVAILABLE UPON REQUEST

RACHEL WILLIAMS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RACQUEL CUA                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RADHIKA AYYAPUSETTY                                                 Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

RADHIKA RAVINDRAN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAE WILLIAMS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAECHEL ANTRIM                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAECHEL ELIZABETH THOMAS                                            Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RAGHAVA PAMULAPATI                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RAHEEM ABDUL-AZEEM                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAHUL MAHTANI                                                       Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RAJA RAJESWARI TATAVARTHY                                           Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

RAJAGURUSAMY BALASUBRAMANIAN                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

RAJEEV VERMA                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

RAJESHNANI DASARI                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAJINDER KHUNKHUN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAJIV PATEL                                                         Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

RAJNEESH MEHRA                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

RAKESH NAINI                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RAKESH NOWRANGI                                                     Common Shares               157   Common
ADDRESS AVAILABLE UPON REQUEST

RAKESH REDDY MEKALA                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RALPH ANTES                                                         Common Shares               216   Common
ADDRESS AVAILABLE UPON REQUEST

RALPH GEORGE ASHCRAFT SR                                            Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

RALPH THOMAS CANNIZZARO                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RALPH TORRES                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAMAKRISHNA BHAVANTHULA                                             Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RAMAKRISHNA GOWDA                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAMAKRISHNA VEGIRAJU                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RAMAN SINGH                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RAMESH CHANDRA YARLAGADDA                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAMESH N TOPIWALA                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RAMESH YENAMADDI LYNNE A LAPIDUS IRA                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

RAMON ROCHA                                                         Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

RANA SHAILENDRA GAUTAM                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RANDALL K WILLIAMS R SALLIS FAMILY SUPERANNUATION FUND              Common Shares                93   Common
19 SOUTH TURNER CIRCLE
PO BOX 18
TENDOY, ID 83468

RANDALL KINOSHITA                                                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

RANDALL LEE WOMACK                                                  Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RANDOLPH JOHN LIEBERMAN                                             Common Shares               335   Common
ADDRESS AVAILABLE UPON REQUEST

RANDOLPH LIEBERMAN                                                  Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

RANDY CORAN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RANDY NICHOLS                                                       Common Shares          201,960    Common
ADDRESS AVAILABLE UPON REQUEST

RANDY PAULSON                                                       Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

RANIL HERATH                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

RANULFO MORALES JR                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RAOUL RASHMI SHAH                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAPHAEL ALDAY CAUSAPIN                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RATNASABAPATHY SIVASEKARAN                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

RAVI DANDAMUDI                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAVI KUMAR PALURI                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RAVI RANGANATHAN                                                    Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMON DENNIS CASPER                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND ALLEN                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND BERGLUND                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND CLARK                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND GALLARDO                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND IMAICAN                                                     Common Shares               223   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND JAMES & ASSOCS, INC. (0725)                                 Common Shares           14,052    Common
ATTN: ROBERTA GREEN OR PROXY MGR
880 CARILION PKWY
TOWER 2, 4TH FL
ST. PETERSBURG, FL 33716

RAYMOND LASPEE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND LEWIS WORRELL III                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND LINTON                                                      Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RAYMOND MIRZABEGIAN                                                 Common Shares               364   Common
ADDRESS AVAILABLE UPON REQUEST

RAYMOND TREMBLAY                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RAZVAN ALBERT FURCA                                                 Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

RBC CAPITAL MKTS CORP (0235)                                        Common Shares           73,241    Common
ATTN: STEVE SCHAFER OR PROXY MGR
60 S 6TH ST - P09
MINNEAPOLIS, MN 55402-1106

RBC DOMINION /CDS (5002)                                            Common Shares           31,408    Common
ATTN: PROXY MGR
2 BLOOR ST E # 2300
TORONTO, ON M4W 1A8
CANADA

RCLAMB 2017401K ROLLOVER LLC                                        Common Shares                88   Common
24592 CHRISANTA DRIVE
MISSION VIEJO, CA 92691

REAGAN REEF LLC                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

REBECCA A FIGUEROA                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

REBECCA ANN ROLL                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

REBECCA CLAGGETT                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

REBECCA LAMICH                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

REBECCA NICOLE WALKER                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

REBECCA PITMAN                                                      Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

REBECCA S KALE                                                      Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

REBECCA WHITE                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

REBEKAH OCONNOR                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

REDTECH LLC                                                         Common Shares               187   Common
3275 SE HILLYARD RD
GRESHAM, OR 97080

REED WINNER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

REESE SEBASTIAN MINER                                               Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

REILLY NEWMAN                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

REINIER BODEMEIJER                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RENA RODRIGUEZ                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RENATA FILARECKI                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RENATA PATAKI                                                       Common Shares                26   Common
ADDRESS AVAILABLE UPON REQUEST

RENE L PIERSON                                                      Common Shares               142   Common
ADDRESS AVAILABLE UPON REQUEST

RENE SIMON CRUZ JR                                                  Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

RENEE KNIGHT                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

RENEE SUSAN HARDMAN                                                 Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

RENEE VARDOUNIOTIS                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

RENIER A DRESSER                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST



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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

RETIREMENT ACCOUNT LLC                                              Common Shares                 88    Common
121 BARKWOOD DR
STEPHENS CITY, VA 22655

REUBEN HELMUTH                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

REUBEN PARISH                                                       Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

REX WILLOWS-MUNRO                                                   Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

REY M PEREZ RIVERA                                                  Common Shares                 91    Common
ADDRESS AVAILABLE UPON REQUEST

REYNANTE JOHNSON                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RHONDA ALINE HILLS                                                  Common Shares               1,605   Common
ADDRESS AVAILABLE UPON REQUEST

RHONDA MCCULLOUGH ANDERSON                                          Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICARDO CONCEPCION MEJIAS                                           Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

RICARDO DE LA CRUZ ROSSI                                            Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICARDO GUERRERO                                                    Common Shares                141    Common
ADDRESS AVAILABLE UPON REQUEST

RICARDO JOAO DE FIGUEIREDO ANTUNES                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

RICARDO OLIVEIRA                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD A HOEFER                                                    Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD A PARADIS                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD B GELLER                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

RICHARD B STEINEL JR                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD BENJAMIN STUMP                                              Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD BERGER                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD C HICKMAN                                                   Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD CABALLERO                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD CARUSO                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD CHUNG                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD CURRENCE                                                    Common Shares                150    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD D GROSS                                                     Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD DAVIES                                                      Common Shares                883    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD DOUGLAS SPRADLIN                                            Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD E PETERSEN                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD EARL GOOD                                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD ERIC BLOOMFIELD                                             Common Shares                437    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD EVENDEN                                                     Common Shares               1,009   Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD FEINSILVER                                                  Common Shares                725    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD FUNK                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

RICHARD G KINDSCHI                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD GARCIA                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD GEORGE DAMKO                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD HAGELBERG                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD J WYSOCZANSKI                                               Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD JACOBE                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD JOHN NEBELSKI                                               Common Shares                 72    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD KOLANOS                                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD L MOLEN                                                     Common Shares               1,880   Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD L RUSSELL JR                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD LEE GARCIA                                                  Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD LEE WELLDAY JR                                              Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD LEIX                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD LEONARD CAMPBELL                                            Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD MACDOWELL                                                   Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD MCKENNA                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD MERRICK                                                     Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

RICHARD MESSINA                                                     Common Shares               7,211   Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD MOE                                                         Common Shares                 72    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD O'BRIEN                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD PALMER                                                      Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD PAUL STEVENS                                                Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD ROMAN                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD STEADMAN                                                    Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD STRICKLAND                                                  Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD WHIT4E                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICHARD ZEMANN                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RICHIE YUEN                                                         Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

RICKY CARL GERMAN                                                   Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

RICKY JACKSON JR                                                    Common Shares                143    Common
ADDRESS AVAILABLE UPON REQUEST

RICKY L ROTH                                                        Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

RICKY LIPSEY                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RICKY TON                                                           Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

RICO LAVENDER                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

RIGAUD SAINT FLEUR                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RINCON LLC                                                          Common Shares           33,895      Common
ADDRESS AVAILABLE UPON REQUEST

RINGO J LANZETTI                                                    Common Shares               1,326   Common
ADDRESS AVAILABLE UPON REQUEST

RIQUE OMOND BULOSAN                                                 Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

RISHABH SHAH                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

RISHI AGRAWAL                                                       Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

RITA PATTANAIK                                                      Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

RITESH N PATEL                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RIZWAN HABIB                                                        Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

RK & VIRGINIA INVESTMENTS LLC                                       Common Shares                631    Common
465 STORM MOUNTAIN CT
STEAMBOAT SPRINGS, CO 80487

RKOCAKROTH2020                                                      Common Shares                125    Common
200 SOUTH 108TH AVENUE
OMAHA, NE 68154

RM WILSON CONSULTING 401K PSP                                       Common Shares                441    Common
257 S PINE ST SUITE 201
SISTERS, OR 97759

RNJ REVOCABLE TRUST                                                 Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

ROAN A MONCRIEFFE                                                   Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

ROB BENWELL                                                         Common Shares                287    Common
ADDRESS AVAILABLE UPON REQUEST

ROBBIN LIST                                                         Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ROBBY JUNIOR SMITH                                                  Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT A CASPER                                                     Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT A CHERNOW                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT A LAWRENCE                                                   Common Shares               258   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT A SANDORE JR                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT A SYLVESTER JR                                               Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT ALAN CLEWS                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT ARNOLD                                                       Common Shares               397   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT BARSNESS                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT BECK                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT BENJAMIN ASH                                                 Common Shares               877   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT BITTON                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT BLIM                                                         Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT BRUCE GREENE                                                 Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT BRUCE JORDAN                                                 Common Shares               275   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT C HOLLAND                                                    Common Shares               937   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT CARR                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ROBERT CHARLES SAMUELS                                              Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT CHENG                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT CLARENCE MOORE                                               Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT CLIFFORD JOHNSON                                             Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT COREY ZIPPRO                                                 Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT D HARVEY                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT D RINGENBERG II                                              Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT DANIEL BIESER                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT DANIEL PAGE                                                  Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT DAUGHERTY                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT DAVID NOCK                                                   Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT DICKEY                                                       Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT DUNCAN WALLACE                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT E WILCOX                                                     Common Shares               562   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT EARL MOORE III                                               Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT EISENSCHMIDT                                                 Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT ENGLAND                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ROBERT F BYRNES & JEANNINE P BYRNES TRUST                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT FORBES                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT FREDERICK GROLEAU                                            Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT FRYKBERG                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT G TURNER FAMILY TRUST                                        Common Shares               946   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT GARRIS                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT GEORGE RESNICK                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT GONSALVES                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT GREIS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT HAGEDORN                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT HANEY                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT HAYMAN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT HEAVENER                                                     Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT HESS                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT HIRST                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT HYTHA                                                        Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT J MILLER JR                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

ROBERT J ROSS                                                       Common Shares                197    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT JAMES PLEISS JR                                              Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT JENS NIKOLAISEN                                              Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT JOHN FOOTITT II                                              Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT JOHN STIERS                                                  Common Shares                346    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT JOHNSON PERRY                                                Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT JOSEPH ABRAHAM                                               Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT L GOODMAN JR                                                 Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT L WEILAND                                                    Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT LEE BEARD III                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT LESTER BUCKNER                                               Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT LITKOWIAK                                                    Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT LLANES                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT LORD                                                         Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT M APPLEGATE                                                  Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT M APPLETON                                                   Common Shares               2,158   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT M CHAPMAN                                                    Common Shares                133    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ROBERT M SIX                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT MACARTHUR                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT MANNSCHRECK TRUST UNDER AGREEMENT DATED                      Common Shares               126   Common
4/22/1982
ADDRESS AVAILABLE UPON REQUEST

ROBERT MAREMA                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT MATTHEWS JR                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT MICHAEL KARLIN                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT MITCHELL CHAPMAN                                             Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT MOLLO                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT MULLINS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT N BARRETT III                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT NEESE                                                        Common Shares               317   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT O'BRIEN                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT ODONNELL                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT P HOLDER                                                     Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT PAGE                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT PEEK                                                         Common Shares               107   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ROBERT PICA                                                         Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT PICKELL                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT R BARTO                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT RAMIREZ                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT RANDY WINSTON                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT RAY LEWIS                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT REGAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT RICHARDSON                                                   Common Shares               141   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT RUMAIN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT RUTH JR                                                      Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT S BOYD                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT SCHECHTER                                                    Common Shares               123   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT SCHREURS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT SCHUHAM                                                      Common Shares           12,203    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT SEELIG TRUST                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT SELBY                                                        Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT SETTLES                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

ROBERT SOKOL                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT STEVEN HECKLER                                               Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT TALLMAN NICHOLS REVOCABLE TRUST DATED 9/28/2012              Common Shares               5,169   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT THOMPSON                                                     Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT TIMPANI                                                      Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT TOWNSEND TEAGUE                                              Common Shares               2,951   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT TURNER                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT V H WEINBERG                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT VALENZUELA                                                   Common Shares                504    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT W OLSON                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT WALKER                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT WILLIAM CIANFLONE                                            Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT WILLIAM DOERNER                                              Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERT WILSON                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERTA ZALTA                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERTO AARON AGUERO-BRIONES                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

ROBERTO DEL TORO                                                    Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ROBERTO GONZALEZ III                                                Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

ROBERTO JOSE COLON                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN B GARRETT                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN BATTISTI                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN GBARQUE MOULTON                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN HAVENS TATE                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN J SWEENEY                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN LOUNG SHU                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN M BROCKWAY REVOCABLE TRUST                                    Common Shares               275   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN MARIE MOONEY                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN MARIE SCHOONOVER                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROBIN RAYMOND ROWLAND                                               Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROBINHOOD SECS, LLC (6769)                                          Common Shares          136,140    Common
ATTN: MEHDI TAIFI
500 COLONIAL CTR PKWY #100
LAKE MARY, FL 32746

ROBYN GRAY                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROCH LAVIOLETTE                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

ROCIO REYES-MOORE                                                   Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RODALENE FAVIS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RODD W SULLIVAN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RODERICK EDWARD WHITE                                               Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

RODNEY BARNES                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RODNEY DOGGETT                                                      Common Shares                96   Common
ADDRESS AVAILABLE UPON REQUEST

RODNEY GUENTHER                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RODNEY MARQUEZ                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RODNEY UDELL                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RODOLFO MORILLO                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RODRIGUE MPAGAZIHE                                                  Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ROGELIO VEGA                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROGER BRUNO BUCK                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROGER BURTON STORM                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROGER E SKINNER TRUST DATE 9/28/2012                                Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

ROGER E SKINNER                                                     Common Shares               490   Common
ADDRESS AVAILABLE UPON REQUEST

ROGER HENRY GILBERT                                                 Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

ROGER JO SMITH                                                      Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

ROGER JOHN RYAN                                                     Common Shares                 89    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER L BECKER                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER LICUP                                                         Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER M MCLESKEY                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER MARK CHAN                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER N TRUBEY                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER PETERSON                                                      Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER ROUGHLEY                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER T LARSEN                                                      Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

ROGER T SMITH                                                       Common Shares               1,262   Common
ADDRESS AVAILABLE UPON REQUEST

ROHAN LINDSAY                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ROHIT GUPTA                                                         Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

ROLAND MANUEL SEPULVEDA                                             Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ROLAND MATTHEW ECKSTEIN                                             Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ROLAND P MICU                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ROLAND WILLIAMS                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ROLANDO BAZAIL                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

ROMAIN AYACHE                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ROMAN DAVID KOVACIK                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ROMAN SZCZEPANIK                                                    Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ROMIL WADHAWAN                                                      Common Shares                180    Common
ADDRESS AVAILABLE UPON REQUEST

RON ANTENER                                                         Common Shares                162    Common
ADDRESS AVAILABLE UPON REQUEST

RON VAN                                                             Common Shares               1,803   Common
ADDRESS AVAILABLE UPON REQUEST

RONAK BHATT                                                         Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

RONAK DESAI                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD CLARK                                                        Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD DOWNING                                                      Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD EVANS BORCHARDT                                              Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD G BLAIR                                                      Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD HRAD                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD J FREY                                                       Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD JEFFREY UEBEL                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD KEITH JOHNSON                                                Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

RONALD LUDWIG                                                       Common Shares                150    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RONALD M PAWLAK                                                     Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

RONALD MALONE                                                       Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

RONALD MANABAT                                                      Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

RONALD N ARMSTRONG                                                  Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

RONALD QUINTON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RONALD TER HOEVEN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RONALD WILLIAMSON                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

RONEL DELVA                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RONG LIN                                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RONNY BROWN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RORY SUGINO                                                         Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ROSALIA CHAN                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROSALIND STEARNS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROSANNA KEENAN                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

ROSANNA MORACA                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROSE MANABAT                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROSELINE ITEME                                                      Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ROSS BOVERI                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

ROSS HEINEMEYER                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ROSS MONAT                                                          Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

ROTH IRA FBO ERIK M CREAGH                                          Common Shares                88   Common
671 N GLEBE RD
BALLSTON TOWER ARLINGTON, VA 22203

ROTH IRA STEPHANIE FAGIN-JONES                                      Common Shares               187   Common
750 3RD AVENUE
NEW YORK, NY 10017

ROTSUKON GULIN                                                      Common Shares                80   Common
ADDRESS AVAILABLE UPON REQUEST

ROXANA GARCIA                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

ROY BRYAN STOKER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ROY GLASS                                                           Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

ROY HULL                                                            Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROY JAMES PERRITT JR                                                Common Shares               757   Common
ADDRESS AVAILABLE UPON REQUEST

ROY LUNA                                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ROY PERRY GREENE                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ROZENA ABDIN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RUBEN ACOSTA                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RUBY BANIPAL                                                        Common Shares               352   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RUDOLPH C MAGNUSON III                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RUDOLPH J GRAY III                                                  Common Shares                73   Common
ADDRESS AVAILABLE UPON REQUEST

RUDOLPH TOMONORI VALENTA                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RUFUS JENNINGS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RUI COUTO                                                           Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

RUI COUTO                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RUMA ASHWIN MCCOURT                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSEL LEE MANN III                                                 Common Shares               149   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSEL SAFRAN                                                       Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL ALLEN PARR                                                  Common Shares               887   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL GRAF                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL J GRAF                                                      Common Shares               227   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL JOHN FLOYD                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL JOHN GOLISH                                                 Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL K OKU                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL S COCHRAN                                                   Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

RUSSELL ZAGER                                                       Common Shares                26   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RUSTIN JOHN PARTOW                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RUTH LARGAESPADA                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RUTH MCGUIRE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RUZANNA AVAKYAN                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN A JONES                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN ALAN NOLAN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN BROWN                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN CASAO                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN CHRISTOPHER HEITZ                                              Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN CROW                                                           Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN DALEY                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN DAVID WILSON                                                   Common Shares               203   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN DOLOR GARAYGAY                                                 Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN FRANZER                                                        Common Shares               199   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN HANSON                                                         Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN HEGER                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN HENRY                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RYAN HOPPE                                                          Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN JONES                                                          Common Shares               448   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN KYLE MCCRIMMON                                                 Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN LAPERLE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN LEY                                                            Common Shares               542   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN LOCKE                                                          Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN LYK                                                            Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN LYTLE                                                          Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN MACGAVIN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN MCFARLANE                                                      Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN MCKINSTRIE                                                     Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN MICHAEL COHEN                                                  Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN MURRAY MCIVOR                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN PATRICK MURPHY                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN REUSCH                                                         Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN RIKIO UYEHARA                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN SHEFFIELD                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

RYAN SMITH                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN SONNTAG                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN VALLELUNGA                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN VANCE BRINKERHOFF                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN VET                                                            Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN W GIERTZ                                                       Common Shares               207   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN WAYNE WINTERS                                                  Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN WELLER                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN WHITE                                                          Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

RYAN YUKIO NAKAIMA                                                  Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

SAAT FAMILY TRUST DATED 8-11-18 SARA TRUONG TTEE                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SABER ASKARI                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SABRINA GREGORY TURNER                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SACHIN NATARAJ                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SADIE ANN HOOKER                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SAHAR ESMAEELI                                                      Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST




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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

SAHRON MARCH TTEE WEISENBERGER SPOUSAL TRUST U/A DTD                Common Shares                125    Common
02/04/2022
ADDRESS AVAILABLE UPON REQUEST

SAILESH PAUL JOSEPH PERINGATT                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

SAIRAM MANDALIKA                                                    Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

SALEM A GEORGE                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

SALIM JACKSON                                                       Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

SALVADOR CHAVEZ-HOLZMAN                                             Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA COXE                                                       Common Shares                151    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA ELIZONDO                                                   Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA HARGROVE                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA HUGO                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA KRAHLING                                                   Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA KUHN                                                       Common Shares                 87    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA SCHLESSEL                                                  Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

SAMANTHA SPIWAK                                                     Common Shares               1,132   Common
ADDRESS AVAILABLE UPON REQUEST

SAMATEX LUXE HOMES INC                                              Common Shares                 71    Common
2156 AVENIDA DEL MAR
HSE LANCASTER, CA 93535

SAMBIT MISRA                                                        Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SAMEER GHAZNAVI                                                     Common Shares               353   Common
ADDRESS AVAILABLE UPON REQUEST

SAMEER RAGHUVEER GUDAL                                              Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

SAMEER VARUN K KOTAGIRI                                             Common Shares                78   Common
ADDRESS AVAILABLE UPON REQUEST

SAMELIA BROOKS                                                      Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

SAMELIA YVONNE BROOKS                                               Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

SAMI H KHALIL                                                       Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

SAMI TOLONEN                                                        Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

SAMIR BHATIANI                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SAMIR MEJIA                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SAMIRAN SIGDEL                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL BOYCE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL CARL KING                                                    Common Shares               289   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL CASTRO                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL CLAYTON                                                      Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL EASTWOOD                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL FORESTE                                                      Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL FRISHMAN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SAMUEL GERBER                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL S SHIELDS                                                    Common Shares               693   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL SNYDER                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL THIEME                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL WARE EHRLICH                                                 Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

SAMUEL WHEELWRIGHT PERKINS                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SANAT SHRESTHA                                                      Common Shares               309   Common
ADDRESS AVAILABLE UPON REQUEST

SANCHAYEETA MITRA                                                   Common Shares               408   Common
ADDRESS AVAILABLE UPON REQUEST

SANDEEP KUMAR KOLIBAILU BELLIAPPA                                   Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SANDEEP LUKE                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SANDIP SEN                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SANDRA ELIZABETH HAUGEN                                             Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SANDRA HUTCHINSON                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SANDRA MCCONNELL SARA TRUONG TTEE                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SANDRA SOPHIE GORDON SARA TRUONG TTEE                               Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

SANDY SHAW SLATER                                                   Common Shares               757   Common
ADDRESS AVAILABLE UPON REQUEST

SANET CIVIL                                                         Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SANFORD HELMUTH                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SANGEETA GAUTAM                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SANGEETA R PATEL                                                    Common Shares                94   Common
ADDRESS AVAILABLE UPON REQUEST

SANGHYUK LEE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SANGITA KRISHNAKANT PATEL                                           Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

SANJA MYLONAS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SANJAY KUMAR MOTILAL                                                Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

SANJAY RAMCHANDANI                                                  Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

SANJEEVA REDDY DANTU                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SANJIV KUMAR                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SANJIV M PATEL                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SANKARA NAVEEN PORUMAMILLA                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SANOJ DHAMINDRANATH                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SANTOSH K KANDHUKURI                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SANTOSH VISHWANATHAN                                                Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SARA ABEBE                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SARA G TORO                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SARA GRIMSHAW                                                       Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

SARA HUTT                                                           Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

SARA KOVAC                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SARA NEWTON-SMITH                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

SARA PARIBELLO                                                      Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

SARA SHISSLER                                                       Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

SARABJEET SINGH                                                     Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH AIELLO                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH ANTOLINI                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH BERGERON                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH BRIELLE UNDERWOOD                                             Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH ELIZABETH TINANA QAISER                                       Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH HEYBORNE                                                      Common Shares               110   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH J BARBER                                                      Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH JACKSON                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH KAYFUS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH KUHNER                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SARAH SCOPEL                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH TAVARES                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SARAH VANESSA PEREZ                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SARKIS GRIGORYAN                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SASHA R GOODMAN                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SATEESH KADIYALA                                                    Common Shares                35   Common
ADDRESS AVAILABLE UPON REQUEST

SATHISH IYER                                                        Common Shares               346   Common
ADDRESS AVAILABLE UPON REQUEST

SATINDER KAUR AJRAWAT                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SAUGAT GHIMIRE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SAURABH SACHDEVA                                                    Common Shares               530   Common
ADDRESS AVAILABLE UPON REQUEST

SCOT A BENDERSKY                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SCOT GREGORY BOWMAN                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SCOT HAGENBURGER                                                    Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

SCOT MICHAEL BLOOMQUIST                                             Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTIA CAPITAL /CDS (5011)                                          Common Shares               490   Common
ATTN: EVELYN PANDE OR PROXY DEPT
SCOTIA PLAZA
40 KING ST W, 23RD FL
TORONTO, ON M5H 1H1
CANADA


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SCOTT ALEXANDER SMITH                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT ALLAN LENAU                                                   Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT ASHER PERKINS                                                 Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT B DAY                                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT BARNES                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT BARRY                                                         Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT BARRY                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT BREITKOPF                                                     Common Shares               552   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT CHRISTOPHER WICKSTROM                                         Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT DAVIS                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT DOTEN                                                         Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT E GUTHRIE                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT EBERT HARRISON                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT GEOFFREY SCHROEDER                                            Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT HOWARD SHEARER                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT KAPLAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT M CRESAP                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SCOTT MATHISON                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT MEREDITH DAWSON                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT MILLER COLLINS                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT PONIEWAZ                                                      Common Shares               309   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT PRENTICE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT RANJIT MAHANTY                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT RAYMOND KRAUSE                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT REABE                                                         Common Shares               912   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT ROSS DRAKE                                                    Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT SHARPLES                                                      Common Shares               640   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT STEINBERG                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT STRUM                                                         Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT TUCKER YATES                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT TYLER WALLACE                                                 Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTT W BLAKE                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SCOTTY JOHNSON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SEA CHEN                                                            Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

SEAN BANCROFT JUDKINS-BOERI                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

SEAN BRASSMAN                                                       Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

SEAN BUCKLEY                                                        Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

SEAN DOUGLAS STEPHENS                                               Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

SEAN FRANK                                                          Common Shares                376    Common
ADDRESS AVAILABLE UPON REQUEST

SEAN MERRIWEATHER                                                   Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SEAN MULVENA                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SEAN PAUL NOZEWSKI                                                  Common Shares                181    Common
ADDRESS AVAILABLE UPON REQUEST

SEAN ROGERS                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SEBASTIAN ANDERSON THOMAS                                           Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SEBASTIAN GONZALEZ                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SEBASTIAN ISAZA VILLEGAS                                            Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SEBASTIAN POWESKA                                                   Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SEBASTIAN RAVINET                                                   Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

SEBASTIEN BROUSTRA                                                  Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SENTHIL POOSHAPPAN                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

SERENE DEE STORSLETT                                                Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

SERGIO ANTONIO FRANKLIN RAIMOND KEDILHAC VIESCA                     Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

SERGIO TRUJILLO                                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

SETH ACHARYA AND GAREEMA BAJGAIN                                    Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

SETH BEARD                                                          Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

SETH NOONE                                                          Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SETH SHOEMAKER                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

SETH SORENSEN                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SETH WILEY                                                          Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

SEUNG LEE                                                           Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

SGALL II RD LLC                                                     Common Shares                 44    Common
ADDRESS AVAILABLE UPON REQUEST

SHAD HALL                                                           Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

SHADI AMMOURI                                                       Common Shares               1,149   Common
ADDRESS AVAILABLE UPON REQUEST

SHAHID INSAF                                                        Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

SHAI EYNAV                                                          Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

SHAI LIVNE                                                          Common Shares                275    Common
ADDRESS AVAILABLE UPON REQUEST

SHAI SCHVARZMAN                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

SHAILESHKUMAR DAVE                                                  Common Shares                 44    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SHAILI SHAH                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHAINEEL SARUP                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SHAKEEL ABDUL                                                       Common Shares               888   Common
ADDRESS AVAILABLE UPON REQUEST

SHAKERA ELRINGTON                                                   Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SHAKIRA GERALD                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHAMAR COWAN                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHAMUS D HARMON                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SHANE ADAIR                                                         Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

SHANE LILLY                                                         Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

SHANE                                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHANICKA SCARBROUGH                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHANIF DHANANI                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

SHANKARRAM VENKAT                                                   Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON CUNNINGHAM                                                  Common Shares                89   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON KATHLEEN WILSON                                             Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON LEBLANC                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON LOUGHEAD                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SHANNON MATTHEWS                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON MELTON                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON MICHAEL                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON ROBERTS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON SINGLETON                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNON SMITH                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHANNY SEEWALD                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHAOJIE DAI                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHARATH RANGA                                                       Common Shares                35   Common
ADDRESS AVAILABLE UPON REQUEST

SHAREN PARKER                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHAR-LEANN CLARK REVOCABLE LIVING TRUST                             Common Shares               260   Common
ADDRESS AVAILABLE UPON REQUEST

SHAR-LEANN CLARK                                                    Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON ANN SELL                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON BROOKES                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON CRUTCHER YOH                                                 Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON ELAINE CHUPP                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON GRUBBS                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SHARON LEONARD                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON SHEMTOV                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON SMITH                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON SWEEDE SBROCCO                                               Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

SHARON WALLACE                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHARONLIN BHARDWAJ                                                  Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

SHARROKY HOLLIE                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SHASHI LAD                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHAUN KESSLER                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SHAUN M LAFACE                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SHAUN MICHAEL FELCHER                                               Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

SHAUN S TAYLOR                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHAURINKUMAR SHAH                                                   Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

SHAVANDRA RICHARDS                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHAVONNE ADKINS                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHAWN F WILDES                                                      Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

SHAWN GREGORY INKS                                                  Common Shares               937   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SHAWN PETERS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHAWN THOMAS BURROWS                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHAWNA BRUCE                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHAWNA FAE GRAVES                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHEEN LI LIN                                                        Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

SHEFALI SHAH                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SHEILA HERMAN                                                       Common Shares               875   Common
ADDRESS AVAILABLE UPON REQUEST

SHELBIE MILES                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHELBY E L PRUETT                                                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

SHELBY HOWARD                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHELDON COHN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHELDON FINANCIAL LLC                                               Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SHEP HOFFMAN                                                        Common Shares           28,625    Common
ADDRESS AVAILABLE UPON REQUEST

SHERI HARDWICK KEDILHAC VIESCA                                      Common Shares               214   Common
ADDRESS AVAILABLE UPON REQUEST

SHERI HARDWICK                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SHERI KEMPF                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHERI LYNN DWYER                                                    Common Shares               502   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SHERIDAN JOHNSON                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHERIE FORD                                                         Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SHERMAN FARR JR                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

SHERMAN REID                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SHERNALEE STEPHENSON                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHERRIE DEANS                                                       Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

SHERRIE LYNNE GOLDSTEIN                                             Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

SHERRY BUCKLES                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHERWOOD KLEIN JR                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHERYL LYNN GREENE                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SHERYL LYNN WILKINS                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHEWEET YOHANNES                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHICODIE ROSS                                                       Common Shares                19   Common
ADDRESS AVAILABLE UPON REQUEST

SHILA WATTAMWAR                                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

SHIN ONO                                                            Common Shares                53   Common
ADDRESS AVAILABLE UPON REQUEST

SHINING CAPITAL GP                                                  Common Shares          149,379    Common
INTERTRUST CORP SERVICES(CAYMAN)LTD
ONE NEXUS WAY CAMANA BAY
KY1-9005
GRAND CAYMAN
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SHINING CAPITAL HOLDINGS II LP                                      Common Shares          858,780    Common
INTERTRUST CORP SERVICES(CAYMAN)LTD
ONE NEXUS WAY CAMANA BAY
KY1-9005
GRAND CAYMAN

SHIRLEY ANN HAYDE                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHIRLEY XIE                                                         Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

SHISHIR KANE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHIVAKUMAR VANAM                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHOJI SHUKURI                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHREYA GOPAL                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SHREYAS AHIR                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHREYASH S NAYAK                                                    Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

SHUNAN WANG                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SHUNICHI MIZUNUMA                                                   Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SHWU-MIN HWANG                                                      Common Shares               757   Common
ADDRESS AVAILABLE UPON REQUEST

SIEASA COPPEDGE                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SIEMER VENTURES II LP (D/B/A WAVEMAKER PARTNERS II)                 Common Shares          156,536    Common
1438 9TH ST
SANTA MONICA, CA 90404

SIERRA CONYERS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST


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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

SIERRA ROSENBOOM                                                    Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

SIMON AMAT                                                          Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

SIMON CASTELLUCIO                                                   Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SIMONE BUNSEN                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

SIMPLE LIVING PROPERTY SOLUTIONS 401K FBO JONATHAN                  Common Shares                 71    Common
RUMMEY
2675 W ROUTE F
CLARK, MO 65243

SIMUN PAULI HANSEN                                                  Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SING TIING WONG                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

SIRENA ROBERTS                                                      Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

SJW INNOVATIVE SOLUTIONS LLC                                        Common Shares                 88    Common
2 CYPRESS STREET UNIT 6
SOMERVILLE, MA 02143

SKY HIGGINS                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SKYLAR DAMMERS                                                      Common Shares               1,694   Common
ADDRESS AVAILABLE UPON REQUEST

SLA VENTURES LLC                                                    Common Shares               9,542   Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

SOFIA MEDVEDEV                                                      Common Shares                437    Common
ADDRESS AVAILABLE UPON REQUEST

SOHAM BHATIA                                                        Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

SOL HEDAYA                                                          Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SOLERA NATIONAL BANK FBO AL L'HOMME                                 Common Shares                71   Common
106 CHRISTENBURY LN
CARY, NC 27511

SOMER LOEN                                                          Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SOMIL BHARGAVA                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SON HYONG HAN                                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

SONIA BOSS                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SONIA RUTH AVIV                                                     Common Shares                77   Common
ADDRESS AVAILABLE UPON REQUEST

SONIA SHAH                                                          Common Shares               139   Common
ADDRESS AVAILABLE UPON REQUEST

SONNY DIONISIO                                                      Common Shares               452   Common
ADDRESS AVAILABLE UPON REQUEST

SONU UPADHYAY                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SONY THOMAS                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SONYA GENESIUS                                                      Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

SOON-CHYE NG                                                        Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

SOPHIA ORNELAS                                                      Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

SOPHIE CHEN                                                         Common Shares               101   Common
ADDRESS AVAILABLE UPON REQUEST

SOPHIE DE LAMER                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SORAIDA SALVATIERRA                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SOULA POULAKIS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SPENCER EVERETT LARAMIE JR                                          Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SPENCER KUHN                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SPENCER SCOTT BULLARD                                               Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

SREENATHA PALNATI                                                   Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

SREENIVASREDDY MUDUGANTI                                            Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SRIKANTH R KUNAPARAJU                                               Common Shares               438   Common
ADDRESS AVAILABLE UPON REQUEST

SRIKANTH RAJU                                                       Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

SRINIVASAN NARAYANAN                                                Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

SRIRAM KANNAN                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SRK HOSPITALITY LLC                                                 Common Shares                72   Common
814 NORTH 26TH STREET
MILWAUKEE, WI 53233

STACEY BOGART                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STACEY CRUMRINE                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STACIA SCHUELE                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

STACY CAMPBELL                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STACY HOENIGMANN                                                    Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

STACY HORTON                                                        Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

STACY SHAHLA                                                        Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

STACY WELLE                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

STANDLEY MURRAH                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

STANISLAV RUDOI                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

STANLEY DAVID                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

STANLEY G RABALAIS JR                                               Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

STANLEY ONUBIYI                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

STATE ST (0997, 2399)                                               Common Shares           19,453      Common
ATTN: PROXY DEPT
1776 HERITAGE DR
NORTH QUINCY, MA 02171

STEFAN KURSAWE                                                      Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

STEFAN RUSSELL                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

STEFAN THOMPSON                                                     Common Shares                631    Common
ADDRESS AVAILABLE UPON REQUEST

STEFANIE CULLEN                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

STEFANIE SCOWDEN                                                    Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

STEFANIE STEWART                                                    Common Shares               1,767   Common
ADDRESS AVAILABLE UPON REQUEST

STEFANO MONGARDI                                                    Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST


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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

STEFFEN BOEHM                                                       Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANE BOURGAIN                                                   Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE A KOLAKOWSKY-HAYNER                                       Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE AEBI                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE C MEREDITH                                                Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE DEJESUS                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE DESIR-JEAN                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE JAVEL                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE JEAN-PIERRE                                               Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE KUGA                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE LAINE GREER                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE LOVE                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE OGE                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE SFERRINO                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE WRIGHT                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE WU LINGLE                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHANIE YAUCH                                                     Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

STEPHEN ANDREW CRUZ                                                 Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN BEAUMONT                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN BIONDI                                                      Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN BLANEY                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN BORGES                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN BRUCE TEW                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN C THURLOW                                                   Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN CLARKE (D/B/A WAVEMAKER PARTNERS II)                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN CLARKE                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN DAILY                                                       Common Shares               894   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN DALEAS                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN DAUGHERTY F/B/O JONATHAN RUMMEY                             Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN DAUGHERTY                                                   Common Shares               530   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN DAWS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN DEMPSEY-CHIAM                                               Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN E BAKER                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN ELLIOTT                                                     Common Shares               110   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

STEPHEN FORREST WELLER                                              Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN FREDERICO                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN FUGES                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN GIBBS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN GOZDAN                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN GREGORY BUDD                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN HERBERT                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN INGKAVET                                                    Common Shares               720   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN J RANDAZZO                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN JAY GERHART                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN JAY KNYSH                                                   Common Shares               755   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN JOHN GRAY                                                   Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN JOSEPH PERROT                                               Common Shares               181   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN KINGSTON                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN L BROOKS                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN LEMBO                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN MATTHEW SCHARES                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

STEPHEN MILLER                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN ODELL HOFFARTH                                              Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN R PALMER                                                    Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN REGNIER                                                     Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN SNYDER                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN WISSINK                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN WOOLVERTON                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEPHEN YOSKOWITZ                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVE COSBY                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEVE KILLAM                                                        Common Shares                78   Common
ADDRESS AVAILABLE UPON REQUEST

STEVE LOURENCO                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVE O'DONNELL                                                     Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

STEVE SHEPHEARD                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVE SLOATE                                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN A ENGEL                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN ANTHONY QUEVEDO                                              Common Shares               225   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN B BRICKER                                                    Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

STEVEN BERE SULLIVAN                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN BERRY                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN BLOOMFIELD                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN BROTHERS                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN BRYAN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN BURNS                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN CHARLES SIKKEMA                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN CRANDALL HEWETT                                              Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN D COX                                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN D JOEL                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN D KRETSCHMAR                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN DOUGLAS CARLSON                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN DWIGHT BROWN                                                 Common Shares               163   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN ETZEL                                                        Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN ETZEL                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN F CHILD                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN G BECKER                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

STEVEN GILBERT                                                      Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN GOLDSMITH                                                    Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN H GIFIS                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN HIGLEY                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN HOOK                                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN J BENTLER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN JAMES VAN ZEELAND                                            Common Shares               219   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN JOHN MARTIN                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN KNUDSEN                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN MESSINGER                                                    Common Shares               283   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN MICHAEL BAUM                                                 Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN NICHOLAS VENDOLA                                             Common Shares               231   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN P MARTIN                                                     Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN P SNYDER                                                     Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN PERZIA                                                       Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN POLLOCK                                                      Common Shares               883   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN RABE                                                         Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

STEVEN RICHTER                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN RUGG                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN SCOTT LEVENSON                                               Common Shares               875   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN SEIFRIED                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN SLOAN                                                        Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN STRATHDEE                                                    Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN TODD BALLARD                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN TODD BULLARD                                                 Common Shares               151   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN TOINTON                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN W SMITH                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN WARREN JOHNSON                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEVEN WEBER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

STEWART DALE MORCOM                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

STEWART HILL                                                        Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

STIAN TRANMAEL                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

STIFEL NICOLAUS & CO. (0793)                                        Common Shares               307   Common
ATTN: CHRIS WIEGAND OR PROXY DEPT
C/O MEDIANT COMMUNCATIONS
501 N. BRDWAY
ST. LOUIS, MO 63102
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

STRADERGISTICS LLC                                                  Common Shares                188    Common
4951 GULF SHORE BLVD LEPARC 803
NAPLES, FL 34103

STRATA TRUST COMPANY CUSTODIAN FBO SHARON G ENRIGHT IRA Common Shares                             88    Common
7901 WOODWAY DRIVE
WACO, TX 76713

STUART BELL                                                         Common Shares                138    Common
ADDRESS AVAILABLE UPON REQUEST

STUART EDGERLY                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

STUART I BARNEY                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

STUART MCCALLA                                                      Common Shares               2,652   Common
ADDRESS AVAILABLE UPON REQUEST

STUART MITCHELL                                                     Common Shares                 93    Common
ADDRESS AVAILABLE UPON REQUEST

STUART R RUSSELL                                                    Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

STUART THOMPSON                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

SUBHAS K MUKHOPADKYAY                                               Common Shares                500    Common
ADDRESS AVAILABLE UPON REQUEST

SUBRAHMANYA SAI KIRAN KANTE                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SUCHAI GUMTRONTIP                                                   Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

SUDHAKAR LINGINENI                                                  Common Shares                221    Common
ADDRESS AVAILABLE UPON REQUEST

SUHEIL KHURI                                                        Common Shares               1,006   Common
ADDRESS AVAILABLE UPON REQUEST

SUHITA GOSWAMI                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SUI SHEN                                                            Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST


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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SUJAL SHAH                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SULIE OBER                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SUMIKO T REIMER                                                     Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

SUMIT KUMAR                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

SUMIT PANJABI                                                       Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

SUMMER BENFORD                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SUMUKH PAIANGLE                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

SUNDARESAN SUBRAMANIAM                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SUNDEEP SHAH                                                        Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

SUNDHAR SEKHAR                                                      Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

SUNG YUN LEE                                                        Common Shares               212   Common
ADDRESS AVAILABLE UPON REQUEST

SUNGHOON KIM                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SUNITA VARUGHESE                                                    Common Shares               371   Common
ADDRESS AVAILABLE UPON REQUEST

SUNKING MOSS                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SURESH CHETTY                                                       Common Shares               312   Common
ADDRESS AVAILABLE UPON REQUEST

SURESH SHARMA                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SURESHCHANDRA PATEL                                                 Common Shares               631   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

SUSAN CLAIRE THOMPSON                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN DAWN MERREN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN E STUVER                                                      Common Shares               319   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN HYNES                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN J HYNSON                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN KAY CHIDDIX                                                   Common Shares               289   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN L MEANS                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN LATHAM                                                        Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN LEE EBNOTHER DICKINSON                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN MARIE LOOMIS WILSON                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN MEES                                                          Common Shares                73   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN T ROMITO                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SUSAN TROTTER                                                       Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

SUSANNE CLAUDETTE LUNDE                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

SUZANNE LEE                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

SWAPAN KUMAR CHATTOPADHYAY                                          Common Shares               362   Common
ADDRESS AVAILABLE UPON REQUEST

SWAPNA GHANTA                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

SWARA MEHTA                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SWATHI KANUMURU                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

SYAM SUNDAR DEVARASETTY                                             Common Shares                142    Common
ADDRESS AVAILABLE UPON REQUEST

SYCHIQUITA STOKES                                                   Common Shares                109    Common
ADDRESS AVAILABLE UPON REQUEST

SYDNEY ROSE MUNTEANU                                                Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

TABREEZ ALI                                                         Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

TAEKO KIMURA                                                        Common Shares                216    Common
ADDRESS AVAILABLE UPON REQUEST

TAI LIP FATT                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TAISONG JING                                                        Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

TAKAYUKI OTA                                                        Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

TALIA ALEXANDER                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TAMARA C SCOTT                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TAMARA OLSON                                                        Common Shares                112    Common
ADDRESS AVAILABLE UPON REQUEST

TAMARA POLLEN                                                       Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

TAMARA S POST                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TAMI REARWIN                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TAMMARA SOUZA HENDRICKS                                             Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

TAMMIE MITCHELL-STEPHENS                                            Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TAMMY MIHALCHIK                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TANISHA PERRY                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TARA CORRIGAN                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TARA KEEGAN                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TARA MCGUIRE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TARA SCHWETZ                                                        Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

TARAE MAYE                                                          Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

TARAH PRATER-BURKHART                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TARANI ARUNACHALAM                                                  Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TARANJIT LOTEY                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TARIK VON TREXLER FOLMER JOHNSON                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TARUN ELDHO ALIAS                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TARYN BURNS                                                         Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TARYN FIELDER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TARYN FILIPOW                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TARYN HANLEY                                                        Common Shares               150   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

TARYN RUDOLPH                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TASHA WILSON F/B/O SHARON G ENRIGHT IRA                             Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

TASNEEM ABID DOSSAJI                                                Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TATIANA MOON                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TATIANA VARGAS                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TATSIANA NIARONAVA                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TAYLOR CLARK KESSEL                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TAYLOR GILL                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TAYLOR JACOB HAMON                                                  Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

TAYLOR ORCI                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TAYLOR PECK                                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

TAYLOR ROBINSON                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TAYLOR THOMSON                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

TD AMERITRADE CLEARING, INC. (0188)                                 Common Shares          436,184    Common
ATTN: MANDI FOSTER OR PROXY MGR
200 S. 108TH AVE
OMAHA, NE 68154

TD AMERITRADE CUST FBO LEO P GARCIA IRA                             Common Shares                71   Common
200 S 108TH AVENUE
OMAHA, NE 68154




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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

TD WATERHOUSE CANADA INC/CDS (5036)                                 Common Shares               5,968   Common
ATTN: YOUSUF AHMED OR PROXY MGR
77 BLOOR ST WEST
3RD FL
TORONTO, ON M4Y 2T1
CANADA

TEDD LYNLEY MORGAN                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TEDDY WEBSTER                                                       Common Shares               2,500   Common
ADDRESS AVAILABLE UPON REQUEST

TEJUS KULKARNI                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TELAIREUS HERRIN                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

TENA STONE                                                          Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TENCHO PARICHKOV                                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

TENNILLE SCOTT                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

TERESA G' RIUS                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TERESA KNAACK                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TERESE ODETTE                                                       Common Shares                149    Common
ADDRESS AVAILABLE UPON REQUEST

TERRANCE EDWARD BROWN                                               Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TERRI A WOLD                                                        Common Shares                188    Common
ADDRESS AVAILABLE UPON REQUEST

TERRI BOZARTH                                                       Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

TERRI FREEMAN-KLAJA                                                 Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST


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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

TERRY BANKS                                                         Common Shares               178   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY ELWING                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY HARPER TRUST                                                  Common Shares               200   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY HARRIS                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY L NEELY                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY LOU TURNER                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY M OGILVIE                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY PARRILL                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY POPE                                                          Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY RICE                                                          Common Shares               450   Common
ADDRESS AVAILABLE UPON REQUEST

TERRY VANDERSCHUUR                                                  Common Shares               720   Common
ADDRESS AVAILABLE UPON REQUEST

TERRYL BRONSON                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TESHY INC                                                           Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

TESSA MCKILLOP                                                      Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

THADDIUS WATSON                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THALLEN JANIECE BRASSEL                                             Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

THE BATTLE FAMILY TRUST                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

THE BHATHAL FAMILY TRUST                                            Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

THE BRAULT LIVING TRUST                                             Common Shares           37,463      Common
ADDRESS AVAILABLE UPON REQUEST

THE BRUCE WILLIAM EDGAR LIVING TRUST                                Common Shares                450    Common
ADDRESS AVAILABLE UPON REQUEST

THE CLARK AND KAY NEWBY TRUST                                       Common Shares                442    Common
ADDRESS AVAILABLE UPON REQUEST

THE DERYA AND ZEHRA LIVING TRUST                                    Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

THE DIGMAR TRUST                                                    Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

THE DORIS T WATT LIVING TRUST                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

THE ENTRUST GROUP INC FBO PATRICIA CLARK IRA                        Common Shares                126    Common
555 12 TH STREET SUITE 900
OAKLAND, CA 94607

THE FOWLER FAMILY TRUST                                             Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

THE GREGG AND AMY BOGOST JOINT REVOCABLE TRUST                      Common Shares               2,162   Common
ADDRESS AVAILABLE UPON REQUEST

THE KAO WANG AND YENCHE TIOANDA REVOCABLE LIVING TRUST              Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

THE KINNEY FAMILY TRUST                                             Common Shares               1,081   Common
ADDRESS AVAILABLE UPON REQUEST

THE LACH FAMILY TRUST DTD APRIL 1 1999                              Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

THE LO AND BEHOLD GROUP PTE LTD                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

THE MIKE AND JOYCE ASSAR LIVING TRUST                               Common Shares                630    Common
ADDRESS AVAILABLE UPON REQUEST

THE PLATT TRUST                                                     Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST



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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

THE SHORT JOINT REVOCABLE LIVING TRUST DATED MAY 28 2019            Common Shares                176    Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

THE SNOW LEOPARD 2015 CHARITABLE TRUST                              Common Shares               7,391   Common
FIDUCIARY TRUST INT’L OF DE, ADMINISTRATIVE TRUSTEE
ATTN: DOROTHY SCARLETT
1220 NORTH MARKET STREET, SUITE 333
WILMINGTON, DE 19801

THE THADDEUS B ZALESKI AND ELIZABETH B ZALESKI                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

THEODORE CHARLES BRAY                                               Common Shares                360    Common
ADDRESS AVAILABLE UPON REQUEST

THEODORE DEREMER                                                    Common Shares                252    Common
ADDRESS AVAILABLE UPON REQUEST

THEODORE ORWIG                                                      Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

THEODORE S NASPINSKI                                                Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

THEOPHILUS R NIX JR                                                 Common Shares                 81    Common
ADDRESS AVAILABLE UPON REQUEST

THERESA ADAIR                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

THERESE J WYMAN                                                     Common Shares                187    Common
ADDRESS AVAILABLE UPON REQUEST

THIEN HA REVOCABLE LIVING TRUST U/T/A 9/20/2013                     Common Shares                500    Common
ADDRESS AVAILABLE UPON REQUEST

THIRU R SRINIVASAN                                                  Common Shares                375    Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS A MILLER                                                     Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS A STEELE                                                     Common Shares                250    Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS ALLYN GANDEE                                                 Common Shares                 78    Common
ADDRESS AVAILABLE UPON REQUEST


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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

THOMAS BRUSKE                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS BURNS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS CHRISTOFFERSEN                                               Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS CHRISTOPHER ARMATO STURGES                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS CUMMINGS COUGHLIN                                            Common Shares                73   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS DYE                                                          Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS E BOCCIA                                                     Common Shares               363   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS E WALTER                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS ELLIOTT                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS EUGENE ROGERS                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS FERRIGNO                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS FISHER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS FITZSIMMONS                                                  Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS FRANCO                                                       Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS FRANKLIN                                                     Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS GREGORY COMPTON                                              Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS HEINZEROTH                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

THOMAS HILSABECK                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS JACOB                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS JAMES GILMORE                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS JOHN PASTORE                                                 Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS JOHN VIOLANTE                                                Common Shares           18,031    Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS JULIAN STRICKLAND                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS L KAY JR                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS M DODDS                                                      Common Shares               277   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS M VAN PAASSEN                                                Common Shares                95   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS MARIOT                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS MARK ROWLAND                                                 Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS MARYNIK                                                      Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS MCGEE                                                        Common Shares               213   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS MCGUFFIN                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS MICHAEL MCMAHON FAMILY TRUST                                 Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS MICHAEL VIOLANTE FAMILY TRUST                                Common Shares               288   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS NELSON BASS                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

THOMAS NOVAK                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS OTT                                                          Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS P MCJOYNT-GRIFFITH                                           Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS P NOVAK                                                      Common Shares               641   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS QUICK                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS R EVANS III LIVING TRUST                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS R EVANS III REVOCABLE TRUST                                  Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS R STAUTZ REVOCABLE TRUST                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS ROBERT GRABOWSKI REVOCABLE LIVING TRUST                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS RYAN ILEY                                                    Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS STERLING WALKER JR APRIL 1 1999                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS SWIERSKI                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS SYMINGTON                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS T EASTER                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS WELLS                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS WILLIAM ANDREW REVOCABLE LIVING TRUST DATED                  Common Shares                88   Common
1/7/2020
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

THOMAS WILLIAM ANDREW                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS WOLFE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

THOMAS ZAJKOWSKI                                                    Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

THORSTEN PFEFFER                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

TIARA AUSTIN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TIAUNA M SAUNDERS                                                   Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TICHAUN WILLIAMS                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TIDEN LEE                                                           Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

TIERA KARNES                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TIERNAN GOUGH                                                       Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

TIEUVAN PHAN                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

TIFFANY MONIQUE YIZAR                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TIFFANY TASSET                                                      Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

TIM ANH LE                                                          Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

TIM GLOYD                                                           Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

TIM RHOENISCH                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TIM RHOENISCH                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

TIM STEMA                                                           Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TIM WILBURN                                                         Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY & TAMARA JOHNSON LIVING TRUST                               Common Shares               5,903   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY ABBOTT                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY ANSBERRY                                                    Common Shares               1,061   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY CHARLES DICKENS                                             Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY DAVID FEENEY                                                Common Shares                144    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY EYRING                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY GARVEY GANCER                                               Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY HALLIGAN                                                    Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY J SHELTON                                                   Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY JAMES MORGAN                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY K JOHNSON                                                   Common Shares                159    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY KUO                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY LO                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY M PARIS                                                     Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY MANLEY                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

TIMOTHY MORSA                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY O'NEILL                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY PARK                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY REITERMAN                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY THOMSON-HOHL                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY VICTOR ALLAN JONES                                          Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY WAYNE BROWN                                                 Common Shares               182   Common
ADDRESS AVAILABLE UPON REQUEST

TIMOTHY WILLIAM WARD                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TIMUR DIKEC                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TIMUR SHAKIROV                                                      Common Shares                94   Common
ADDRESS AVAILABLE UPON REQUEST

TIMUR SHAKIROV                                                      Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

TIN VAN NGUYEN                                                      Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

TINA COLLEEN MCQUISTON                                              Common Shares               375   Common
ADDRESS AVAILABLE UPON REQUEST

TINA COLLETTA                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TINA CONNAN                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TINA HAUCK                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TINA ROWELL                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

TINA SIBLEY VANDERWARF                                              Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TINA TRAN                                                           Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TINA VERDUN-ANTHONY                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TINA WADE-HAIRSTON-HAIRSTON                                         Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

TITUS RODRIGUEZ                                                     Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

TOAN KIM HOANG                                                      Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

TOBIAS BERENS                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TOBY MEUSBURGER                                                     Common Shares               133   Common
ADDRESS AVAILABLE UPON REQUEST

TOBY WREN                                                           Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

TODD ALAN SCHIRMER                                                  Common Shares               251   Common
ADDRESS AVAILABLE UPON REQUEST

TODD EDWARD STUBBLEFIELD                                            Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

TODD FOLKMAN                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

TODD GILLIS                                                         Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

TODD HIGGINS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TODD HRICKO                                                         Common Shares               720   Common
ADDRESS AVAILABLE UPON REQUEST

TODD KENT AINSWORTH                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TODD LARUE FULCHER                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

TODD OMOHUNDRO                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TODD S GREENBERG                                                    Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

TODD S SMITH                                                        Common Shares                125    Common
ADDRESS AVAILABLE UPON REQUEST

TODD SKETCHLEY                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TOM KOEHLER                                                         Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

TOMISLAV BAKSA                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TOMMY VIOLANTE                                                      Common Shares               1,802   Common
ADDRESS AVAILABLE UPON REQUEST

TONG LI                                                             Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TONIE SECOR                                                         Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

TONY COTTEN                                                         Common Shares                218    Common
ADDRESS AVAILABLE UPON REQUEST

TONY DEBLAUWE                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TONY J CASTELLUCCI                                                  Common Shares                875    Common
ADDRESS AVAILABLE UPON REQUEST

TONY PHILIP                                                         Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

TONY THANH NGUYEN                                                   Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TORINO LTD                                                          Common Shares                631    Common
ADDRESS AVAILABLE UPON REQUEST

TRACEY ANNE CONNOLLY                                                Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

TRACEY BAKUN                                                        Common Shares                104    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

TRACEY MCCREATH                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRACEY PARTIN                                                       Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

TRACEY PORTER                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRACI LYNN THOMAS CLAUGHTON                                         Common Shares                378    Common
ADDRESS AVAILABLE UPON REQUEST

TRACI MARIE KREUN                                                   Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TRACIE DEMAINE PARRY                                                Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRACIE PAIGE                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRACIE YONAN MILLER                                                 Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

TRACY GENESEN                                                       Common Shares               2,162   Common
ADDRESS AVAILABLE UPON REQUEST

TRACY JUECHTER                                                      Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

TRACY LARIVEE                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRACY LYNN HAMILTON                                                 Common Shares                108    Common
ADDRESS AVAILABLE UPON REQUEST

TRADESTATION SECS (0271)                                            Common Shares                208    Common
ATTN: CORPORATE ACTIONS
8050 SW 10TH ST, STE 2000
PLANTATION, FL 33324

TRANG ENDEAVOR LLC                                                  Common Shares                631    Common
ADDRESS AVAILABLE UPON REQUEST

TRAVIS ARDELL                                                       Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TRAVIS GEPPERT                                                      Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

TRAVIS ONOFRIO                                                      Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

TRAVIS SMITH                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

TRAVIS TASTROM                                                      Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

TRAVIS WAYNE BEARD                                                  Common Shares               225   Common
ADDRESS AVAILABLE UPON REQUEST

TRENT RICHARD SMOCK                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TREVA JOY RUMBECK                                                   Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR BEGG                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR BROWNE                                                       Common Shares               628   Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR FRAUHIGER                                                    Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR FRITH                                                        Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR LESTER                                                       Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR PETTENUDE                                                    Common Shares           18,750    Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR WAYNE GHYLIN                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

TREVOR WELLS                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

TREY SCHMECKPEPER                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

TRIET NGUYEN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST




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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

TRINITATIS INVESTMENTS LLC                                          Common Shares                 85    Common
83 LINCOLN AVE
QUINCY, MA 02170

TRISKAR TRUST FBO LYNDSAY JONES                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRISTAN ALLEYNE                                                     Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRISTAN PETRIE                                                      Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRISTAN PETRIE                                                      Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

TROY HARRIS                                                         Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

TROY RIEMER                                                         Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TROY RIEMER                                                         Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TRS FOCUSED LLC                                                     Common Shares                 71    Common
8004 WEST POINT DR
SPRINGFIELD, VA 22153

TUCKER WITTE                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TURNER WILLIAMS                                                     Common Shares               1,653   Common
ADDRESS AVAILABLE UPON REQUEST

TUSHAR SUBHASH SUTTATI                                              Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TYESSEN SMITH                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER BRUCE MCKIBBEN                                                Common Shares                180    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER COX                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER EVERT                                                         Common Shares                265    Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

TYLER GALLAUDET                                                     Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER JOHN WILFLEY                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER MAYO                                                          Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER MCGREEVEY                                                     Common Shares                308    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER STANLEY KIMBALL                                               Common Shares                176    Common
ADDRESS AVAILABLE UPON REQUEST

TYLER WASMAN                                                        Common Shares                884    Common
ADDRESS AVAILABLE UPON REQUEST

TYREE PETTY-WILLIAMS                                                Common Shares                 78    Common
ADDRESS AVAILABLE UPON REQUEST

U25 VENTURES GMBH                                                   Common Shares               4,771   Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

UBS FIN SVCS LLC (0221)                                             Common Shares                216    Common
ATTN: PROXY DEPT - JANE FLOOD
1000 HARBOR BLVD
WEEHAWKEN, NJ 07086

UBS SECS LLC (0642)                                                 Common Shares               5,370   Common
ATTN: MICHAEL HALLET OR PROXY MGR
PROXY DEPT
315 DEADRICK ST
NASHVILLE, TN 37238

UCHECHUKWU CHINEDU NNAMDI                                           Common Shares                 18    Common
ADDRESS AVAILABLE UPON REQUEST

UGIS STRAUSS                                                        Common Shares                177    Common
ADDRESS AVAILABLE UPON REQUEST

ULTRESS INC                                                         Common Shares                214    Common
ADDRESS AVAILABLE UPON REQUEST

UNNATI DASS                                                         Common Shares                264    Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

URVASHI JONEJA                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

USHARANI GADEY                                                      Common Shares               214   Common
ADDRESS AVAILABLE UPON REQUEST

UTC VENTURE GROUP LLC                                               Common Shares                88   Common
8130 LAKEWOOD MAIN ST SUITE 103
LAKEWOOD RANCH, FL 34202

UWE PASCHKE                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VAIBHAV JAIN                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIA GAIL COLLIER-VICK                                           Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIE ANN RITACCO                                                 Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIE BORDELON                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIE DANA TARANGELO                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIE DUVAL                                                       Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIE QUERNS                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIE RENEE CLOUD                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VALERIO SPINACI                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VALERY PARHAM                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VALERY SEPULVEDA WELCKER                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VAMSI KRISHNA GADDIPATI                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

VAN EVIN POWELL                                                     Common Shares               134   Common
ADDRESS AVAILABLE UPON REQUEST

VAN K THARP                                                         Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

VANDANA KULKARNI                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VANESSA BENNETT                                                     Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

VANESSA C GRUBER                                                    Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VANESSA HELENE KRYSTEK                                              Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VANGUARD MARKETING CORP (0062)                                      Common Shares           98,971    Common
ATTN: BEN BEGUIN OR PROXY MGR
14321 N. NORTHSIGHT BLVD
SCOTTSDALE, AZ 85260

VANTAGE FBO EDWARD C FRIEBERG                                       Common Shares               265   Common
2505 E LEHI RD UNIT 12
MESA, AZ 85213

VARUN VINODKUMAR GUPTA                                              Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

VASANTH NALAM                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VEERARAGHAVAN VENKATACHALAM                                         Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VELOX CLEARING LLC (3856)                                           Common Shares               147   Common
ATTN: PROXY MGR
2400 E. KATELLA AVE
STE 725
ANAHEIM, CA 92806

VENESSA STRONG                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VENKATA ALLADI                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

VENKATA CHEKURI                                                     Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

VENKATA DIDUGU                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VENKATESHWAR BUDUMA                                                 Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

VERDELL ANN SCHAEFER                                                Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VERN J WEGLEITNER                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VERNA MARIE VINES                                                   Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

VERNON P MONTOYA                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VERNON TROY ROSS                                                    Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

VERONICA DEVALL                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VERONICA VILLANUEVA                                                 Common Shares               441   Common
ADDRESS AVAILABLE UPON REQUEST

VERONIKA JONES                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VERSAN BORA HAMAMCIOGLU                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VICENTE APARICIO JR                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VICK LEROY NEWSOM                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VICKY LEUNG                                                         Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

VICKY R SAGEHORN                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR BARRERA                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

VICTOR FAM KUO                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR HAM                                                          Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR LUM                                                          Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR MANDARICH                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR MAXIMUS ROSE                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR NGUYEN                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR RENDON                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR RICHARDSON                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VICTOR W MCLAUGHLIN                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA A HORAN                                                    Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA BUI                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA HOLMES SEE                                                 Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA LARSON                                                     Common Shares               214   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA PARTENOPE                                                  Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA SHULBERG                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA YEAGER                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VICTORIA YUAN                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

VIDALINA PUBILL                                                     Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

VIET HAI HOANG                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VIJAY BASIREDDY                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VIJAY BHASKAR REDDY GADDAM                                          Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

VIJAY DESIRAJU                                                      Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

VIJAYA KUPPA                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VIK JAIN                                                            Common Shares               562   Common
ADDRESS AVAILABLE UPON REQUEST

VIKAS UNNAVA                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

VIKASH PATEL                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VIKRAM DAYAL                                                        Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VIKRAM GOLLAKOTA                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

VIKRAM MUTHYALA                                                     Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VIKRAM RAGHAVAN                                                     Common Shares               485   Common
ADDRESS AVAILABLE UPON REQUEST

VIKRAM SINGH                                                        Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

VINAY SINGH                                                         Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

VINAY TIRUPATI                                                      Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENT BICKHART                                                    Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

VINCENT CHRISTOPHER MACE                                            Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENT LEE LUCERO-BENDAWALD                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENT LEE LUCERO-BENDAWALD                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENT LI                                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENT MACH                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENT TAN                                                         Common Shares               340   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENT                                                             Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

VINCENZO LARICH                                                     Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

VINISH MANCHANDA                                                    Common Shares               201   Common
ADDRESS AVAILABLE UPON REQUEST

VINOD KUMAR                                                         Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

VINOD MOHAN                                                         Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

VINT BLACKBURN                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VIOLETA MORAN                                                       Common Shares               113   Common
ADDRESS AVAILABLE UPON REQUEST

VIOLETA SANDOVAL                                                    Common Shares               123   Common
ADDRESS AVAILABLE UPON REQUEST

VIPIN CHANDEKAR                                                     Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

VIRAJ PATEL                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VIRGILIO AVANZADO                                                   Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

VIRGINIA MAE HUNTER                                                 Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

VIRGINIE BAYOMI                                                     Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

VIRTER M MARCELO                                                    Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

VISHAL GUJRAL                                                       Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST

VISHAL WADHVANI                                                     Common Shares               108   Common
ADDRESS AVAILABLE UPON REQUEST

VISHESH SINGH                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VISHVESH VIJAY MULAY                                                Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

VISHWESH SANKHOLKAR                                                 Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

VISION FIN MKTS LLC (0595)                                          Common Shares                 7   Common
ATTN: OPS DEPT
120 LONG RIDGE RD, 3 NORTH
STAMFORD, CT 06902

VISWANADHAM MANCHU                                                  Common Shares               229   Common
ADDRESS AVAILABLE UPON REQUEST

VITTORIO TEDESCO ZAMMARANO                                          Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VIVEK BHATNAGAR                                                     Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

VIVEK DIXIT                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

VIVEK KUMAR AGARWAL                                                 Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VIVIANNE WINTERS ISRAEL                                             Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VLADIMIR KUSHNIR                                                    Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

VLADYSLAV PODOLIAKO                                                 Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

VOLKER LUTZ                                                         Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

VOLNEY GUZMAN                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

VONG BOUSSA                                                         Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

VOON PANG GOH                                                       Common Shares               106   Common
ADDRESS AVAILABLE UPON REQUEST

VY CUNNINGHAM                                                       Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

W KIM COLICH                                                        Common Shares                35   Common
ADDRESS AVAILABLE UPON REQUEST

WADE BURRELL                                                        Common Shares               185   Common
ADDRESS AVAILABLE UPON REQUEST

WADE M BOSWELL LLC                                                  Common Shares                88   Common
109 N ESSEX AVENUE
BALTIMORE, MD 21221

WAFIQ MUSALLAM                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WAHOOWA VENTURES LLC                                                Common Shares          155,550    Common
535 MIDDLEFIELD ROAD SUITE 245
MENLO PARK, CA 94025

WAHOOWA VENTURES LLC                                                Common Shares          359,795    Common
535 MIDDLEFIELD ROAD SUITE 245
MENLO PARK, CA 94025

WAI SHENG TAN                                                       Common Shares               112   Common
ADDRESS AVAILABLE UPON REQUEST

WALKER PARKS SAVIDGE                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WALLY FAYE WELLS                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WALT L COSBY                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST
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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WALTER BROWNING                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

WALTER CHANDLER MARTIN JR                                           Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

WALTER KIERNAN                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WALTER MOORA                                                        Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

WALTER MOORE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WALTER PISARY                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WALTER POWELL                                                       Common Shares               258   Common
ADDRESS AVAILABLE UPON REQUEST

WALTER ROLLO SMITH                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WARREN DASH                                                         Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

WARREN LOUI                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WASEEM WALLY MATHEWS                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WATARU TAMURA                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

WAVEMAKER GLOBAL SELECT LLC                                         Common Shares           66,794    Common
175 GREENWICH ST
NEW YORK, NY 10007

WAVEMAKER PARTNERS V LP                                             Common Shares          121,152    Common
175 GREENWICH ST
NEW YORK, NY 10007

WAYNE A SIMPSON                                                     Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

WAYNE AKEY                                                          Common Shares               625   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WAYNE CHAPMAN                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WAYNE DION STARKS                                                   Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

WAYNE LAZARUS                                                       Common Shares               156   Common
ADDRESS AVAILABLE UPON REQUEST

WAYNE M SCHULTZ                                                     Common Shares               592   Common
ADDRESS AVAILABLE UPON REQUEST

WAYNE W SIEMENS                                                     Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

WAYNE WALKER                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WAYNE WHETMAN                                                       Common Shares               213   Common
ADDRESS AVAILABLE UPON REQUEST

WAZMAKY ELIZABETH CHARLWOOD                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WEB COMMERCE LLC                                                    Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

WEDBUSH MORGAN SECS, INC. (0103, 8199)                              Common Shares           25,425    Common
ATTN: ALAN FERREIRA OR PROXY MGR
1000 WILSHIRE BLVD., STE #850
LOS ANGELES, CA 90030

WEIRAN DENG                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WELLS FARGO BANK, N.A./SIG (2072)                                   Common Shares                51   Common
ATTN: SCOTT NELLIS OR PROXY MGR
1525 W T HARRIS BLVD
1ST FL
CHARLOTTE, NC 28262-8522

WELLS FARGO CLEARING SVCS (0141)                                    Common Shares           51,128    Common
ATTN: PROXY DEPT
H0006-08N
2801 MARKET ST
ST. LOUIS, MO 63103

WEN LIEW                                                            Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WENDY COLLINS                                                       Common Shares               251   Common
ADDRESS AVAILABLE UPON REQUEST

WENDY J STACE                                                       Common Shares                93   Common
ADDRESS AVAILABLE UPON REQUEST

WENDY LYNN TIGHE                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WENDY NIELSEN                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

WENDY PENELOPE OMNES                                                Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

WENYE XIAO                                                          Common Shares               402   Common
ADDRESS AVAILABLE UPON REQUEST

WERNER HOFFMANN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

WESLEY CONNOR LINDENMUTH                                            Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

WESTON HEADLEY                                                      Common Shares               250   Common
ADDRESS AVAILABLE UPON REQUEST

WESTON WILLEKES                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WHITE BUFFALO LLC                                                   Common Shares                88   Common
2186 BUFFALO DRIVE
GRAND JUNCTION, CO 81507

WHITE FIN MANAGEMENT LLC                                            Common Shares               126   Common
2207 HAMLET CIRCLE
ROUND ROCK, TX 78664

WHITMAN LAM                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WHITNEE HAWTHORNE                                                   Common Shares               144   Common
ADDRESS AVAILABLE UPON REQUEST

WHITNEY FOSTER                                                      Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

WHITNEY WALDEN                                                      Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST


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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

WILFREDO A MELENDEZ                                                 Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

WILFRID JEAN-FRANCOIS                                               Common Shares                463    Common
ADDRESS AVAILABLE UPON REQUEST

WILL JOHNSON                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

WILLA TELLEKSON-FLASH                                               Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

WILLEMINE MARIE YVES BLAISE SULLY                                   Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM A KINNER JR                                                 Common Shares               1,250   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM ALEXANDER LUNN                                              Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM ANDREW BENNETT                                              Common Shares                 17    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM ARNOLD COMBS                                                Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM BARBATO                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM BATES BEINBRINK                                             Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM BATYSKE                                                     Common Shares               2,385   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM BOYNES JR                                                   Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM BRADLEY TAYLOR                                              Common Shares                175    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM BRANNON                                                     Common Shares                359    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM C ADES                                                      Common Shares                100    Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM CHUPEK                                                      Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WILLIAM COPPEDGE EPSP 401K (ROTH)                                   Common Shares               138   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM COVERT                                                      Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM D WOODS                                                     Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM DALE PENMAN                                                 Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM DONALD JEPSON III                                           Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM E MITCHELL                                                  Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM EARL ROSEVEARE II                                           Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM EDWARD WOMAC                                                Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM F ZIMMERER                                                  Common Shares               159   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM FRANCIS BROCHARD                                            Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM GRASWICH                                                    Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM GUSTIN JR                                                   Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM H CAMPBELL                                                  Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM H MACINNIS                                                  Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM HALL                                                        Common Shares               252   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM HANCOCK                                                     Common Shares               221   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM HERTZ                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WILLIAM J ADAMS                                                     Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM J BARNES III                                                Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM J TOMAN                                                     Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM JACOBSON                                                    Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM JOSEPH MARION                                               Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM KNOX                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM L HEATH                                                     Common Shares               188   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM L HINES                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM LAROE                                                       Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM LOGAN THORE                                                 Common Shares               402   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM LUSE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM M QUANE                                                     Common Shares               315   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM MAHER                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM MICHAEL STEVENS                                             Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM MITCHELL                                                    Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM MORRIS                                                      Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM MUNRO                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WILLIAM NICKISON                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM NIRO                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM NIRO                                                        Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM NOAH TRIPLETT                                               Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM OATES                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM PERRY MCKENZIE                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM PIERCE REIDWAY                                              Common Shares               504   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM POOT                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM R / LINDA V OTIS                                            Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM R HUGHES                                                    Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM RANKIN                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM RAYMOND MARTHENS                                            Common Shares               500   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM ROBERT HUGHES                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM ROBERT ROSENBERG                                            Common Shares               137   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM S FINK                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM SAUNDERS                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM SCOTT IRWIN                                                 Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WILLIAM SEELIG                                                      Common Shares               196   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM SHERWOOD                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM SU                                                          Common Shares                90   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM T WINTER                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM TYLER                                                       Common Shares                81   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM UNDERWOOD III                                               Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM VREELAND                                                    Common Shares                66   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM WARREN H RUDD                                               Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIAM ZEMBRICKI                                                   Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

WILLIE JULIO PIMENTEL                                               Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

WILMER TORO                                                         Common Shares               125   Common
ADDRESS AVAILABLE UPON REQUEST

WILSON PAUL SMITH                                                   Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

WILSON QIN                                                          Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

WILSON WEI QIN                                                      Common Shares               360   Common
ADDRESS AVAILABLE UPON REQUEST

WIM DE CRAECKER                                                     Common Shares               437   Common
ADDRESS AVAILABLE UPON REQUEST

WIM VAN ESPEN                                                       Common Shares               180   Common
ADDRESS AVAILABLE UPON REQUEST

WINNIE YUEN FUNG HIGGS                                              Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

WINNIFRED HEBERT                                                    Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

WOFFICE LLC                                                         Common Shares               188   Common
445 LAKESIDE MANOR RD
HIGHLAND PARK, IL 60035

WYLIE LUO                                                           Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

XAVIER MORSE                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

XINTONG YUAN                                                        Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

XIOMARA ALCALDE                                                     Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

XUYING ZHAO                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

Y KIM                                                               Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YANN ZELLER                                                         Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YANNICK FORBES                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YASHESH MAZUMDAR                                                    Common Shares               220   Common
ADDRESS AVAILABLE UPON REQUEST

YASMINE ABDALLAH                                                    Common Shares                87   Common
ADDRESS AVAILABLE UPON REQUEST

YASMINE CADET                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

YATINKUMAR SHIYANI                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YE TAO                                                              Common Shares               264   Common
ADDRESS AVAILABLE UPON REQUEST

YEKESHA FREDERICK                                                   Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

YELLOW UMBRELLA VENTURES II LLC                                     Common Shares               265   Common
2520 BLUEBONNET LANE UNIT 52 52
AUSTIN, TX 78704

YESSENIA VIDA SALGADO                                               Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

YI WEI DARREN QUEK                                                  Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YING LIU 401K (ROTH)                                                Common Shares               187   Common
ADDRESS AVAILABLE UPON REQUEST

YINGXIANG CHENG                                                     Common Shares               903   Common
ADDRESS AVAILABLE UPON REQUEST

YIP PUI KEI                                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

YIWEN HE                                                            Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

YOAV SION                                                           Common Shares               757   Common
ADDRESS AVAILABLE UPON REQUEST

YODELFRI RUIZ                                                       Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YOGENDRA GOYAL                                                      Common Shares                44   Common
ADDRESS AVAILABLE UPON REQUEST

YOGENDRA PRADEEP BUDDHARAJU                                         Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

YOGENDRA SHUKLA                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

YOGESH MAURYA                                                       Common Shares               124   Common
ADDRESS AVAILABLE UPON REQUEST

YOGESH SHETTY                                                       Common Shares               185   Common
ADDRESS AVAILABLE UPON REQUEST

YOGESH VIROJA                                                       Common Shares                53   Common
ADDRESS AVAILABLE UPON REQUEST

YOKO GIBO                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

YOLANDA AYALA                                                       Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

YOLANDA BASS                                                        Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YOON KWAK                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YOSHIO ISMAEL BLANCO                                                Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

YOUNG JOON CHO                                                      Common Shares                75   Common
ADDRESS AVAILABLE UPON REQUEST

YU BING YI                                                          Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

YUAN YUAN                                                           Common Shares               884   Common
ADDRESS AVAILABLE UPON REQUEST

YUN MIN KANG                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

YUQI WANG                                                           Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

YURI CATALDO                                                        Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

YURIY MATVIYENKA                                                    Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

YU-TING CHIEN                                                       Common Shares               132   Common
ADDRESS AVAILABLE UPON REQUEST

YUVRAJSINH VAGHELA                                                  Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

YVES HENRI SINNER                                                   Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST

YVONNE LOYA                                                         Common Shares                72   Common
ADDRESS AVAILABLE UPON REQUEST

YVONNE PURPORA                                                      Common Shares               217   Common
ADDRESS AVAILABLE UPON REQUEST




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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
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                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

Z1967 LIMITED                                                       Common Shares           59,249    Common
1751 BERKELEY ST STUDIO 3
SANTA MONICA, CA 90404

ZAC MUNCY                                                           Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARIA-ALI JAMAL TURMININI                                        Common Shares               100   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY ADAMS                                                       Common Shares               126   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY AKER                                                        Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY BARKER                                                      Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY BREHM                                                       Common Shares               268   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY C THOMPSON                                                  Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY DE RAAD                                                     Common Shares               378   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY DEN ADEL                                                    Common Shares               176   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY HORNE                                                       Common Shares               442   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY JOHNS                                                       Common Shares                71   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY KUTA                                                        Common Shares               213   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY LEE BREHM                                                   Common Shares               983   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY RYAN LOVATO                                                 Common Shares               143   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY UMETANI                                                     Common Shares               265   Common
ADDRESS AVAILABLE UPON REQUEST



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In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class     Number of          Kind of
business of holder                                                                     Securities         Interest

ZACHARY WEISS EISENBERG                                             Common Shares                 26    Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY WILSON                                                      Common Shares               1,889   Common
ADDRESS AVAILABLE UPON REQUEST

ZACHARY ZWEIG                                                       Common Shares                126    Common
ADDRESS AVAILABLE UPON REQUEST

ZAHN FINANCIAL LLC                                                  Common Shares                289    Common
ADDRESS AVAILABLE UPON REQUEST

ZAINAB B ADIO-SAKA                                                  Common Shares                 71    Common
ADDRESS AVAILABLE UPON REQUEST

ZAKIYA DIXON                                                        Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ZAREEFA FLENER                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

ZAW MIN OO                                                          Common Shares                309    Common
ADDRESS AVAILABLE UPON REQUEST

ZELEEN ROBINSON                                                     Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

ZENOBIA WALJI                                                       Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ZHEN YANG                                                           Common Shares                 88    Common
ADDRESS AVAILABLE UPON REQUEST

ZHENNING ZHANG                                                      Common Shares                132    Common
ADDRESS AVAILABLE UPON REQUEST

ZHENYU TENG                                                         Common Shares                625    Common
ADDRESS AVAILABLE UPON REQUEST

ZI JUN DOMINIC FEI                                                  Common Shares                137    Common
ADDRESS AVAILABLE UPON REQUEST

ZIE OUATTARA                                                        Common Shares                 75    Common
ADDRESS AVAILABLE UPON REQUEST

ZILLIONAIRE INVESTMENT CLUB LLC                                     Common Shares                108    Common
2707 E SHAW BUTTE DRIVE
WHITEFISH, MT 85028



Sheet 409 of 410 in List of Equity Security Holders
                      Case 22-11238-LSS         Doc 1      Filed 11/30/22        Page 431 of 432

In re: Winc, Inc. f/k/a Club W, Inc.                                                 Case No.
                                                        Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class     Number of        Kind of
business of holder                                                                     Securities       Interest

ZMODDYNAMICS LLC                                                    Common Shares                22   Common
ADDRESS AVAILABLE UPON REQUEST

ZSOLT SZALKAI                                                       Common Shares               346   Common
ADDRESS AVAILABLE UPON REQUEST

ZUBAER MALIK                                                        Common Shares                17   Common
ADDRESS AVAILABLE UPON REQUEST

ZURIEL TEQUIANES ARMIJO                                             Common Shares                88   Common
ADDRESS AVAILABLE UPON REQUEST




Sheet 410 of 410 in List of Equity Security Holders
                                 Case 22-11238-LSS                           Doc 1        Filed 11/30/22            Page 432 of 432




 Fill in this information to identify the case:

 Debtor name         Winc, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Consolidated Corporate Ownership Statement and List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 30, 2022                       X      /s/ Brian Smith
                                                                         Signature of individual signing on behalf of debtor

                                                                         Brian Smith
                                                                         Printed name

                                                                         Interim Chief Executive Officer and President
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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